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   1                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
   2                                MIAMI DIVISION
                              CASE NO. 1:18-cv-25106-KMW
   3

   4    UNITED AMERICAN CORP.,

   5                Plaintiff,                                        January 28, 2020
                                                                      10:04 a.m.
   6               vs.

   7    BITMAIN, INC., ET AL,

   8              Defendant.                    Pages 1 THROUGH 157
        ______________________________________________________________
   9
                           TRANSCRIPT OF MOTION HEARING
 10                   BEFORE THE HONORABLE CHRIS M. MCALILEY
                          UNITED STATES MAGISTRATE JUDGE
 11

 12     Appearances:

 13     FOR THE PLAINTIFF:     AKERMAN LLP
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 14                            Three Brickell City Centre
                               98 Southeast 7th Street
 15                            Miami, Florida 33131

 16                            AKERMAN LLP
                               LORAYNE PEREZ, ESQ.
 17                            One Southeast 3rd Avenue, 25th Floor
                               Miami, Florida 33131
 18

 19     FOR DEFENDANTS         O'MELVENY & MYERS LLP
        CHANCELLOR, COX,       IAN SIMMONS, ESQ.
 20     & VER:                 BRIAN P. QUINN, ESQ.
                               1625 Eye Street, NW
 21                            Washington, DC 20006-4001

 22                            BILZIN SUMBERG BAENA PRICE & AXELROD
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   1    APPEARANCES CONTINUED:

   2    FOR DEFENDANTS         KOBRE & KIM LLP
        PAYWARD VENTURES       ANDREW C. LOURIE, ESQ.
   3    d/b/a KRAKEN,          201 South Biscayne Boulevard, Suite 1900
        & POWELL:              Miami, Florida 33131
   4

   5    FOR THE BITMAIN        JONES DAY
        DEFENDANTS:            CHRISTOPHER R.J. PACE, ESQ.
   6                           600 Brickell Avenue, Suite 3300
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   1         (Call to order of the Court, 10:04 a.m.)

   2               MR. SIMMONS:

   3               THE COURT:    So this is United American Corporation v.

   4    Bitmain, et al, Case Number 18-25106.

   5               Counsel, give me your appearances, starting with the

   6    Plaintiff, please.

   7               MR. MILLER:     Good morning, Your Honor.                   Brian Miller

   8    and Lorayne Perez, from Akerman, on behalf of the Plaintiff.

   9               THE COURT:    Okay.         Hold on.            I'm going to write this

 10     down.

 11          (Pause in proceedings.)

 12                THE COURT:    I'm looking for something.

 13                Yeah.   Okay.     And who is next?

 14                MR. SIMMONS:      Good morning, Your Honor.                 Ian Simmons,

 15     O'Melveny & Myers, on behalf of Defendants Chancelor, Cox, and

 16     Ver.

 17                THE COURT:    Okay.

 18                MR. QUINN:    Good morning, Your Honor.

 19                THE COURT:    Just wait one second.

 20                MR. QUINN:    Sure.

 21          (Pause in proceedings.)

 22                THE COURT:    Okay.

 23                MR. QUINN:    Brian Quinn of O'Melveny & Myers, on

 24     behalf of those same Defendants.

 25                THE COURT:    Okay.

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   1               MS. PALLETT-VASQUEZ:             Good morning, Your Honor.

   2               THE COURT:    Hold on one second.

   3         (Pause in proceedings.)

   4               THE COURT:    Okay.

   5               MS. PALLETT-VASQUEZ:             Melissa Pallett, from Bilzin

   6    Sumberg, on behalf of also Mr. Chancelor, Mr. Cox, and Mr. Ver.

   7               THE COURT:    Melissa Palace, did you say?

   8               MS. PALLETT-VASQUEZ:             Pallett.            P-A-L-L-E-T-T.

   9         (Pause in proceedings.)

 10                THE COURT:    Okey-dokey.

 11                MR. LOURIE:    Good morning, Your Honor.                    Andrew

 12     Lourie --

 13                THE COURT:    You'll want to speak right into the

 14     microphone.

 15                MR. LOURIE:    Andrew Lourie, spelled L-O-U-R-I-E, from

 16     Kobre & Kim, on behalf of Payward Ventures, doing business as

 17     Kraken, and Jesse Powell.

 18                THE COURT:    Okay.        And you, sir?

 19                MR. PACE:    Good morning, Your Honor.                     Chris Pace of

 20     Jones Day.    I'm here on behalf of four Defendants, the four

 21     that are remaining.

 22                THE COURT:    The Bitmain Defendants.

 23                MR. PACE:    Bitmain, Inc., Bitmain Technologies Holding

 24     Company, Bitmain Technologies, Limited, and Mr. Jihan Wu,

 25     J-I-H-A-N.

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   1               THE COURT:    You're a smart guy.                      You'll make friends

   2    with our court reporter.          I want you-all to keep that in mind.

   3               And if you-all would -- and I'll prompt you at times,

   4    at least at the beginning -- well, there may not be a lot of

   5    getting up and down here.           But I was going to say, repeat your

   6    name for our court reporter and help her out.                         And pretty

   7    quickly, she'll probably know all of you.

   8               Okay.   So we're here for oral argument on the various

   9    motions to dismiss and a related motion for jurisdictional

 10     discovery.    So for our record, I have Defendant Chancelor's

 11     Motion to Dismiss at Docket Entry 41; at Docket Entry 42,

 12     Defendant Bitmain, Inc.'s Motion to Dismiss; Docket Entry 43,

 13     Payward Ventures and Jesse Powell's motion; Docket Entry 56,

 14     Jason Cox adopting and joining in Mr. Chancelor's motion;

 15     Docket Entry 98, Roger Ver's Motion to Dismiss.                         Those all

 16     raise the 12(b)(6) issues.

 17                Then at Docket Entry 99, I have Defendant Bitmain

 18     Technologies Holding, who I am calling Bitmain Holding -- that

 19     gives me a visual.      That's their motion to dismiss for lack of

 20     personal jurisdiction and adopting the 12(b)(6) arguments.

 21                Docket Entry 116 is Bitmain Technologies Limited, and

 22     Jihan Wu's, again, motion challenging personal jurisdiction,

 23     also challenging timeliness of service and adopting, I think,

 24     the 12(b)(6) arguments.

 25                And then at Docket Entries 114 and 121, the Plaintiff

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   1    moves for jurisdictional discovery.

   2               So I think that's the landscape of the motions here

   3    that we're here to talk about.

   4               So I really did appreciate you-all taking the

   5    initiative to talk to each other and propose a way of working

   6    through this.     And as you saw, I thought it would be helpful

   7    for me to start with the 12(b)(6) issues in part because that's

   8    going to get us into a discussion of the subject matter of the

   9    lawsuit, Bitcoin, cryptocurrency, et cetera, which -- this

 10     should not come as a shock to you, I am still -- my learning

 11     curve is, you know, vertical still -- more vertical than

 12     horizontal.

 13                So part of this will be an opportunity for me to, with

 14     questions to you-all, test my understanding of the market that

 15     you're talking about.       And I don't expect I'll fully grasp it

 16     today, but this is the beginning of working with you-all.                    I

 17     think I have sufficient grasp to work through the issues that

 18     we have.

 19                So I thought we'd start there and then we'd go to the

 20     personal jurisdiction issues, which, of course, don't involve

 21     all Defendants.     So for those of you who don't have that

 22     motion, if you wanted to leave and not participate in the

 23     enjoyment of talking about personal jurisdiction, you could do

 24     that.

 25                I want us to be efficient.                   And yet, I'm prepared to

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   1    take the time it takes for me to understand this.                     So I didn't

   2    set a time limit.     I hope nobody has like a flight at 1:00

   3    p.m., because we might spend the morning talking about the

   4    12(b)(6) issues, have lunch, and then go to the personal

   5    jurisdiction issues.      If we go faster, that's great, but -- so

   6    I just want to mention that in terms of scheduling.

   7               I thought there was one other little beginning thing I

   8    was going to ask, but I'll think of it later perhaps.

   9               Any comments just about procedure or anything else you

 10     need to make me aware of before we start on the 12(b)(6)

 11     arguments?

 12                No?

 13                Okay.   So who's going to be the lead lawyer for

 14     Defendants to argue that?

 15                MR. SIMMONS:     Good morning, Your Honor.                 Ian Simmons

 16     from O'Melveny.

 17                THE COURT:   Okay.

 18                MR. SIMMONS:     And I will be arguing -- presenting on

 19     the substantive federal antitrust claims, why they fail to

 20     state a claim --

 21                THE COURT:   Right.

 22                MR. SIMMONS:     -- and they dispose of the entire

 23     lawsuit.

 24                My colleague, Mr. Quinn, will be speaking to the state

 25     law, will be arguing the state law claims.

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   1               THE COURT:   Okay.

   2               MR. SIMMONS:     And then I think we had a second bucket

   3    where once we're done with common issues, if there's any

   4    variance, individual Defendants may have something to add.

   5               THE COURT:   Okay.         Okay.         Good.         I'm glad you're

   6    breaking it down that way.            And I do -- my impression is that

   7    getting some mastery over the subject matter of the Sherman

   8    antitrust claims, the allegations that have been made, it

   9    really flows into the state law claims.                         It's a groundwork.

 10     And I think resolving some of those initial issues in the

 11     Sherman Act I think seem to lead to conclusions regarding the

 12     state law claims.

 13                So for what that's worth ...

 14                MR. SIMMONS:     We completely agree, Your Honor.

 15                And let me just say, speaking for I think both sides

 16     because we did meet and confer, we thank the Court for helping

 17     us give this some structure and organization.                         We all think

 18     it's important to be efficient, but we want to be as expansive

 19     as you feel we should be to help you understand.

 20                THE COURT:   Right.

 21                MR. SIMMONS:     Speaking for myself, Your Honor, I'm

 22     going to try to weave a tutorial on the industry, but really I

 23     want to zero in on the law.             Because when we read the

 24     complaint -- I don't pretend I'm a cryptocurrency expert.

 25                THE COURT:   Right.

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   1               MR. SIMMONS:     When we read the complaint, it's no

   2    question that the industry's complicated, it's a little obtuse.

   3    But I'm going to suggest to the Court and argue to the Court

   4    that the legal principles are not complex.                            They are very

   5    clear.    And it's our position that the complaint fails as a

   6    matter of law.

   7               Let me -- before I launch in, Your Honor, if I may

   8    approach the Court.      I've got a little bit of a slide deck that

   9    I'd like to hand up, if I may.

 10                THE COURT:    Okay.        Sure.

 11                You've already shared that with Plaintiff's counsel?

 12                MR. MILLER:    We've not seen it yet, Your Honor.

 13                MR. SIMMONS:     I have not yet shared ...

 14                THE COURT:    Okay.        I don't want to brag or anything,

 15     but just saying ...

 16                MR. SIMMONS:     Your Honor, could I take a look at

 17     yours?    We'll share.    Let's have an exchange.

 18                THE COURT:    Yeah.        The genius is sitting here next to

 19     me.   So ...

 20           (Pause in proceedings.)

 21                THE COURT:    Do you have two copies of this?

 22                MR. SIMMONS:     Oh, yes.            It's on its way.

 23                Now, Your Honor, while it's making its way to you --

 24                THE COURT:    This is for you, Nancy.

 25                MR. SIMMONS:     -- I'm a little bit of a dinosaur.                        I

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   1     think -- I was taught that argument means talking to the Court

   2     and presenting and once did a case where we had a big slide

   3     deck at closing and the lead arbitrator, he said:                    "Are you

   4     waiving oral argument?       Why do I need to listen?                I'll just

   5     read your slides."     So I'm going to come back to the slides in

   6     a bit.    It's just sort of my style.

   7               THE COURT:    Okay.

   8               MR. SIMMONS:     But I did want to go first to the first

   9     picture because I think it kind of sets the stage on:                    Well,

  10     what is this case about?         What are the basic factual

  11     allegations?    And as I said, I want to take the Court through

  12     the complaint.    It's a complicated industry, but the legal

  13     principles are very, very clear.

  14               Essentially, the complaint involves Bitcoin Cash

  15     blockchain, which, as you know, with all due respect to

  16     opposing counsel, I think the complaint does a good job

  17     tutoring us on what is this industry about.

  18               Blockchain is, as the complaint points out -- is a

  19     decentralized ledger of recording and creating value.                    So the

  20     security -- the whole essence of the security of blockchain is

  21     its decentralized nature.          As I say, I'm not a cryptocurrency

  22     expert.   I've been doing antitrust for 29 years.                    So I'm

  23     probably not that far ahead of the curve than anyone else.

  24               THE COURT:    You are.           You are.

  25               MR. SIMMONS:     We typically think, Your Honor -- we

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   1     typically think of security being like Fort Knox.                           You know,

   2     it's centralized and there's the 182nd Airborne Division.                           The

   3     security of blockchain technology is that it's decentralized.

   4     And as the chain progresses, for any one element of the chain

   5     to be corrupted, you would have to simultaneously do that

   6     corruption ubiquitously, and hence that's where the security

   7     comes from.

   8               What is this case about?                 This case is about, Your

   9     Honor -- and I'm going to take you through some slides.                           The

  10     complaint, in our view, provides its own refutation on why this

  11     case cannot proceed, whether or not we know anything about

  12     federal antitrust law.       What is this case about?                      This case is

  13     about -- that the original Bitcoin Cash blockchain, which I'm

  14     depicting on the left-hand side of this first slide -- that in

  15     November 15th, 2018 -- and this is from Paragraph 41, Your

  16     Honor -- a network upgrade was scheduled.                            It was either going

  17     to be the SV, the green fork, or the ABC.

  18               So the complaint tells us in Paragraph 41, before any

  19     allegations of conspiracy or anything like that, that there was

  20     going to be an upgrade, that the market was going to have a

  21     choice:   Do you upgrade with the SV technology or do you

  22     upgrade on ABC?

  23               What's the case about?               The case -- the Plaintiffs say

  24     that the various Defendants here -- they use words like

  25     "hijacked," "manipulated," we brought in mercenaries.                           What the

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   1     case is about is that alleged computing power.                        The way -- the

   2     way value is created or upgrades happen is that -- massive

   3     computers, a lot of computing power, called "hashing."                        The

   4     complaint uses that word, "hashing."                     Which I just -- my simple

   5     reading of it is computing power.                  Computing power is brought

   6     to bear on a network to determine which way we'll go, SV or

   7     ABC.

   8               Computing power -- and this is all in the complaint,

   9     and it does a good job just being very clear about how the

  10     technology works.     Computing power is brought to bear to solve

  11     the really complicated mathematical problems to create the

  12     Bitcoin to begin with.       So you have to solve these huge,

  13     massively complex problems.

  14               THE COURT:    Are those problems literally doing kind of

  15     the math of these chain of transactions?                         Is that where the

  16     math problems are, in essence?

  17               MR. SIMMONS:     Well, I think so, Your Honor.                    They

  18     are -- the recording of the past value is recorded in the old

  19     links in the chain.     But they are trying to solve mathematical

  20     problems to create new coin to create new value.                        That's the

  21     way I understand it.

  22               So in other words, Your Honor, this is a sort of a --

  23     stepping back a minute, this is a little bit of a paradoxical

  24     industry.    Because, as I said Fort Knox a minute ago, we

  25     typically think of security of value, you know, Fort Knox or

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   1     some vault in a jeweler.          We also think of value, for example,

   2     the United States' currency, that is controlled by the Federal

   3     Reserve.    They can print or not print money.                         They can pump

   4     money into the system.        But it's a centralized authority doing

   5     that.

   6                Here, how is scarcity created such that -- you know,

   7     Ian doesn't create one Bitcoin every minute in the hour, right,

   8     so I'm enriching myself.          You have to solve these really

   9     complicated mathematical problems.                     So I think the way I

  10     describe it -- and I'm a layperson in this -- it's the

  11     mathematical impenetrable problems are what's creating the

  12     scarcity.    And massive computing power has to be brought to

  13     bear to solve those.      So this is all in the complaint.                       That's

  14     just way of background, Your Honor.

  15                Back to the:     "Okay, Mr. Simmons.                       What's the beef

  16     here?   What's the case about?"               The case is about that the

  17     upgrade that the complaint admits had to happen -- that is

  18     Paragraph 41 -- that the upgrade went to the ABC upgrade and

  19     not the SV, and a vote happened of these computing powers.                              You

  20     know, like it's saying:         "Hey, which way do you want to go,

  21     left or right" -- you know, I was in a bookstore the other day

  22     reading David McCullough's new book about the pioneers.                           I

  23     didn't buy it, but I was just like reading it.                           And I've been

  24     struggling for a metaphor here to help us understand.

  25                If you pictured the pioneers -- a hundred pioneers,

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   1     carving -- chopping down the trees, carving their road, and

   2     they came to a mountain, you know, and the hundred pioneers

   3     said:   "Well, 20 of us want to try to dig through the

   4     mountain."    The other 80 said:             "We're going to go, like,

   5     around the mountain."      That's -- hence the term "fork."                       It was

   6     a simple you voted with your feet, just like the pioneers did.

   7     These computers, some -- the majority of the computers voted

   8     for ABC.

   9                Let me pause there for a minute.                          I'm going to start

  10     moving now to federal antitrust law.                     The law of competition is

  11     about choice.    It's about the market making its choices known.

  12     What they are attacking -- I'll build out in a minute -- is the

  13     fact that the choice that they wanted -- they wanted the

  14     overall network to be SV.          It didn't happen.                   But it gets even

  15     worse than that, Your Honor, from a federal antitrust

  16     standpoint.    And I'm going to build this out for the Court in a

  17     minute when I go to the cases.

  18                Not only are they attacking choice and the exercise of

  19     choice, but they're also attacking -- and this is all in our

  20     papers, Your Honor -- thirdly, they are attacking the fact

  21     that, on this picture I've got for you, the green and the

  22     yellow forks still exist.          Nothing went away.                   The green and

  23     the yellow forks have value and are competing.                           So

  24     paradoxically, they're attacking an enriched marketplace, which

  25     antitrust supports.     I'll come to that in the law, Your Honor.

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   1               Let me -- what I first want to do, Your Honor -- and

   2     you know, if you have more technology questions, please just

   3     feel free to interrupt.        What I want to do first, Your Honor,

   4     is go straight to antitrust substance.                       Because as I said,

   5     while this is kind of a murky industry, hashing and Bitcoin and

   6     the Nakamoto Paper -- and I'm going to talk about the Nakamoto

   7     Paper -- all of these things, because they're trying to make us

   8     in a fog, the legal principles, when we apply the lens of

   9     well-established law, really, really clarifying.

  10               I want to first talk about the per se rule in

  11     antitrust because the complaint purports to plead what we all

  12     "per se."    That's P-E-R S-E, two words.                      And then I'm going to

  13     talk about rule of reason.           And then I'm going to go to the

  14     issue of whether they pled an agreement, and then injury.

  15               So I want to assume -- for my first little two

  16     discussions with the Court, I want to just set aside the issue

  17     of agreement.    Let's assume the complaint arguendo pleads an

  18     agreement.    Have they pled a per se violation of the law?                         Now,

  19     as the Court knows, a per se violation of the law is something

  20     that, if you see it, it is condemned outright.                           I don't listen

  21     to reasons why you did it.           Price fixing.                   General Motors and

  22     Ford reaching an agreement or understanding to increase the

  23     prices of their cars or to have a price floor, per se illegal.

  24     I mean, in fact, it can be a criminal felony.

  25               What's another example of a per se violation?                          Another

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   1     example is a market allocation.                General Motors says:         "I'll

   2     take east of the Mississippi.              Ford, you take west of the

   3     Mississippi."    Stop the videotape.                  Per se violation.     In fact,

   4     it can be criminal.

   5                What's another example of a per se violation?                    Bid

   6     rigging.    If Melissa and I want to, you know, go to some Miami

   7     art gallery or something, and bid on a -- "Hey, Melissa, don't

   8     bid more than $10," where we agree we don't go any higher.                        Bid

   9     rigging is just price fixing, but from the buy side, whereas

  10     price fixing is from the sell side.

  11                Amazingly, none of these allegations are pled in the

  12     complaint, Your Honor.       So you will search in vain for any

  13     facts that would make out price fixing, territorial allocation,

  14     bid rigging.

  15                Really interesting, Your Honor -- and we point this

  16     out in our Chancelor reply -- the opposition brief that United

  17     makes says -- they are in search of a theory here -- "Oh, this

  18     voting was actually bid rigging."                  You will not find that

  19     phrase in the complaint if you do like a search.                     "Bid

  20     rigging."    It's not there.

  21                You can't amend a complaint through a brief.                     But even

  22     if you could, if we take what they say, this voting,

  23     paradoxically, the exercise of voice in a marketplace, which is

  24     what competition's about, bid rigging, as we say in our

  25     brief -- this is from the Department of Justice, quote:                      Almost

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   1     all forms of bid rigging schemes have one thing in common, an

   2     agreement among some or all bidders which predetermines the

   3     winning bidder and limits or eliminates competition among the

   4     conspiring vendors.     So there's no winning bidder here, Your

   5     Honor.   There's two chains that are competing.                       That's the

   6     first point.

   7               Second point is bidding is purchasing.                       For example,

   8     when the government, when the GSA puts out bids -- I want to

   9     build a new federal courthouse, say, in Atlanta -- they put out

  10     to construction companies.           So those are people that are

  11     bidding on it.    And if they coordinate and conspire their

  12     attempts to win the contract, that's a violation.                        There was

  13     nothing here out for bid.

  14               So what is -- so when the Court -- when you go back in

  15     chambers and you -- we got to make sure, Your Honor, that it's

  16     not the fog of war that leads to a result here.                        What is the

  17     thing -- what's the language they use that symbolizes the

  18     violation?    They use phrases like "hijacking," that because

  19     they lost a vote -- which they themselves plead the Nakamoto

  20     Paper says can happen, that the Nakamoto Paper says computers

  21     can vote:    "Which way do you want to go?                       Do you want to go

  22     through the mountain or do you want to go through the left of

  23     it?   Place your vote."      Vote with your feet, pioneers.

  24               They use "hijack."           Hijacking is not a -- it's not a

  25     antitrust -- "manipulation."             Manipulation as to what?             That's

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   1     not an antitrust term, Your Honor.                    You'll search in vain in

   2     the controlling cases for that.                I'm going to build into this a

   3     little bit.    I'm kind do going in layers here.

   4               They say:    "Mercenaries," computers were brought on

   5     and these were mercenaries.            Well, what does that mean?           You

   6     know, Your Honor -- and I'll point this out in a slide in a

   7     minute.   This original Bitcoin Cash blockchain, the complaint

   8     itself alleges, emerged from a fork.                     So markets are always

   9     evolving.    But I didn't like how this fork turned out, even

  10     though, Your Honor -- really importantly, even though nothing

  11     was taken away.    Even if it was binary, you got to do one or

  12     zero, right?    This was one plus one.                   We now have more

  13     blockchains, more diversity in the marketplace than we had

  14     before.

  15               THE COURT:    Am I right that Bitcoin Cash, the currency

  16     that preceded the fork, is -- survives as a currency?

  17               MR. SIMMONS:     That's correct, Your Honor.

  18               THE COURT:    And I don't think I saw an allegation that

  19     the value of Bitcoin Cash fell.                Am I right?

  20               MR. SIMMONS:     That's -- if you turn to -- you're

  21     correct, Your Honor.     If you turn to the second slide -- I kind

  22     of wanted to walk at the slides at the end, Your Honor.                     But if

  23     you'll look at that -- let me see.                    It's the -- one, two,

  24     three -- it's the fourth bullet down, Your Honor, referencing

  25     complaint 60.

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   1               The complaint itself admits that both values exist.

   2     They both have the similar amounts of computer power, hashing.

   3     So there's computers playing or working to solve problems on

   4     both chains.    And they've similar values.

   5               Take a look at 77, Your Honor, the second -- the last

   6     bullet on that second page.            ABC and SV are competing for users

   7     and they compete as tradeable instruments on cryptocurrency

   8     exchange.    There is now a choice, Your Honor.                        I want to -- you

   9     know, I --

  10               THE COURT:    So just -- and I think it's a small point.

  11     So Bitcoin Cash, Bitcoin ABC, and Bitcoin SV are all -- are

  12     three separate currencies.

  13               MR. SIMMONS:     Well, I think it's now --

  14               THE COURT:    ABC succeeds --

  15               MR. SIMMONS:     I think it's just two, Your Honor.                      You

  16     see, there's been a fork.          So if we look -- go back to the

  17     first slide, the one became two, but the two -- we've now gone

  18     from one to two.

  19               THE COURT:    Okay.        So Bitcoin Cash then transformed

  20     into Bitcoin ABC after the fork?

  21               MR. SIMMONS:     Correct.            That's right, Your Honor.            And

  22     what I didn't want you thinking -- what I think's important,

  23     Your Honor, is Paragraph 60 and 77.                    Because the first time I

  24     was reading the complaint, I was like:                       "Is this additive or is

  25     this binary, if I add one, one goes away?"                           It's not -- it's

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   1     not the latter.    We now have to echo systems out there

   2     competing for users and computing power.                         That's called

   3     competition.    Great questions, Your Honor.

   4               So per se, they do not have -- they simply do not --

   5     if I assume arguendo agreement -- I'm going to come to that --

   6     they have failed to plead any recognized theory of a per se

   7     violation.

   8               THE COURT:    I have a question for you.                     Had I had more

   9     time, we would have researched this ourselves.                        But maybe

  10     counsel on either side knows.              Has a court higher than me

  11     recognized conduct as a per se violation, such as bid rigging,

  12     out of whole cloth, meaning, the case of first impression, a

  13     court -- ultimately a Court of Appeals, Supreme Court said:

  14     "Yep, that's a per se violation," or have courts looked at a

  15     series of litigation that has preceded, where these issues have

  16     been fleshed out in prior cases, and there becomes a body of

  17     law and the Court gets to appoint where they say:                        "It is now

  18     clear.   There is enough of a body of law that this particular

  19     conduct," bid rigging, for example, "is a per se violation"?

  20               MR. SIMMONS:     Fantastic question, Your Honor.                       And you

  21     anticipated the very next point I had meant to get to earlier.

  22               It's the latter.         You're absolutely right.                The

  23     Supreme Court, in two cases at least, the Topco case from

  24     1970 -- this is from the words of the Supreme Court, Your

  25     Honor, exactly what you just said; the latter.                        Quote:     It is

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   1     only after considerable experience with certain business

   2     relationships that courts classify them as per se violations of

   3     the Sherman Act.     That's 405 US at 607 to 08.

   4               What did the Supreme Court say in 1997, State Oil v.

   5     Khan, a very famous opinion written by Justice O'Connor?                            The

   6     Supreme Court said -- in that case, it expressed, quote:

   7     Reluctance to adopt per se rules where the economic impact of

   8     certain practices is not immediately obvious.

   9               So Your Honor, you're absolute -- and the Eleventh

  10     Circuit, in the Jacobs case, which we cite, Judge Tjoflat

  11     recognizes this.     You're absolutely right.                        It is only after a

  12     lot of temporal experience with a practice -- I don't need to

  13     know a lot more about price fixing to know that it's

  14     pernicious.

  15               And remarkably, Your Honor, again, I think it's the

  16     pleadings and the writings of the other side.                          What did the

  17     other side say in its opposition -- and these are quotes from

  18     Page 10 of their opposition, Your Honor -- quote:                             This is a

  19     case of first impression.          It is, Your Honor.                  It is.    It's the

  20     first antitrust case involving cryptocurrencies.                          That's a

  21     reason we shouldn't be even thinking about per se,

  22     notwithstanding the fact that they can't articulate any

  23     recognized per se.

  24               What else do they say on Page 10?                          Quote:   The first

  25     antitrust action brought in the United States involving the

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   1     dynamic and constantly evolving cryptocurrency industry, close

   2     quote.

   3               What else do they say?               Quote:          No court has yet

   4     decided whether the hijacking of a single cryptocurrency

   5     network is a per se automatic violation of the federal

   6     antitrust laws, close quote, all from Page 10 of their

   7     opposition.    I think the per se -- as a matter of law, Your

   8     Honor, that needs to go and should go.

   9               I will move -- unless you have further questions on

  10     per se, Your Honor --

  11               THE COURT:    No.

  12               MR. SIMMONS:     -- let me move to the second theory of

  13     antitrust that they attempt to plead.

  14               And that is what we call the rule of reason, Your

  15     Honor.   The rule of reason is kind of a fancy-sounding phrase I

  16     learned in law school.       The very first rule of reason case was

  17     1918 by Justice Brandeis, who himself had been a very, very

  18     famous antitrust lawyer up in Boston before President Wilson

  19     put him on the Supreme Court.              He was actually a plaintiff's

  20     antitrust lawyer.     And in a case called the Chicago Board of

  21     Trade case, Justice Brandeis created a body of law in this

  22     first opinion for restraints of trade, combinations between,

  23     economic actors, independent -- which are not per se, but maybe

  24     they violate, nevertheless, the Sherman Act.

  25               And what do we look at?                What are the material

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   1     elements of a rule of reason violation?                        These are the material

   2     elements:    Number one, there must be a relevant market pled.

   3     There must be facts pleaded in support of a relevant market.

   4     The Jacobs case is an Eleventh Circuit case affirming the

   5     dismissal of a rule of reason case for failure to plead facts

   6     on relevant market.

   7               What is a relevant market?                   A relevant market is kind

   8     of a -- and look, I'm a bit of an antitrust nerd, so we get

   9     kind of animated about these issues.                     A relevant market is what

  10     we call things that constitute reasonable substitutes.                       So

  11     automobiles.

  12               The next question would be:                    "Well, Mr. Simmons, is a

  13     horse and buggy a reasonable substitute for an automobile?"

  14     Let's say you want to drive from Miami to New York.                       Would you

  15     take a horse and buggy or would you take a car?                       It's where the

  16     law says -- the relevant market is things that we consider to

  17     be competing -- competing products or services.

  18               All right.    A rule of reason claim needs a relevant

  19     product market, a product or service market, and it needs a

  20     geographic market.     None of those elements are pleaded in the

  21     complaint, much less with facts.

  22               THE COURT:    I would have to agree with you.                    How would

  23     you define the market?       I understand you're not the one

  24     pleading, but I wonder if you have a view that's clear about

  25     that.

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   1               MR. SIMMONS:     Well, you know, Your Honor, I do.                   You

   2     don't hold me to this, I hope.               So I'll shoot from the hip

   3     here.

   4               I think it's probably financial instruments or

   5     instruments that have value; a mutual fund, a cryptocurrency.

   6     I'm kind of a conservative.            You know, I just hope not to lose

   7     money.   You know, I put it -- whatever little money you have.

   8     So I think it's anything that holds value, you could say.

   9               Because if somebody has a thousand dollars, do they

  10     want to put it in a piece of Bitcoin?                      Do you want to put it in

  11     a Fidelity mutual account?           Do you want to buy out some shares

  12     of General Motors or Amazon?             I think it's an instrument that

  13     holds value.    If you -- great question.                      And that's how I would

  14     answer it in these 10 seconds, Your Honor.

  15               THE COURT:    Okay.        Surprisingly, you chose a

  16     super-broad market.

  17               MR. SIMMONS:     Well, Your Honor, you must have been

  18     reading up on antitrust.

  19               THE COURT:    I'm sure Mr. Miller or Ms. Perez will have

  20     a narrower one.

  21               MR. SIMMONS:     Well, Your Honor, I'm on a old horse

  22     with a few safe harbors.         But yes, that's the way I would

  23     define it in these 10 seconds.

  24               So relevant market is product and geographic.                      You

  25     then need to ask yourself:           Where is -- does a firm have what

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   1     we call market power?      That's an element that Justice Brandeis

   2     kind of looked at.     So --

   3               THE COURT:    Right.         Now, how does market power play

   4     into this?

   5               MR. SIMMONS:     Market power, Your Honor, is -- I'll

   6     first define it and then suggest how I think about it.                    And

   7     then I'll say:    "Well, where is it in the complaint?"

   8               THE COURT:    And market power is a concept that comes

   9     within the notion of the relevant market.

  10               MR. SIMMONS:     Exactly right, Your Honor.                So --

  11     exactly right, Your Honor.

  12               So if we go back to:             Is a horse and buggy, you know,

  13     that the Amish and the Mennonites use -- I'm from Canada and we

  14     have Mennonites.     Is a horse and buggy, which takes you from

  15     point A to point B, a reasonable substitute for an automobile,

  16     say, an Audi or something, which also takes you?                     Right?   They

  17     do the same thing.     But I think economists would say they're

  18     not reasonable substitutes.

  19               Once you define that relevant market, we then look at

  20     power.   We look at concentration.                 And what market power is --

  21     it's a fancy term used by economists, but it's in the law, as

  22     the Court knows.     It means whether a firm, a company, a

  23     provider in the relevant market has power over price or output.

  24     So could I -- could I -- I'm producing so many cars, and I have

  25     the most -- the highest market share, there's high barriers to

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   1     entry.    I have power over price.                I can evaluate my price to

   2     the Court and you have to pay that price.                             You have to be a

   3     price-taker.    That's market power.                   The seller has power over

   4     the buyer.

   5                THE COURT:   So you're saying that part of a pleading

   6     of a rule of reason claim under the Sherman Act -- are you

   7     saying it requires a pleading of what the market power is of

   8     the particular Defendants?            Is that essential?

   9                MR. SIMMONS:     Yes, Your Honor, it is.

  10                You have to --

  11                THE COURT:   Are there cases that -- binding cases that

  12     say it's essential?

  13                MR. SIMMONS:     I think Chicago Board of Trade, Your

  14     Honor.    The State Oil v. Khan, that O'Connor case I talked

  15     about a few minutes ago.

  16                By the way, if I may digress on the State Oil v. Khan

  17     case, because I think it's very illustrative.                            State Oil v.

  18     Khan overturned a case from the 1960s called Schwinn.                            I

  19     believe Justice Douglas wrote that case.                          And the Schwinn case

  20     had said that the what we call vertical price fixing -- so

  21     General Motors telling its dealer:                     "You can't charge more than

  22     $15,000 for a car" -- so it was maximum -- you can't go any

  23     higher than that.     The Supreme Court in the 1960s condemned

  24     that.    They said that's per se illegal.

  25                Justice O'Connor, in the Khan case -- so after 35

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   1     years or so -- I think it's a '62 case, Schwinn.                        The Supreme

   2     Court -- and you know, I think it's unanimous.                        I think it was

   3     a 9-0 decision, Khan.       Don't hold -- I think it was.

   4                THE COURT:   This is State Oil?

   5                MR. SIMMONS:     State Oil v. Khan, 1997.

   6                Justice O'Connor said:               "Wait a minute.         That's crazy,

   7     Ian.    Why would we have a rule that says" -- I mean, you can't

   8     charge -- "We're going to let the marketplace decide what the

   9     price should be."     And the Supreme Court subjected that

  10     restraint to the rule of reason, which turns on market power.

  11     We care about restraints in a relevant market, Your Honor, in

  12     the setting of the rule of reason, when a firm has power.                          So

  13     it's very, very important.            It's an essential element.

  14                And let me zero in on the complaint.                       None of this is

  15     pled, Your Honor.     You will search -- so what is the relevant

  16     market?    What is the relevant geographic market?                      Who has power

  17     in the market?    We just saw voting.                   We saw the essence of the

  18     pioneer spirit, people voting with their feet.                        What's the

  19     power?    Go left or go right.            Make your choice.

  20                So all of these elements -- these are material

  21     elements -- are gone.       They are not in the complaint.                   They

  22     bear the burden and it ought to be dismissed.

  23                You know, I don't want to get overly -- as I said, I'm

  24     a bit of a nerd in this area.               I mean, it's an interesting

  25     area.    The Supreme Court, just a few -- in what, 2017, in the

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   1     American Express case, handed down a big rule of reason case,

   2     talking about what we call two-sided markets, really putting

   3     the emphasis on power issues.              So it's an essential element of

   4     a rule of reason.     They don't plead it at all, much less facts.

   5               So the rule of reason is kind of a -- you know, while

   6     per se is kind of slick and surgical, the rule of reason is you

   7     get your hands in the mud.           You're looking at a relevant

   8     market, product, or service, geographic market, market power,

   9     and then you look at justifications.                     What's the reason for the

  10     restraint?    None of that is in the complaint.                      Nothing.

  11               Let me go now, Your Honor -- I've been holding --

  12               THE COURT:    Is that something that has to be pled, the

  13     justification?

  14               MR. SIMMONS:     Yes -- well, they have to plead -- and

  15     Judge Tjoflat makes this clear in the Jacobs case, Your Honor,

  16     which is affirming the dismissal of a rule of reason case.

  17     They have to plead -- their pleading has to go like this, Your

  18     Honor:   General Motors produces cars.                     Cars are a relevant

  19     market for the following reasons.                  Bunch of facts.       You know,

  20     airplanes -- they have to plead facts showing that automobiles

  21     are a relevant market.       The relevant geographic market is the

  22     Southeastern United States, defined as follows, pleading a

  23     bunch of facts.    General Motors engaged in the following

  24     restraint of trade, because it's the restraint we're analyzing

  25     under the rule of reason.          And then they have to plead facts on

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   1     the restraint.

   2               That restraint -- this is the way a complaint should

   3     be written.    That restraint is not justified under theory 1, or

   4     theory 2, or theory 3 because the anticompetitive effects of

   5     that restatement outweigh any -- they have to plead -- plead

   6     down any purported justifications.                    So General Motors on its

   7     website says that it ties the hands of its dealers for the

   8     following reasons.     This is not -- they have to plead that,

   9     Your Honor.

  10               A rule of reason is kind of like -- you know, my

  11     brother just saw the movie "1917."                    It's kind of like a World

  12     War I -- it's a gruesome kind of -- it's a big undertaking to

  13     get down and look at a marketplace before you condemn it.

  14               And one other point, Your Honor.                           I mentioned Jacobs.

  15     This is really important -- and I think our brief has cases on

  16     this.   It's very important that we not get confused because we

  17     can read cases saying:       "Oh, relevant market is kind of a

  18     fact-intensive thing."       And then we might think:                      "Well, I

  19     can't be dealing with something on a dismissal if it's fact --

  20     the law is the exact opposite, Your Honor.                           We've got them in

  21     our briefs, and you will see cases are -- there are a manifold

  22     number of cases getting affirmed dismissing rule of reason

  23     claims for failure to plead the facts.                       So the courts are not

  24     kind of circumspect about wading into this area.                           They need to

  25     plead facts that you then accept as true, the Court, under Rule

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   1     8.

   2                All right.   So that's rule of reason.

   3                Again, Jacobs, Your Honor, 626 F.3d at 1336, the

   4     Eleventh Circuit is affirming.               It says:            "Failure to plead

   5     relevant market facts is fatal."                 Here's a quote from Jacobs,

   6     Your Honor -- and I think it's Judge Tjoflat -- Antitrust

   7     plaintiffs still must present enough information in their

   8     complaint to plausibly suggest the contours of the relevant

   9     geographic and product markets, close quote.                          626 F.3d at 1336.

  10                Let me move, if I may, Your Honor -- and by the way,

  11     before I move off of rule of reason, relevant market, right,

  12     restraint, diminution of competition, let's just go back.                           I

  13     think the complaint is kind of almost all that anyone needs

  14     here.    They've alleged greater diversity in competition.

  15     They've alleged more voice, rather than less voice.                            There's

  16     not a diminution with the fork.

  17                Let me move now -- I've been holding -- let me move to

  18     the third issue that -- I believe all of these are fatal.                           Let

  19     me move to the issue that we probably should have dealt with

  20     first.   Because you don't deal with per se or rule of reason

  21     unless you first have an agreement, right?                           Because per se and

  22     rule of reason are under Sherman Act Section 1.                          Sherman Act

  23     Section 1, Your Honor, is the statute that tells us when, under

  24     our competition laws, connections between firms are or are not

  25     all right, they are or are not acceptable.                           We have

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   1     horizontal -- and Sherman Act, Section 2 is the big monopoly,

   2     is the single-firm conduct statute.

   3               We don't really care about the per se or the rule of

   4     reason paradigms unless we have an agreement to analyze, you

   5     know, that people came together and agreed to do something.

   6     Okay.   Then you ask:    Is it per se or is it rule of reason?                         I

   7     wanted to go first to the substance.

   8               On the agreement element, Your Honor, this complaint

   9     fails on its face to allege the who, what, where, who agreed

  10     with what to do whom -- who agreed with whom, when, to do what.

  11     The complaint is woefully deficient.                     The Court I'm sure is

  12     well aware from reviewing the pleadings with the 2007 Twombly

  13     opinion by the Supreme Court, a landmark -- a very, very

  14     important opinion that got rid of the Conley v. Gibson

  15     standard.    Under any conceivable set of facts, Twombly said no.

  16     Twombly said no.     Under Rule 8, you need enough factual

  17     pleadings to plausibly suggest a conspiracy.

  18               Importantly, Justice Souter in that case made really

  19     clear, really clear, that you can't plead by label.                         So Ian and

  20     Melissa conspired.     Question:           Mr. Simmons, is that a -- no.

  21     That's a legal conclusion.           You need facts.                 Ian and Melissa

  22     met at Starbucks and we did -- you need facts that you take the

  23     facts as true and then that is the standard.

  24               Really importantly, in the Twombly case, Your Honor --

  25     I want to just lay this out a little bit here.                         The Twombly

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   1     case was parallel pricing, a parallel pricing case where firms

   2     are acting similarly and under what circumstances can the case

   3     proceed such that there's a reasonable inference the firms

   4     acted in parallel pursuant to agreement, rather than just

   5     through normal market conduct.

   6               We all know the gas stations -- so you got a Shell

   7     station here and an Exxon.           And you look at the gas prices and

   8     maybe they're off by some fraction.                    But they can see each

   9     other, right?    I can copy you in the marketplace.                   That's not a

  10     violation.    Sherman Act, Section 1, Your Honor, condemns

  11     agreements and understandings between competitors.                     And Twombly

  12     said that just because firms act in parallel, that's an

  13     equipoise because that's normal -- what we call oligopoly or

  14     copying each other.     That's not a violation of the law.

  15               And Your Honor, I want to just really pause on this

  16     for a minute.    This complaint, when we go through it, we are

  17     not even at the starting gate that Twombly was at, and Twombly

  18     was at a starting gate and it failed.                      In other words, you will

  19     search in vain for allegations of even parallel conduct.                     It's

  20     not in there.

  21               You will search in vain, Your Honor, for

  22     allegations -- and the individual counsel will be up in a

  23     moment perhaps to amplify this -- who agreed with what to whom.

  24     I've already talked about that.                Even if you assume what they

  25     agreed, that that's not a violation of either substantive law,

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   1     rule of reason, or per se.           But there's no facts pleading an

   2     agreement.

   3               We cite in our brief, Your Honor, a very well-known --

   4     the Blomkest case from the Eighth Circuit, which has a great

   5     phrase and wonderful way of thinking about this.                        The Court of

   6     appeals had said you can't assume an agreement and then try to

   7     explain everything.     No.      You need to have enough factual

   8     matter pled.

   9               And the Supreme Court in the Quality Auto case -- I'm

  10     going to move to the slides in a minute.                         And I'm almost done,

  11     Your Honor.    So I'll sit down in just a minute here.                      The

  12     Supreme Court -- or I should the en banc Eleventh Circuit case

  13     in Quality Auto from 2019 made clear that you must allege facts

  14     plausibly suggesting a conspiracy.                    It went on -- and this is

  15     from the Eleventh Circuit citing Twombly, and this is a really

  16     important concept.

  17               So not only do we not have facts saying Ian met with

  18     Melissa, who, what, where, when -- we don't have that.                        Not

  19     only do we not have parallel phenomena, an indicia of parallel

  20     behavior -- we don't have that.                We -- fatally, we don't have

  21     this third factor, which says the pleading has to include facts

  22     that tend to exclude the possibility of independent conduct.

  23     I'm going to go through that.              I mean, the Quality Auto

  24     Painting case, Your Honor, is very important, on point, and it

  25     just confirms that this complaint should not proceed.

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   1               Let me -- I want to talk briefly about antitrust

   2     injury, Your Honor, very quickly walk the Court through the

   3     slides.   And then, absent questions, I'll sit down.

   4               The fourth big basket, Your Honor, of -- in all of

   5     these reasons, or any one of these are reasons why we don't get

   6     past go, is what we call antitrust injury.                           And antitrust

   7     injury -- Your Honor, the law of antitrust originated from the

   8     law of torts.    It's a violation of the substantive antitrust

   9     laws, and that injured the Plaintiff in its business or

  10     property.    This is from Clayton Act, Section 4, the statute

  11     giving rise to the private right of action.                          There's no --

  12     because they have not identified a per se or rule of reason

  13     violation, and they don't have facts, there's no causal chain

  14     flowing from it.     That's the first kind of point.

  15               Next point -- and this is in our brief, Your Honor --

  16     the Supreme Court in the Atlantic Richfield case, 1990, one of

  17     Justice Brennan's last cases, very famous, often-quoted

  18     language by the Supreme Court said:                    The injury has to flow

  19     from -- and this is a direct quote -- the competition-reducing,

  20     close quote, aspects of the Defendant's conduct.                          "The

  21     competition-reducing."

  22               Back to slide one.           Well, so the complaint says there

  23     was going to be a decision that had to be made.                          That's

  24     Paragraph 41 and 43.     And the complaint also says it's okay --

  25     computing powers brought to bear on voting.                          That's what the

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   1     Nakamoto Paper says.     Okay.         So that's all -- what's the

   2     problem there?    Voting happens.              And we now have two chains

   3     that are competing rather than one.

   4                So that's not competition-reducing.                         So on injury,

   5     sort of these are different lenses that you apply to the

   6     problem.    If we're like a doctor, I'm using different

   7     instruments to see whether this case should progress.                           They

   8     fail to plead facts showing any competition reducing.

   9                Indeed, Your Honor -- and we cite this in our brief --

  10     there's a 1978 -- I believe it is the Brunswick case from the

  11     Supreme Court, which says it's not antitrust injury if you're

  12     complaining about more competition rather than less.                           That's --

  13     no.   We actually want more diversity, not less.                          So antitrust

  14     injury, Your Honor, we have two chains, not one.                           They have

  15     failed to plead.

  16                Let me just briefly, before I walk the Court through

  17     the slides -- and then I'll sit down.                      The Jacobs case, again,

  18     is very good on this.      626 F.3d at 1340.                     The plaintiff must

  19     plead facts, quote, as to how harm to competition results from

  20     agreement, how it harmed the competition.                            That's back to that

  21     relevant market thing.       How did Ian's restraint hurt that and

  22     it can't be justified.       They don't have it.

  23                Briefly on the slides, Your Honor.                         And then if the

  24     Court doesn't have questions, I will sit down.                           The second

  25     slide is really what is the complaint -- I almost think you

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   1     could stop at the second slide, Your Honor.                          What admissions

   2     does the complaint make?         That, as the Quality Auto court, it

   3     uses the phrase "a nail in the coffin."                        The en banc court in

   4     Quality Auto paid particular keen attention to what admissions

   5     did the complaint itself make, and it used the phrase "nail in

   6     the coffin."

   7               Well, Paragraph 57 admits -- this is the second bullet

   8     on the page -- that the original chain emerged from a fork.                            So

   9     forks can't be -- right?         They can't be illegal.

  10               Paragraph 64.      Voting for one's preferred software

  11     implementation is an expression of competition, and nodes leave

  12     and rejoin cryptocurrency as they wish.                        The complaint is

  13     saying this.    But then -- but because their vote didn't go the

  14     way they wanted, somehow our people are mercenaries.                         And so

  15     what's the line, Your Honor, between a mercenary and a

  16     non-mercenary?    And then is mercenary even a concept of

  17     antitrust?

  18               THE COURT:    The Plaintiff obviously referenced --

  19     relies on the Nakamoto Paper and norms that the Plaintiff says

  20     are accepted.    And does that paper lay out that only in this

  21     instance the Bitcoin Cash miners could vote on that upgrade?

  22     Is this something in that paper -- and that doesn't -- my

  23     question doesn't presume that the paper -- whatever the paper

  24     said is enforceable.     That's a separate question.

  25               But just understanding the concept, does Plaintiff's

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   1     complaint that bringing in the Bitmain kind of rented servers

   2     at the time of this voting, this fork, that that's somehow

   3     outside what was contemplated by the paper?

   4               MR. SIMMONS:     Mr. Miller will have to answer that

   5     question himself, Your Honor.              But I'll tell you the complaint

   6     does not plead that.

   7               The complaint cites to the Nakamoto Paper, and the

   8     Nakamoto Paper says computing power can come and go and you can

   9     vote with your feet.     That's the way I read the Nakamoto Paper,

  10     and it's attached as Exhibit A to the complaint.

  11               They then say:       "Well, but there was some sort of

  12     hijacking and the result that I'm complaining about that led to

  13     diminution in value, that's sort of not consistent with the

  14     Nakamoto Paper."     They don't show us why.                         They -- Your Honor,

  15     if you'll look at Paragraphs 41 through 42.                           Let me just pause

  16     on this for a minute -- and by the way, this is why I'm not

  17     very good with slides, Your Honor, because I probably should

  18     have included 41 through 46 on that slide.                           These are really

  19     important paragraphs to read of their complaint.

  20               Paragraph 41 -- I've already touched on that -- says

  21     the network upgrade was scheduled to happen.                           I know:   Okay.

  22     So there's going to be an upgrade.                    That's what they plead.

  23     Right?   Something's going to happen.                    And there's a bunch of

  24     choices there, they say at the top of Page 9.

  25               42 says it was going to be scheduled.                          It was going to

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   1     be for an automatic -- so this decision was going to happen.

   2     No allegations that this decision resulted from an agreement

   3     Your Honor, right?      This is really important.

   4                THE COURT:    Is it clear to you -- and maybe Mr. Miller

   5     or Ms. Perez will deal with this when they come there.                       But who

   6     decided that?    Who decides that, that there's going to be an

   7     upgrade?

   8                MR. SIMMONS:     The complaint doesn't tell us.

   9                THE COURT:   That's okay.

  10                MR. SIMMONS:     I don't want to say something to the

  11     Court that I don't know, Your Honor.

  12                THE COURT:   Okay.         That's fine.

  13                So Plaintiff's counsel will know that's a factual

  14     question I have.

  15                MR. SIMMONS:     Right.

  16                THE COURT:   Okay.

  17                MR. SIMMONS:     But I think the -- but then let's read

  18     43 together, Your Honor.          "Because two of the software

  19     implementations, ABC and Bitcoin SV, decided to proceed with

  20     upgrades that would no longer respect the same rules, a dispute

  21     arose over which of the two rule sets being applied by the two

  22     software implementations would be the rule set that the Bitcoin

  23     Cash blockchain was going to follow moving forward."

  24                Now, here you go, Your Honor.                      This is Nakamoto,

  25     Paragraph 44:    "Consistent with Nakamoto's Whitepaper, the

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   1     determination over which rule set would be applied by software

   2     implementations on the network going forward would be based on

   3     the vote of the various nodes" -- nodes are conglomerations of

   4     computing power -- "mining the network."                         Mining means they're

   5     working hard to solve the -- it's kind of like the miner

   6     underground working to find that gold -- "which node

   7     implementations exercised more computing hashing power to its

   8     attached mining rigs while working on the chain."                        Look at what

   9     it says then -- and remember, this is outside the context of

  10     any violation.     So they're laying the groundworks of this.                       So

  11     you say:    "What's the problem?"

  12                45:   "Whichever rule set received the most votes in

  13     the aforementioned hash war" -- and this is all stuff they

  14     ground in Nakamoto's Paper -- "was going to continue the

  15     Bitcoin Cash blockchain going forward.                       The losing set of rules

  16     would be forced to create a new and distinct chain."                        Well,

  17     that's exactly what -- I mean, what's the problem?

  18                So Your Honor, I -- these paragraphs I think are

  19     absolutely fatal.

  20                Let me just run you down Paragraph 64:                      The complaint

  21     itself admits -- because this second slide is:                        What does the

  22     complaint give us, in addition to those paragraphs in the

  23     40s -- that nodes can join and leave the network as they wish.

  24     The complaint alleges that.

  25                Paragraph 60:     "The cryptocurrencies that emerged" --

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   1     the two of them -- "enjoyed comparable amounts of hashing

   2     power.   And enjoying a higher hashing rate than ABC at the

   3     multiple points after the hard fork."                      So that sounds like

   4     competition.

   5                77:   "They compete for users and compete as tradeable

   6     instruments on cryptocurrency exchanges."                            There is now choice.

   7     These are grounded in the -- these -- using the nomenclature,

   8     Your Honor, of the Eleventh Circuit, who called it -- these are

   9     nails in the coffin that they have pled and they can't disown

  10     and they can't mask through labels like "mercenary," "hijack,"

  11     or -- that just -- that doesn't do it.

  12                Final slide, Your Honor.                And you'll see at the back,

  13     by the way, Page 4, which I won't cover, Your Honor, has a

  14     little bit of glossary on it.              So we did our best with the

  15     glossary.

  16                Page 3, which I'll cover and then sit down, absent

  17     questions from the Court.          Page 3 are -- if Page 2 was

  18     admissions that are fatal, what omissions are fatal?                           Well,

  19     we've already covered the second bullet there.                           We don't -- we

  20     don't have any -- there's no per se violation, much less facts

  21     alleged.    No allegations of bid rigging.                       No allegations of a

  22     meeting of the minds.      That's agreement.                     You see the -- no

  23     allegations on the rule of reason.                    So I've covered that.         No

  24     dispute that an American corporation has not been injured by an

  25     antitrust violation, much less by a reduction in competition.

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   1                And the final bullet I'll just cover, no dispute that

   2     the Nakamoto Paper is -- it's not a rule of law.                         It's a

   3     non-binding thought experiment.                 And by the way, the very terms

   4     of that paper support the phenomena that complaint alleges.

   5                You know, Your Honor, one of my co-counsel gave me a

   6     phrase yesterday that if this complaint were to proceed,

   7     they're basically asking the Court to become a nodes regulator;

   8     what kind of voting in this industry is okay and what isn't.

   9     And that's just simply not the role of an antitrust judge.

  10                So Your Honor, absent questions, I will sit down.

  11     Thank you for allowing us to get organized this way.                         I'd be

  12     happy to take questions.          I may save some -- come back after

  13     Mr. Miller, if the Court will permit me, on rebuttal.                         But we

  14     would respectfully ask that the complaint be dismissed with

  15     prejudice.    Or at a minimum, if the Court is inclined to give

  16     leave to amend, that the Plaintiff be put to their proof on:

  17     What, Mr. Miller, exactly would you allege?

  18                This case has been pending now for a year -- these

  19     motions.    These companies have been through a lot, a lot of

  20     expense.    It's time for the case to end.                        Thank you for your

  21     indulgence.

  22                THE COURT:   So now we're going to hear the other

  23     arguments that are unique to particular defendants, is that

  24     right, on the Sherman Act?

  25                MR. SIMMONS:     Yes.        Unless the Court would like --

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   1               MR. QUINN:    State law.

   2               MR. SIMMONS:     Actually, I think state law, if the

   3     Court would like state law argument.

   4               THE COURT:    I'm wondering if it makes sense to just

   5     have a conversation about the Sherman Act on both sides of the

   6     aisle and then go to state law.

   7               MR. SIMMONS:     Okay.         Then we'll make the individual

   8     arguments.

   9               THE COURT:    Okay.        So are there any other individual

  10     arguments on the Sherman Act that some Defendants made but not

  11     others?

  12               MR. QUINN:    I think so, Your Honor.

  13               THE COURT:    Okay.        All right.

  14               And so this is Mr. Quinn.

  15               MR. QUINN:    This is Mr. Quinn.

  16               THE COURT:    Right.

  17               MR. QUINN:    And again --

  18               THE COURT:    You want to get in front of that

  19     microphone when you speak.

  20               MR. QUINN:    Sorry.

  21               Again, I'm on behalf of Defendants Cox, Chancelor, and

  22     Ver.

  23               THE COURT:    Okay.

  24               MR. QUINN:    I'm not going to take too much time to

  25     expand on what Mr. Simmons said with respect to the agreement

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   1     element already.     But I do just want to point out some unique

   2     aspects to Mr. Chancelor and Mr. Cox on one hand, as software

   3     developers, and Mr. Ver as the owner and founder of Bitcoin.com

   4     on the other hand.

   5                So with respect to Messrs. Chancelor and Cox, the

   6     single substantive allegation against them in this case is that

   7     they implemented a checkpoint on the ABC chain in the wake of

   8     the software fork.      And Your Honor, if it would be helpful for

   9     me to explain somewhat of what my understanding of a checkpoint

  10     is, I'm happy to do that.

  11                THE COURT:    Sure.        Okay.

  12                MR. QUINN:    So our understanding is that a checkpoint

  13     is a software patch that protects against so-called deep re-org

  14     attacks.    What that essentially means is that the software

  15     patch protects against someone going back in time to previous

  16     blocks of transactions that were blocked up and bundled into

  17     blocks in the blockchain and scrambling those in a way that

  18     would enable double spending of currency.                             And so it's a

  19     security device that prevents someone from essentially

  20     rewriting the chain and rehashing the chain.

  21                The part of -- you know, part of the security of the

  22     blockchain system is that it's an inextricable chain and that

  23     there are so many connecting blocks that no one could go back

  24     in time and do this.     And so this software patch, this

  25     checkpoint, is an effort to protect against those types of

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   1     attacks that would go back and do that.                        So that's the

   2     allegation with respect to Messrs. Chancelor and Cox.

   3               In terms of United's burden -- substantive burden on

   4     conspiracy allegations, what they have to plead is that

   5     Mr. Chancelor and Mr. Cox joined the conspiracy and played some

   6     role in it.    That's their obligation here.                         They need

   7     evidentiary facts suggesting that Mr. Chancelor and Mr. Cox

   8     joined the conspiracy and played some role in it.

   9               If the Court -- it was in our papers.                         The Duty Free

  10     case in this district made exactly that point.                          The Court there

  11     did an extended analysis of a defendant-by-defendant look at

  12     facts pertaining to the existence of a conspiracy.                          And the

  13     Court said, when you have scenarios like this, you can't just

  14     allege that defendants colluded or defendants conspired.                          You

  15     need to go defendant by defendant and -- to allege specific

  16     facts as to why this person conspired.

  17               So with respect to Chancelor and Cox, what's not

  18     there?   That's no collusive communications between those two or

  19     between them and anyone else in this entire complaint.                           It's

  20     just not there.    If you look at the Duty Free opinion, the

  21     Court mentioned the lack of collusive communications in the

  22     complaint as an indicator that there wasn't a conspiracy.

  23               You also don't see any parallel conduct on behalf of

  24     Mr. Cox and Mr. Chancelor.           And so the gravamen of any

  25     circumstantial case under the Sherman Act is parallel conduct

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   1     and then plus factors, facts that make -- give rise to a

   2     reasonable and plausible inference that there was an agreement.

   3     And here there's just no parallel conduct with respect to

   4     Chancelor and Cox whatsoever.

   5               THE COURT:    One thing that I've been thinking about

   6     is:   How do you have parallel conduct when the roles are not

   7     all the same, when you have miners, developers, the exchange?

   8     So that's a question I have.

   9               And I also don't want to forget this question:                   I'm

  10     not sure I really understand what it means for Cox and

  11     Chancelor to be developers.            What are they developing?

  12               MR. QUINN:    Sure.

  13               THE COURT:    What is their role in this?                  I have a

  14     better sense of what miners do and what an exchange is.                    What's

  15     a developer?

  16               MR. QUINN:    Can I take the second question first, if

  17     Your Honor doesn't mind?

  18               THE COURT:    Sure.

  19               MR. QUINN:    So what Chancelor and Cox do are

  20     essentially they write software.                 They write the Bitcoin ABC

  21     software implementation.         And so the particular vision of

  22     Bitcoin that ABC represents, and the characteristics of that

  23     currency, are all determined by a set of software rules.                    And

  24     so these guys are developers who write that software.

  25               THE COURT:    Okay.        And they're the developers of ABC

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   1     in particular?

   2               MR. QUINN:    That's right.

   3               THE COURT:    Okay.        And then who is the decider that

   4     there's going to be this voting on two different set of rules?

   5     Who has the power in this arrangement to determine that?

   6               MR. QUINN:    To determine that a fork is going to

   7     happen?

   8               THE COURT:    Yes.

   9               MR. QUINN:    So my understanding -- and Your Honor, I

  10     want to cabin this with the fact that I'm also a layperson --

  11               THE COURT:    Come on.           You're younger than me.           You

  12     should be able to do this.

  13               MR. QUINN:    My understanding is that it's the

  14     algorithm itself underpinning the blockchain.                        And so the

  15     algorithm provides for periodic software updates.                       And so every

  16     certain number of months there's an opportunity for a software

  17     update.   And what you can --

  18               THE COURT:    The algorithm decides that in this

  19     instance it's the ABC and the SV?

  20               MR. QUINN:    So beforehand, it was just the unitary

  21     chain.    It was BCH.   The Bitcoin Cash chain provided for

  22     periodic software updates.           And so this -- you know, every six

  23     months you have an update.           That's an opportunity for us -- for

  24     all the stakeholders in the chain to get together and to decide

  25     on making any changes to the software underpinning the code.

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   1     It's also an opportunity for a hard fork to happen, like it did

   2     in this case.

   3                Sometimes there are soft forks where, you know, you'll

   4     have all the different implementations that are mining on a

   5     particular chain that agree to a set of consensus rules.                            And

   6     then you won't have a hard fork and the unitary chain will stay

   7     unitary.    But there's also, as we saw in this case, Bitcoin

   8     Cash itself emerged from a hard fork earlier on the Bitcoin

   9     Core, the first digital currency network.                             So you constantly

  10     have kind of stemming off of digital currencies.

  11                THE COURT:    You're doing pretty well.

  12                So -- but you say it's the algorithm that decides if

  13     there's going to be periodic software updates.                            Isn't there

  14     somebody doing that programming who decides that there's --

  15     this software update now is a choice between those two sets of

  16     rules, the ABC and the SV?

  17                MR. QUINN:    I think that's right.                        And so I think back

  18     when -- the developers who originally wrote the Bitcoin Cash

  19     code, the code for the unitary blockchain that existed before

  20     the fork, they likely provided for periodic software updates.

  21                THE COURT:    But then is there some Defendant, somebody

  22     on your side of the aisle, who had the choice, had the capacity

  23     to decide:    "Okay.    On this date, the choice is between these

  24     two sets of rules"?      Two sets of rules being two kinds of

  25     software patches.      Is that an okay way of saying it?

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   1                MR. QUINN:   That is an okay way of saying it.

   2                And the answer is that the market decides.                         And so if

   3     people have good ideas with respect to software

   4     implementations, then they're all entitled to try and make that

   5     implementation in the new chain.

   6                THE COURT:   Okay.        But behind somebody's having a good

   7     idea -- I'm still looking for a human in this.                        You have an

   8     algorithm that generates these two different -- is that what it

   9     is, an algorithm that just generates these two different sets

  10     of rules?

  11                MR. QUINN:   No.      They're human.                  So they're

  12     developers.    They're software developers who write these

  13     repeating competing rule sets to govern the chain going

  14     forward.

  15                THE COURT:   Okay.        That's making sense to me.                 So

  16     that's what I thought, is that -- then is it Cox and Chancelor

  17     who are the ones that developed the software and had the

  18     capacity to then impose that on this date, November 15th, 2018,

  19     the miners would have to choose between these two particular

  20     new software changes?

  21                MR. QUINN:   So they do have the capacity to write

  22     code.   They do not have the capacity to require that there will

  23     only be two sets of potential rule changes that can go forward.

  24     All they can do is write their code.                     A lot of these folks have

  25     kind of followings, is my understanding.                         And so miners will

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   1     follow a particular software implementation and say:                    "Hey, I'm

   2     a Bitcoin ABC guy," "Hey, I'm a Bitcoin SV guy."                     And so it's

   3     kind of a -- it's a marketplace of ideas, is my understanding

   4     of it.

   5               THE COURT:    Are you saying that at some point leading

   6     up to -- over a period of time leading up to the date of the

   7     hard fork that those servers that are mining Bitcoin Cash were

   8     essentially voting and they were setting it up that the choice

   9     was going to be between ABC and SV?

  10               MR. QUINN:    So there's -- that's right, Your Honor.

  11     There were -- on the network as it existed before the fork,

  12     most of the nodes mining the network were running SV or were

  13     running the ABC software implementation.

  14               THE COURT:    Okay.        This is very helpful.           So I want to

  15     go back to -- let me see if I can find this paragraph in the

  16     complaint.    And it might be around 41.

  17               MR. QUINN:    And to be clear, Your Honor, none of this

  18     is in the complaint.     And so we're just kind of talking --

  19               THE COURT:    Right.         Right.

  20               Well, actually it is 41 that alleges that:                   "Prior to

  21     the notebook upgrade that was scheduled on that date in

  22     November of 2018, Bitcoin Cash network was mined by several

  23     different nodes applying various computer software

  24     implementations.     That is, Bitcoin Unlimited, Bitcoin ABC,

  25     Bitcoin SV, Bitcoin XT, et cetera."

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   1               MR. QUINN:    That's right.                 So those are all different

   2     software implementations.

   3               THE COURT:    So am I to understand that leading up to

   4     the date of the hard fork, there were such a volume of servers

   5     mining the ABC and the SV software that it, somehow in the way

   6     this system works, brought this to a point of decision

   7     whether -- which one of those would be dominant as a software

   8     that would be rules that everyone would follow going forward?

   9               MR. QUINN:    I don't think it would be -- it's not a

  10     dominance choice.     It's just a -- so my understanding is that

  11     the variety of different software implementations were mining

  12     beforehand.    And then kind of a consensus on the chain emerged

  13     where some people -- the network as a whole decided some

  14     stakeholders go with the Bitcoin ABC vision, some stakeholders

  15     go with the SV vision.

  16               So it was kind of coalesced -- the debate coalesced

  17     around those two potential visions of what the currency would

  18     be going forward.     And then, during the fork, everybody who was

  19     a stakeholder of either vision went and split off into their

  20     own unique currency.

  21               THE COURT:    I'm reading in Paragraph 43:                 "Because two

  22     of the software implementations, that is, ABC and SV, decided

  23     to proceed with upgrades that would no longer respect the same

  24     rule set, a dispute arose over which of the two rule sets being

  25     applied by the two software implementations would be the rule

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   1     set that Bitcoin Cash blockchain was going to follow moving

   2     forward."

   3               Right?   So that, it's, I gather, so many -- there was

   4     such a volume of miners using those two different sets of

   5     software, and they needed to do an upgrade and that

   6     modification of their rule set.                But it just kind of forced the

   7     need for choice among the miners as to which software upgrade

   8     they were going to adopt.

   9               MR. QUINN:    Follow.          I think that's a fair reading of

  10     that, Your Honor.     I think that's right.

  11               THE COURT:    Okay.

  12               MR. QUINN:    And so, just to go back to where I was

  13     with respect to Mr. Chancelor and Cox -- I won't belabor this

  14     point.   There's just no facts whatsoever indicating that these

  15     two individuals met with anybody else, spoke to anyone else,

  16     were in agreement with anyone else, any of the facts that the

  17     Supreme Court mentioned in Twombly as giving rise to a

  18     plausible inference of conspiracy.                    Those just aren't in the

  19     complaint.

  20               And again, the sole substantive allegation is that

  21     they implemented this checkpoint.                  That's entirely consistent

  22     with unilateral conduct.         This is what these guys do.                 They are

  23     software developers.     They write code for a living.                     They put

  24     up patches on the chain.         This is their job.                  So that's them.

  25               We have touched on the parallel conduct a bit.                       I

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   1     think you had a question about:                How do I look for parallel

   2     conduct when the capacity of so many people in this conspiracy,

   3     alleged conspiracy, is different?                  I think the first answer is

   4     that partly speaks to the implausibility of the allegation

   5     that, you know, if we don't have a bunch of people acting in

   6     parallel, we've got a bunch of people doing disparate different

   7     things.    And so the idea that they conspired towards a unitary

   8     goal is itself implausible.

   9                And the second -- you know, the second point that I

  10     would make is it's their burden to show that these people were

  11     all pulling towards a unitary goal.                    And I at least haven't

  12     seen that in the complaint.            I haven't seen what the Supreme

  13     Court said in the case; conscious commitment to an unlawful

  14     objective.    That's the core of a conspiracy, and that's

  15     supposed to be the thread that runs through antitrust

  16     complaints.    And you look for facts as to each defendant on

  17     that question, and that's just totally absent with respect to

  18     Messrs. Chancelor and Cox.

  19                So unless the Court has any remaining questions on

  20     their -- the allegations specified as to them, I would pivot to

  21     Mr. Ver.

  22                THE COURT:   Well, hold on just one minute here.

  23                MR. QUINN:   Sure.

  24         (Pause in proceedings.)

  25                THE COURT:   In the paragraphs that they were in,

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   1     Chancelor and Cox, that's -- do you remember -- do you know

   2     where that is?

   3               MR. QUINN:    I think it's on -- Paragraph 69, Your

   4     Honor, is where the couple of mentions are.

   5               THE COURT:    So the complaint, I thought, pled that

   6     this checkpoint prevented an upgrade absent 10 blocks being

   7     mined at a time, which the complaint claims is impossible and

   8     that effectively shuts out -- it effectively -- it's an

   9     impossibility.    What about that?

  10               MR. QUINN:    Your Honor, candidly, I'm not sure what to

  11     make of that allegation.         It's somewhat conclusory and I don't

  12     entirely understand it.        The ABC checkpoint was supposed to be

  13     a security feature that prevented against these attacks that

  14     would reorganize the chain.            But I do believe, based upon the

  15     Nakamoto Whitepaper and my understanding of how this industry

  16     is structured, is that in successive forks or software

  17     upgrades, if anybody had a plurality of votes or a consensus of

  18     votes, they could vote for what changes to the relevant network

  19     that they want to make.        There's nothing particular about this

  20     software upgrade that prevents future alterations of the ABC

  21     chain or even forks in the ABC chain into different

  22     cryptocurrencies.

  23               THE COURT:    I think I understood this checkpoint

  24     notion is that it somehow prevented voting by miners further

  25     down the chain.    And the claim is that this centralized the

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   1     market.   Although that term is conclusory.                          I don't quite

   2     specifically know what that means, other than the notion that

   3     there wasn't an ability for miners to vote on changes to the

   4     software going forward, that somehow it stopped, I guess,

   5     voting, I guess supposes a kind of competition, right?                          So do

   6     you want to --

   7               MR. QUINN:    Address that?

   8               THE COURT:    Right.

   9               MR. QUINN:    Yeah.

  10               I think -- I mean, the complaint itself pleads that

  11     people are still hashing the -- applying computer power to the

  12     ABC chain.    And I think there's kind of a temporal problem even

  13     if that's true and no changes can be made to the ABC chain in

  14     perpetuity going forward --

  15               THE COURT:    Changes to the software, changes in sets

  16     of rules.

  17               MR. QUINN:    Right.         To the ABC chain in perpetuity

  18     going forward, which is what I think they're suggesting.                             I

  19     think their complaint in this case is about the result of the

  20     fork itself and the split between SV and ABC.                          So the fact that

  21     ABC is locked down going forward, which I don't think they have

  22     adequately pleaded, I don't think touches on the injury that

  23     they're claiming.     They're claiming injury from the loss here,

  24     the fork itself.     They're saying that:                    "My cryptocurrency that

  25     I now hold on both the ABC and SV networks is worth less as a

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   1     result of the fork."

   2               So the fact that the ABC chain has changed doesn't

   3     really speak to that, the alleged agreement and the injury from

   4     that alleged agreement.

   5               THE COURT:    I thought that this checkpoint idea was to

   6     prevent a future upgrade of the software.                            And in fact, the

   7     claim is it's impossible to do that.

   8               MR. QUINN:    Maybe that's the claim.                        My understanding

   9     of the technology is that there are still routine software

  10     upgrades on this chain.        Of course, that's not in the

  11     complaint.    But my understanding is that there's still -- like

  12     the Bitcoin Cash unitary network before it, that there are

  13     routine opportunities for software upgrades.

  14               THE COURT:    Okay.        All right.              Thank you.

  15               MR. QUINN:    Absolutely.              And if I could briefly touch

  16     on Mr. Ver and the allegations --

  17               THE COURT:    Okay.

  18               MR. QUINN:    -- as to him.                 And I won't take too much

  19     more of the Court's time.

  20               The allegations with respect to Mr. Ver fall flat for

  21     many of the same reasons.          United appears to concede that it

  22     doesn't have any direct evidence of conspiracy.                           There's no

  23     statement.    There's no guilty plea.                  There's nothing that

  24     evinces a smoking gun, "We had an agreement and this is what we

  25     did," in this complaint.

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   1                The other avenue for them would be circumstantial

   2     evidence of conspiracy.        And as we talked about before, that

   3     would be parallel conduct and plus factors.                          And what they have

   4     done here is that they've, in a very conclusory fashion,

   5     alleged that Mr. Ver colluded with Jihan Wu and Bitmain.                         They

   6     don't identify which Bitmain entity he purportedly colluded

   7     with.   There are four.      But it proceeds to use that conclusory

   8     statement as a jumping-off point to arrange all the other facts

   9     and suggest the existence of an agreement.

  10                But specifically with respect to Mr. Ver and the

  11     evidentiary facts that United pleads against him, they plead

  12     that he tweeted during the fork to say:                        "Hooray.   There's a

  13     lot of hashing power on the network right now," the ABC

  14     network.    And they plead that he's a high school friend and a

  15     partial owner of the Kraken Cryptocurrency Exchange.                         Those are

  16     really the two evidentiary facts that they plead in this case.

  17                THE COURT:   He's a high school friend of whom?

  18                MR. QUINN:   He's a high school friend of Mr. Powell,

  19     is what they suggest.      And that he was a supporter and investor

  20     in the Kraken Cryptocurrency Exchange.                       But they don't explain

  21     why either of those facts suggest the existence of a conspiracy

  22     in this case.    And that type of guilt by association pleading

  23     is routinely rejected in federal courts.

  24                And as to the former Mr. Ver's tweet, United, I think,

  25     characterizes that tweet as Ver bragging about bringing on

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   1     hashing power during the fork.               But Ver doesn't deny that he

   2     was a supporter of the ABC chain.                  It's entirely consistent

   3     with unilateral conduct that he would be happy about ABC

   4     enjoying a lot of hashing power and going to be its own

   5     cryptocurrency going forward.              Nothing about that tweet

   6     suggests that he conspired to bring about that result.                     He

   7     would vote for ABC anyways because he supported it.                     And so

   8     there's nothing about that fact that suggests that he got

   9     together with Mr. Wu and any of the Bitmain entities, we don't

  10     know which, to conspire.

  11               THE COURT:    Okay.

  12               MR. QUINN:    If the Court doesn't have any more

  13     questions, I'll have a seat.

  14               THE COURT:    Okay.        So that does cover the Defense

  15     arguments on the Sherman Antitrust?

  16               MR. QUINN:    I think co-counsel may want to make some

  17     individual arguments.

  18               THE COURT:    Okay.

  19               MR. LOURIE:    Good morning, Your Honor.                   Andrew Lourie

  20     on behalf of Payward Ventures, doing business as Kraken, and

  21     Jesse Powell, the CEO of Kraken.

  22               THE COURT:    Okay.

  23               MR. LOURIE:    I want to talk just for a few minutes

  24     essentially to distinguish Kraken, which is the exchange, and

  25     Mr. Powell, who is the chief executive officer of that company.

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   1               But if I could take a minute, I wanted to go back to a

   2     question you asked Mr. Simmons about the Whitepaper because I

   3     think I could potentially shed a little bit more light on your

   4     question.    You had asked him about the Whitepaper and whether

   5     the Whitepaper authorized this sort of node voting that's at

   6     issue here.    And essentially, the way I would describe this

   7     entire complaint is as a ballot-stuffing allegation.

   8     Everything flows from their argument that:                           "You stuffed the

   9     ballots and somehow that's not allowed.                        And here are these

  10     several causes of action that we think it violated."

  11               So if we look at -- I think the best place to look is

  12     in the Plaintiff's consolidated response to the motions to

  13     dismiss at Page 11.     In the middle paragraph, they sum up

  14     exactly what they're really asking the Court to do.                          And they

  15     say the following:     "Here, UAC, the Plaintiff, alleges that the

  16     Nakamoto Whitepaper makes express that nodes in the system vote

  17     with their CPU power, expressing their acceptance of valid

  18     blocks by working on extending them."

  19               And this next sentence is important.                         The Plaintiff

  20     says:   "While nodes" -- and they quote the Whitepaper -- "can

  21     leave and rejoin the network," close quote -- "it has always

  22     been understood that it is the nodes that are mining the

  23     blockchain that are able to vote with their CPU power."

  24               So essentially, here's what they're essentially

  25     saying:   First, the federal courts should adopt the Whitepaper

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   1     as either a law or a binding contract, even though they don't

   2     actually allege it's a contract, and enforce it against

   3     everybody in this industry, no matter what they're doing in

   4     this industry.

   5                And then they're saying:                The courts not only have to

   6     do that.    Then you have to ignore the express language of the

   7     Whitepaper, which says:        Nodes, quote, can leave and rejoin the

   8     network, close quote.      They're asking you to ignore that --

   9     after you accept the Whitepaper as the law, ignore that phrase,

  10     to be replaced by what they say, which is:                           "It has always been

  11     understood" -- something different than what the express

  12     language is.

  13                So they would have the Court step into this sort of

  14     burgeoning industry and decide that there's a law that's -- you

  15     know, hasn't been passed by Congress or any other legislature,

  16     and it's called the Whitepaper.                It was created in 2008 or so.

  17     And we're going to start interpreting what that eight- or

  18     nine-page document means and we're going to create this whole

  19     new body of law based on what this Whitepaper says, even though

  20     there's no evidence that anybody agreed to follow it.                          And then

  21     where we think the express language should be superseded by

  22     practice or what other people say, we're going to do that too.

  23     And that's essentially what they're asking the Court to step

  24     into here.

  25                As you can see, it would create virtual impossibility

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   1     for the Court to apply any standards, let alone not the

   2     standards set forth in the actual express language of the

   3     Whitepaper.

   4               Going back to my clients, Payward Ventures and Jesse

   5     Powell, none of the allegations of, you know, essentially

   6     what -- what the Plaintiffs call bad conduct -- and they have

   7     different names for it, as Mr. Simmons was saying; hijacking,

   8     mercenaries, hostile takeover, manipulation.                           All those things

   9     have really no meaning.        And I would suggest to the Court or

  10     submit to the Court that they really should be ignored as far

  11     as the Court's trying to determine whether there's a real cause

  12     of action here.

  13               What they're essentially saying:                           "You guys stuffed

  14     the ballots.    You weren't supposed to have this many votes.

  15     You brought more votes in than you should have had and we lost.

  16     You know, the network upgrade didn't go the way we wanted it

  17     to.

  18               THE COURT:    The Plaintiff is not claiming that your

  19     clients did that, right?

  20               MR. LOURIE:    Excuse me?

  21               THE COURT:    The Plaintiff is claiming your clients did

  22     something else.

  23               MR. LOURIE:    They're not claiming our clients had

  24     anything to do with that.          In fact --

  25               THE COURT:    Right.         Right.          It's their operation of

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   1     the exchange in excluding or endorsing one currency over the

   2     other.

   3                MR. LOURIE:   Right.          So essentially, what they're

   4     essentially saying is:       If we were the New York Stock Exchange,

   5     and Exxon split into two different companies, that we gave each

   6     one a ticker.    But we gave one of them the original Exxon

   7     ticker, which is -- Exxon's ticker, for example, is XOM.                          So if

   8     Exxon split into two different companies, there would have to

   9     be two different tickers or else you couldn't trade.                        And one

  10     of them keeps XOM and the other one gets a new one.                        And the

  11     exchange's job is actually to list the various -- in the case

  12     of the New York Stock Exchange, stocks on its exchange so

  13     people can trade them.

  14                Here, it's currencies.              So both are listed.          One

  15     was -- and their complaint -- one of two complaints against us

  16     is that:    You gave the original ticker, which was BCH, to the

  17     ABC chain.    And they don't say this in the complaint, but it's

  18     implied, the SV chain, which also was listed and traded on the

  19     exchange, got its own ticker.              That's it.

  20                The one other allegation they make, and they don't

  21     explain, is that Kraken -- not Powell, but Kraken -- indicated

  22     to users that the SV chain was a high-risk environment.                           They

  23     don't say anywhere that that's not true.                         They don't say

  24     anywhere how that violated some duty.                      They don't say anywhere

  25     how that has anything to do with this conspiracy that they

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   1     allege took place all prior to any of this ever getting listed

   2     on the exchange.

   3               THE COURT:    Does Kraken trade SV?

   4               MR. LOURIE:    It did.           After this, it did.               And before

   5     the lawsuit was filed, it did.               Some time later, SV was

   6     delisted for really unrelated reasons.                       And it's really not

   7     part of this lawsuit.

   8               THE COURT:    Okay.

   9               MR. LOURIE:    But at the time this lawsuit was even

  10     filed, SV had still been listed.                 So you had the fork, and then

  11     you had two competing digital currencies.                            And it was -- they

  12     were both listed.     And they may be listed on any other

  13     exchange.

  14               Kraken is not alleged in here to be involved in

  15     mining, in software development, in the implementation of

  16     checkpoints in software, or to have anything whatsoever to do

  17     with that.    So as far as the Sherman Act goes, they're not

  18     alleged to be in any relevant market or even really a related

  19     market.   They're something completely different.                          It would be

  20     like saying the New York Stock Exchange is in the same business

  21     as Exxon or Coca-Cola, something else.                       Kraken exists to create

  22     an electronic platform for people to trade and its customers

  23     trade.

  24               And UAC does not claim that they are a customer, or

  25     that some special duty was owed to them, or that Kraken even

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   1     knows who United American is or ever knew who they were.                          The

   2     only two allegations are that they gave the BCH ticker to the

   3     ABC chain and they told their own customers that SV was risky

   4     or high-risk.

   5               All digital currency is high risk.                         There's no

   6     allegation there that they had a duty not to tell their

   7     customers what they thought about things or that they -- or

   8     that people who had signed up to trade on their exchange should

   9     have information kept from them that might be important to them

  10     in making their decisions.           They don't claim how either one of

  11     these two allegations hurt them in either way.                         They literally

  12     say nothing other than those two things, no explanation

  13     afterwards; how it hurt them, how it caused them to lose money,

  14     what they should have done differently, whether they had an

  15     obligation to something differently, literally nothing.                           All

  16     they say are those two things.

  17               So with respect to Sherman Act, they also don't plead

  18     that it would make any economic sense, even if Kraken could

  19     join this alleged conspiracy to stuff the ballot box, why they

  20     would.   Exchanges make money from transactions, exchanges

  21     compete with each other to list -- whether it be equities or

  22     futures or in this case digital currency, to list those items

  23     so that they can have more transactions in them.                         The way that

  24     an exchange makes money is through volume and the amount of the

  25     transactions.    They make a percentage.                     So the more things they

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   1     can list, the better for them.               It makes no economic sense

   2     under the Sherman Act for an exchange to be involved in trying

   3     to reduce the amount of competition or reduce the amount of

   4     digital currencies listed.           Their profit depends on more, not

   5     less.

   6               I was prepared to talk about the allegations as they

   7     went to negligent misrepresentation and negligence, but I think

   8     you said you wanted to come back to that later.

   9               THE COURT:    Let's wrap up the Sherman Act.

  10               MR. LOURIE:    And so I've covered I think the two most

  11     important points with respect to the Sherman Act, which is the

  12     relevant market.     We are not alleged to be miners, software

  13     developers, or have anything whatsoever to do with the

  14     blockchain.

  15               THE COURT:    Well, you're a participant in the market

  16     by being an exchange, right?             You have a role in the market.

  17               MR. LOURIE:    I think that's like -- I think that's

  18     like -- we have a role in the market.                      I would agree with that.

  19     But I think, again, it's like saying that the New York Stock

  20     Exchange, because it lists Exxon, is in the energy business.

  21     It just isn't.

  22               So here, yes, because we are an exchange and we list

  23     digital currencies, we have a role in the marketplace.                     But we

  24     are not alleged to have -- to be able to vote, to have

  25     influence on voting, to create checkpoints, to do anything with

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   1     software -- checkpoints are installed allegedly in the

   2     software -- to be involved in the development of software.                     But

   3     rather just to recognize -- what they accuse us of is

   4     recognizing the winner of the vote and therefore listing the

   5     currency and giving it a ticker.                 That's our job, is to list

   6     currencies.    And it was the winner of the vote.                    That much is

   7     not in dispute.

   8               They don't connect them to this conspiracy in any way

   9     to say that -- they don't even say there was a conversation in

  10     which Kraken or Powell spoke to somebody and said:                     "Hey, if

  11     you guys stuff the ballot box and, you know, take this -- you

  12     know, take this chain, we'll give it the ticker."                     Even if they

  13     had done that, it wouldn't violate anything.

  14               THE COURT:    Is there some added value for the ticker

  15     to stay with ABC?

  16               MR. LOURIE:    I think one could argue that there's an

  17     intangible value to the recognition.                     But again, that would --

  18     even that would be, I think, a stretched argument.                     A

  19     sophisticated investor in anything really knows what they're

  20     investing in.    So if the ticker changes, the investor knows.

  21               I mean, I think that -- again, if we just use my

  22     example -- if you were interested in investing in Exxon, and

  23     Exxon had split into two different companies, as a

  24     sophisticated investor, you would know which one you wanted to

  25     invest in, whether it was the refinery part or the oil

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   1     exploration part.

   2               THE COURT:    Right.

   3               MR. LOURIE:    You would find out which ticker was

   4     which, and you would go with that ticker.

   5               But there can be, I think, an argument made that the

   6     original ticker was a little better known because it had

   7     existed a little longer.         But it's not an argument, I think,

   8     that would have any really legal power or be able to -- you

   9     would be able to calculate damages off it in any way.

  10               THE COURT:    You were saying to me, I thought,

  11     something like that Kraken and exchanges like Kraken benefit

  12     profit from trading more currencies.                     Right?

  13               MR. LOURIE:    Right.

  14               THE COURT:    So to the allegation in Paragraph 76 that

  15     Kraken indicated to users that SV chain was a high-risk

  16     environment, that would seem to be discouraging trading.                     It's

  17     an allegation.    Whether it's true or not, I don't know.                    But

  18     assuming that to be true, that would discourage trading in

  19     Bitcoin SV and presumably reduce, you know, the trading and any

  20     fees to the exchange.

  21               If that's so, wouldn't that be against Kraken's own

  22     economic interest in making that statement?

  23               MR. LOURIE:    Well, it could be in that vacuum.                   The

  24     problem with that hypothetical is that Kraken also has a duty

  25     to provide relevant information to its customers.                    If it

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   1     doesn't do that, it won't have any customers.

   2               So if it's trading --

   3               THE COURT:    You're just saying it has kind of a

   4     fiduciary duty or just a -- what kind of duty does it have?

   5               MR. LOURIE:    A duty of disclosure of relevant

   6     material.    Or even if it didn't have a legal duty, certainly

   7     from a business perspective, if you want people to be attracted

   8     to your exchange, you don't want the people who trade on your

   9     exchange to have sorts of surprises where SV, for example --

  10     any time there's a fork, you have the potential for

  11     instability.    So if any exchange tells its customers:              "Look,

  12     there's been a fork.     There could be instability or there could

  13     be higher risk," which there almost always is, they're making

  14     at the very least a smart business decision.

  15               If you want to keep customers --

  16               THE COURT:    The risk that the value of the currency

  17     may fall?

  18               MR. LOURIE:    A risk that the value of the currency may

  19     fall, a risk that it could be delisted and become less liquid.

  20     Liquidity in every area -- you know, in every exchange, futures

  21     exchanges, stock exchanges, liquidity is a huge thing.

  22               If somebody buys something, and then they're not able

  23     to sell it, no matter what its value is, it's not worth much if

  24     they actually can't sell it.

  25               So liquidity -- liquidity, and the dangers that come

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   1     with liquidity, and instability as a phrase that's used in the

   2     digital currency sector, is important.                       And if you are -- if

   3     you are not giving relevant information to your customers,

   4     number one, you could be sued for withholding it.                        But number

   5     two, it's bad business.        And this is a burgeoning industry,

   6     where there are a number of different exchanges and they're all

   7     competing for essentially the same customers; people who are

   8     interested in investing in digital currency, trading digital

   9     currency.    If one of them is deemed to be withholding important

  10     information, that could be the end of the business.                        Reputation

  11     is everything.

  12               THE COURT:    I thought you said earlier that all these

  13     currencies are high risk.          What do you mean by that?

  14               MR. LOURIE:    If you were to tell me that you were

  15     interested in doing futures trading, I would tell you all

  16     futures trading is high risk.              It's highly leveraged.            It's

  17     risky.   Some worse than others.

  18               Digital currency, if you just look merely at the

  19     swings in values over the last few years in Bitcoin and then

  20     some of these other newer digital currencies, you could

  21     virtually take judicial notice of the fact that it's risky.

  22               Coca-Cola, you know, stays within a bandwith and it's

  23     one of the least risky types of investments.                         Facebook is

  24     completely different and various start-up technology stocks

  25     even yet so.    So there's risk in literally everything,

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   1     including having money in the bank, because the bank can go out

   2     of business, but different levels of risk.                            But certainly

   3     digital currency is at the higher level.

   4                THE COURT:    Okay.        All right.

   5                Thank you.

   6                MR. LOURIE:    Thank you.

   7                THE COURT:    Okay.        So does that cover the Defense

   8     arguments on the Sherman Antitrust Act?

   9                MR. PACE:    Your Honor, may I say -- can I do it from

  10     here.   This is --

  11                THE COURT:    This is Mr. Pace.

  12                MR. PACE:    Yes.      Chris Pace, just for Bitmain.                    And I

  13     want to be very brief.

  14                This really applies to everything, but I just want to

  15     make the one point of as we've talked about the complexities

  16     here of what would need to be pled and the challenges of

  17     identifying markets, et cetera, it goes also to a point that we

  18     make of they've conflated defendants.                       That's particularly a

  19     dangerous form of cheating in the context.                            Right?   Where when

  20     you have to specify -- when the Supreme Court has said you have

  21     to demonstrate the plausibility of a conspiracy existing, the

  22     fact that you conflate, for example, on my clients --

  23                THE COURT:    I have to tell you, Mr. Pace, I'm with you

  24     on this.

  25                MR. PACE:    Then I'll stop.

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   1               THE COURT:    Bitmain is several different entities, and

   2     I can't tell from the complaint what the allegations are for,

   3     you know, conduct on the various BitMains.                           I mean, I think

   4     there's one -- there might be one allegation that's particular

   5     to one, if I'm remembering it right.                     But this is definitely

   6     something Plaintiff has to address.

   7               MR. PACE:    Your Honor, I think even that one is

   8     generic, but I know the one you're talking about operating the

   9     pools.   But -- then I'll sit down.

  10               Thank you, Your Honor.

  11               THE COURT:    Yeah.

  12               Okay.   Let's take a 10-minute break and then I'll hear

  13     from Plaintiff's counsel.

  14         (Recess from 11:42 a.m. to 11:54 a.m.)

  15               MR. MILLER:    All right.              Sorry about that brief

  16     interruption with the water, Your Honor.

  17               Brian Miller from Akerman, once again, on behalf of

  18     the Plaintiff, United American.

  19               I want to start -- because I kind of appreciate

  20     Mr. Simmons' analogy that he raised at the beginning of this,

  21     after he was spending some time perusing books in the bookstore

  22     this weekend about the pioneers traveling.                           I think it is kind

  23     of an apt analogy for the Court to consider what's going on

  24     here.    And it's like a Wild West.                I think the Defendants are

  25     sort of a Wild West environment in what they've been doing with

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   1     Bitcoin.    So I think it's appropriate.

   2                And I agree with Mr. Simmons' analogy or story.

   3     You've got the hundred pioneers -- or let's call them the

   4     miners -- traveling across the country and trying to decide

   5     where to go to get to the gold mine or the Pacific Ocean,

   6     whatever it is they're trying to reach at the end of it.                            And

   7     along the way they have to make various decisions about which

   8     way to go, where to camp for the night, what to eat, and

   9     they're all getting along in making those decisions.

  10     Occasionally, a few of them will go out and go hunt buffalo for

  11     awhile and then come back a few days later.                          So they leave and

  12     rejoin the group.

  13                And then these hundred people reach this mountain

  14     standing in their way.       And per Mr. Simmons' analogy, you've

  15     got one group, the ABC people, who want to plow right through

  16     the mountain, saying it's the most direct route.                         And you've

  17     got another portion of the hundred miners, the SV people, who

  18     want to go around the mountain.

  19                Well, that's where I think the analogy kind of departs

  20     from the story that Mr. Simmons was saying.                          Because what

  21     happened in this case is once those hundred miners reached that

  22     mountain, the ABC people suddenly brought in a thousand Chinese

  23     laborers from the railroad to help them plow through and

  24     dynamite through the mountain and go there straight, while the

  25     SV people try to go around --

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   1               THE COURT:    If there's no law against that, what's

   2     wrong with it?

   3               MR. MILLER:    Well, the conspiracy and the

   4     anticompetitive nature of it comes at the end once the other

   5     miners go around the edge of the mountain and they find the

   6     three software engineers there who have put up a roadblock, a

   7     checkpoint.    To them that tells them their route can no longer

   8     be followed and the only route was the ABC people going through

   9     the mountaintop.     Those hundred people, who are all the Bitcoin

  10     Cash, the BCH -- that's the one thing going through -- after

  11     they go through the mountain, the competition is reduced

  12     because now the Bitcoin Cash is just the ABC people at the

  13     other end of the mountain because they have put up the

  14     roadblock and checkpoint to prevent the SV people from

  15     continuing their path of the Bitcoin.

  16               It's not that there were two different versions of

  17     Bitcoin competing with each other.                    What we're talking about

  18     here, Your Honor, in this market, is the Bitcoin Cash.                       That's

  19     what it was going from the beginning of time.                        And then after

  20     this fork, as they call it, the Bitcoin Cash became ABC.                         It's

  21     not that ABC and SV were created as two new things.                       It's

  22     rather that the Bitcoin Cash changed its name to ABC and

  23     prevented the SV people from participating in that market by

  24     virtue of the collusion between the miners who wanted to pursue

  25     the ABC, who is Mr. Ver and his people; the Chinese laborers

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   1     who came in and added their power, who were never part of this

   2     effort to begin with, to force their way; and then the coup de

   3     grace, the checkpoint imposed by the developers at the end of

   4     it to prevent the SV people from continuing to compete.                      That's

   5     what the case is about.

   6                THE COURT:    Okay.       So you're saying there's two forms

   7     of unfair competition; bringing in the Chinese laborers, in

   8     your analogy, and then setting up the roadblock.

   9                MR. MILLER:   Yes, Your Honor.                    Those are the two --

  10     correct.

  11                THE COURT:    Right.

  12                Okay.   Why couldn't you, the Plaintiff, when knowing

  13     that this hard fork was coming up, and being wise investors and

  14     businesspeople, said:      "You know what?                   I really want to invest

  15     in" -- you pick it, SV or ABC -- "I'm going to go buy a bunch

  16     of servers, or rent a bunch of servers, and I'm going to vote

  17     hard for the one I want"?          What's wrong about that?

  18                MR. MILLER:   That would have been anticompetitive and

  19     that would violate the protocol in the Whitepaper we've talked

  20     about from Mr. Nakamoto, the person who created the Bitcoin

  21     software in the first place.

  22                THE COURT:    Okay.       Let's break down your two answers.

  23     It's going to violate the Whitepaper.                      I thought the Whitepaper

  24     said miners could come in and out.                    I didn't see in the

  25     Whitepaper, as best as I could wrap my mind around it, some

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   1     prohibition on new groups of miners coming in.

   2               MR. MILLER:    The Whitepaper says, and the language

   3     that's at issue here -- is that people -- nodes can leave and

   4     reenter the system.

   5               THE COURT:    Right.

   6               MR. MILLER:    If they're leaving the system, it implied

   7     they were there in the first place.                    So by the idea of the

   8     Whitepaper, it's not envisioning that you're going to suddenly

   9     bring in massive amounts of computing power from another place

  10     to try to dominate the discussion and the upgrade that's taking

  11     place in the software.

  12               If I could, Your Honor --

  13               THE COURT:    Can I -- before I lose this.

  14               MR. MILLER:    Sure.

  15               THE COURT:    Okay.        So now that I have been so

  16     well-educated by all of you on Bitcoin cryptocurrency, couldn't

  17     I, when I retire in a few years, go and get my CPUs and start

  18     mining Bitcoin Cash ABC or SV or some other cryptocurrency?

  19     Couldn't I, a brand-new kid on the block, come in and say:                     "I

  20     want in on this"?

  21               MR. MILLER:    Yes, Your Honor, you could.                 But you

  22     wouldn't be more than 51 percent or controlling that market or

  23     dominating the market instantly --

  24               THE COURT:    Well, what if I win the lottery?

  25               MR. MILLER:      -- which is what they did here.

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   1               THE COURT:    Why not?           What if I win the lottery and I

   2     can do that?    I'm so sure of myself, and I can have that level

   3     of mining power, that I just dive in, and I have more than 51

   4     percent of the mining power.             Doesn't the Whitepaper say I can

   5     have in on this too if I want?

   6               MR. MILLER:    In that scenario, Your Honor would jump

   7     in with your 51 percent, and you would propose some software

   8     changes that everyone would vote on.                     You would control the

   9     vote because you have more than 51 percent.                          But then if Your

  10     Honor didn't implement the checkpoint, which is the final part

  11     of this that allowed that new system to be locked down and

  12     prevent the other people from coming in, I would agree with

  13     Your Honor's analogy.      Then competition would just continue and

  14     you would be somebody who was a dormant market player, but the

  15     other people would still be allowed to participate.

  16               THE COURT:    Okay.        So we're breaking down two

  17     different things, the miners and the checkpoint.                         We're still

  18     on the miners.    And you said the problem with your analogy, the

  19     rented laborers, was that it would violate the Whitepaper and

  20     it would be anticompetitive, right?

  21               So now this begs the question how the Court should

  22     enforce this Whitepaper.         But how does it violate the

  23     Whitepaper?    How does it do that?

  24               MR. MILLER:    The Whitepaper, Your Honor, if I could

  25     kind of back up, and I'll take my stab at explaining the

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   1     technology, not being a Bitcoin expert by any stretch of the

   2     imagination or even overly technological by nature.

   3               The Whitepaper was created and written by this person

   4     who called himself, or herself, Satoshi Nakamoto.                        There's a

   5     lot of debate about who that person is, whether it's one

   6     person, et cetera.     That doesn't matter.                      Whoever it was that

   7     created this idea in the first place created the idea and set

   8     up the software to have Bitcoin, a cryptocurrency.                        The idea

   9     being it's not going to be controlled by the bank, but it's

  10     going to be secure because it's in a decentralized fashion,

  11     where Lorayne Perez has access to it and can verify that the

  12     code is correct before she accepts a Bitcoin.                        Ian Simmons has

  13     the same access to the code and can verify that the code is

  14     correct before he accepts a Bitcoin as value.                        That was the

  15     idea that was created by the founder of the Bitcoin.

  16               And Your Honor was asking before where the upgrades,

  17     et cetera, came from.      That all came from the original

  18     formation of this Bitcoin code and idea.                         It's what we call

  19     "open-source software."        Your Honor may be familiar with that

  20     term.   That is, instead of a company, like Microsoft,

  21     developing the software and licensing it to you, and you

  22     download it from the Internet or you download the app, and they

  23     have full control over the software, open-source software is

  24     that someone like this Nakamoto person, or persons, creates the

  25     software, puts the code out there for everyone to look at and

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   1     to improve over time.

   2               And that's where the six-month software upgrades came

   3     into existence, Your Honor.            That was designed --

   4               THE COURT:    So -- and the everyone improving it are

   5     miners mining it, using it?

   6               MR. MILLER:    Correct.            The miners mining it have the

   7     ability to improve the software.                 They --

   8               THE COURT:    Not the exchange, not the developer.             The

   9     miners.

  10               MR. MILLER:    Well, the developers are the people who

  11     code in the software.      So I guess as a technical matter it

  12     would be a developer who actually can make the change to the

  13     software.    The miners could have a developer that proposes that

  14     there could be other developers that proposed the ideas.                 It's

  15     all open source.     So it's available for people to provide their

  16     input into what the software should look like and how to

  17     improve it.

  18               THE COURT:    Who has the control to be able to go in

  19     and modify the software?

  20               MR. MILLER:    That's where the vote, if you will, comes

  21     in place.    Everyone -- and as we alleged in Paragraph 41 of the

  22     complaint, which Your Honor pointed out, prior to November

  23     2018, there were various software implementations that were all

  24     getting along with each other.               There's a key sentence in

  25     Paragraph 41 that Defense counsel didn't mention, which was all

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   1     of these software implementations were compatible with each

   2     other and were all responding to the same rule set.

   3                So before November, you had these different software

   4     ideas out there and the upgrade is taking place.                         At which

   5     point, people -- the software boom becomes open for the code to

   6     be revised, the master software, if you will, is my

   7     understanding.    The code is open for revision on November 15th

   8     of 2018.    All of these various people have their ideas for the

   9     improvements they think --

  10                THE COURT:    They're all miners?                      These are the various

  11     people who have their ideas?

  12                MR. MILLER:    Miners and developers working with miners

  13     have their ideas about how the software can be improved in

  14     various respects.     They put those ideas out there.                      And the

  15     idea, and what had always happened before, was that everyone

  16     votes with their computing power among that group in that

  17     marketplace of Bitcoin Cash to decide:                        "Yes.   I like

  18     Ms. Perez's software improvement idea.                        She has a better idea."

  19                THE COURT:    They vote by implementing that software

  20     and using it.

  21                MR. MILLER:    Correct.            Correct.

  22                So that's -- and I think Your Honor was asking during

  23     the Defense presentation about where the upgrade came in, and

  24     who put it in place, and that whole idea in the first place.

  25     So I wanted to answer that for Your Honor.

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   1               THE COURT:    Okay.

   2               MR. MILLER:    So if we could sort of talk about the

   3     Sherman Act law that we have been addressing.

   4               THE COURT:    The Whitepaper, though, does it set some

   5     limit on the number of nodes that can mine Bitcoin?

   6               MR. MILLER:    I am actually not sure about that

   7     question, Your Honor.      I don't know.

   8               THE COURT:    Because I'm still trying to understand the

   9     concept of, one, why it violates accepted norms for rented

  10     servers or miners to come in and -- at a point of voting.                     Your

  11     position is that there was kind of like a gentleman's agreement

  12     almost -- may be a better word for it -- that this couldn't

  13     happen, this derives from the Whitepaper.

  14               MR. MILLER:    That's the way the market was operating.

  15     That's the competition in the market prior to November 15th,

  16     2018.   That's where it comes from, kind of the competitive

  17     rules in that marketplace for the Bitcoin Cash.                      That's how

  18     people were operating.       Call it a gentleman's agreement.                Call

  19     it what you will.

  20               THE COURT:    And why is it inherently anticompetitive?

  21     I think you were saying that, right?                     I realize it was a lot, a

  22     lot of servers, right, that came in.                     And they were dominant in

  23     this voting.    I understand that.               But we're in the world of the

  24     Sherman Antitrust Act.       Why is that necessarily

  25     anticompetitive?

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   1               MR. MILLER:    The entire conduct was anticompetitive.

   2     That portion of it, the rented servers and power coming from

   3     Bitmain in China, was one aspect of the anticompetitive nature

   4     because the Bitcoin computers in China were previously mining

   5     something completely different.                They were in a completely

   6     different market.     They weren't in Bitcoin Cash to begin with.

   7               As we allege in the complaint, Roger Ver and

   8     Bitcoin.com conspired with Bitmain, the Chinese, to add their

   9     servers to support his version of the software upgrade, the

  10     ABC, in conjunction with the developers, then locking it down

  11     with a checkpoint, and the exchange immediately saying:

  12     "That's the one that's going to take place."

  13               THE COURT:    I think I might have just had a bit of an

  14     ah-ha moment.

  15               Your theory of a conspiracy to violate the act is

  16     dependent upon both the renting -- the renting servers coming

  17     in and, as you call, the poison pill.                      The rented servers alone

  18     wouldn't be a basis for your claim.                    And this checkpoint,

  19     poison pill, alone wouldn't be enough.                       But your theory is that

  20     because all these different actors were acting together,

  21     colluding, that together these acts amounted to an agreement to

  22     do an unlawful purpose.

  23               MR. MILLER:    That is exactly what our allegations are

  24     and our theories.

  25               Now, just to be clear, I wouldn't concede necessarily

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   1     that one element alone may or may not be enough to violate the

   2     Sherman Act.    That's not our case.                  So we don't need to worry

   3     about that or decide that today.                 Our case, our complaint, is

   4     the combination of all of these acts together.

   5               THE COURT:    Okay.

   6               MR. MILLER:    So then, under the antitrust laws, Your

   7     Honor, we have to plead a plausible theory of this agreement in

   8     restraint of trade.     That's what the Supreme Court said in

   9     Twombly and that's what we have to do.

  10               THE COURT:    But more than a theory, you need facts

  11     that support that each Defendant entered into the agreement.

  12     Right?

  13               What about this Bitmain term being used for four

  14     different entities -- three entities?                      How do I even sort

  15     out ...

  16               MR. MILLER:    Your Honor, I don't want to bleed too

  17     much into the personal jurisdiction issues.                          But I think the

  18     affidavits that were filed by the different Bitmain entities

  19     don't really establish separateness of them.                         They meld this

  20     all together as one giant Bitmain business.                          So I think the

  21     allegations of all of these different companies acting as one

  22     unit, rather than separate corporate entities, is enough in

  23     this particular case.

  24               We also don't know, because we don't have access yet

  25     to their internal documents, of whether it's Bitmain in China,

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   1     Bitmain Hong Kong, Bitmain in California, which one of these

   2     people actually spoke with Mr. Ver to do this.                        We've alleged

   3     that it was Jihan Wu, the CEO, who was behind this.                        And he's

   4     in charge of all of these different entities.

   5               Now, could we plead more specifically the different

   6     entities with the benefit of additional information we've

   7     gotten from the affidavits that they have produced now and

   8     other information?     We could.           But I think that what we have in

   9     here is sufficient with respect to Bitmain.

  10               Now, with respect to your broader question about

  11     pleading facts, yes, we have to plead facts to create a

  12     plausible -- a plausible agreement among these people to act in

  13     concert rather than in parallel fashion.                         And we have pled

  14     those facts, Your Honor.         We have pled that Bitcoin.com, who is

  15     run by Mr. Ver, worked with Bitmain to bring in the rented

  16     server power.    I think that Mr. Ver's tweet that we have in the

  17     complaint confirms that, that he sent, interestingly, at 9:30

  18     in the morning on the very day of the upgrade --

  19               THE COURT:    If Bitcoin.com is dismissed, as I've

  20     recommended, for lack of service, where does that leave you?

  21               MR. MILLER:    That still leaves us with Mr. Ver, who is

  22     running it.

  23               THE COURT:    So Mr. Ver ...

  24               MR. MILLER:    And Mr. Ver also, we believe, trades

  25     Bitcoin for his own use too.             It's not all just Bitcoin.com.

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   1     It's not like that's a corporate entity that he just happens to

   2     be running as a normal corporate governance matter, as the

   3     board of directors or CEO of the company.                            That's not what that

   4     is.   We've pled in the complaint that Mr. Ver is essentially a

   5     fugitive from justice who renounced his US citizenship and is

   6     running this Bitcoin operation for himself in Japan or at

   7     various times in the Caribbean Islands.

   8               So we've alleged enough against Mr. Ver, even though

   9     we haven't been able to serve Bitcoin.com.

  10               THE COURT:    Okay.

  11               MR. MILLER:    So if I could kind of return to the

  12     agreement and what it is we have to allege in a plausible

  13     nature.   We don't have to allege that it's probable.                          We have

  14     to allege that it's plausible.               The arguments raised by the

  15     Defendants here are that this was parallel action, because

  16     that's what the case law discusses.                    And I agree that is what

  17     the cases say.    They distinguish between parallel action, like

  18     in the Quality Auto case, compared to concerted action, like in

  19     the Delta-AirTran case, that were cited in the papers.

  20               And if I could, Your Honor, let me quote from the Duty

  21     Free Americas case from 2013 that we've cited.                           And that --

  22     there's two quotes in there.             First, on Page 1329, the Court

  23     said:   "The crucial question is whether the challenged

  24     anticompetitive conduct stems from independent decision or from

  25     an agreement, tacit or express."

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   1               And then the Court said, in that particular case --

   2     this was -- Duty Free Americas was claiming that Estee Lauder

   3     had engaged in anticompetitive action by sending out a one-page

   4     letter about the contract coming up for the duty-free shops at

   5     the Newark airport.     That's what that case was about.                        And the

   6     Court dismissed those allegations because they found that Duty

   7     Free Americas could not state an antitrust claim by merely

   8     showing parallel conduct and from a divine that an agreement

   9     must be the source from which the parallel conduct arose.                           More

  10     is required.    The Court said:            "Such allegations must be placed

  11     in a context that raises a suggestion of a preceding

  12     agreement."    So that is what we have alleged here, a suggestion

  13     of a preceding agreement.

  14               The China -- the servers in China are not in their

  15     market.   They are not in the Bitcoin Cash.                          Suddenly, on the

  16     day of the upgrade, November 15th, they come into that market

  17     in collusion with Mr. Ver and Bitcoin.com.                           That's obviously

  18     the result of prior action.            These were not simultaneous market

  19     participants in the same market doing something --

  20               THE COURT:    Why is that obvious?                         Why is that obvious?

  21               MR. MILLER:    Because the Chinese servers were not

  22     mining Bitcoin Cash previously.                So they don't suddenly come

  23     in --

  24               THE COURT:    But could they?                  Well, say they saw a

  25     great opportunity.     Couldn't they?

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   1               MR. MILLER:    They wouldn't know about the great

   2     opportunity until it happens.              The fact that all this happened

   3     so quickly, Your Honor, is a key factor in why we have stated a

   4     plausible theory of an agreement.                  Because these things don't

   5     just happen coincidently --

   6               THE COURT:    Well, don't people in this world of

   7     cryptocurrency talk to each other a lot about different

   8     currencies that are being mined and where the opportunities are

   9     and et cetera?

  10               MR. MILLER:    They may do that.                     I don't know.   What

  11     we've alleged in the complaint was that Ver and Bitcoin.com

  12     worked with Bitmain in advance to rent that hashing power or

  13     rent those servers, and we demonstrated in the complaint how

  14     that was an unusual action.            That is not just an allegation of

  15     parallel conduct, but that is a context that raises a

  16     suggestion of a preceding agreement.

  17               THE COURT:    But that's a conclusion.                     Where are the

  18     facts that support the plausibility that that's true?

  19               MR. MILLER:    As I mentioned, we alleged in the

  20     complaint that the Chinese servers were not in Bitcoin Cash to

  21     begin with.    They came in from outside of that marketplace into

  22     this marketplace in order to do it.

  23               THE COURT:    I'm sorry.             I have a fact question here.

  24               MR. MILLER:    Yes?

  25               THE COURT:    They are not in the business of marketing

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   1     Bitcoin Cash, but couldn't they?                 I mean, is there anything --

   2     this kind of goes back to a question I have -- and I'm sorry to

   3     digress a bit.    But your block dome that you -- your company

   4     created and invested in, these are -- these domes in Canada,

   5     right, with lots of servers in them, that are mining Bitcoin --

   6     and you know, there's the cool technology about the heat

   7     powering a greenhouse to make that efficient, economically

   8     efficient -- couldn't -- is there something unique about your

   9     servers that makes -- it's software on your servers that is

  10     used to mine Bitcoin Cash, right?                  Why can't some computers in

  11     China use that software and do the same thing?

  12               MR. MILLER:    Well, they do because the servers all

  13     come from Bitmain in China.            They're the ones that created the

  14     software for these mining servers that are being used by

  15     everybody.

  16               So the Bitcoin -- I'm sorry -- Bitmain in China has

  17     the dominant share control over the market for the actual

  18     servers and the chips that are used in these servers to do the

  19     mining activity.     That's their involvement in this as well.

  20     They're really a -- they should be -- and but for the conduct

  21     we've alleged here, they would be -- just a supplier of the

  22     hardware to people in this industry.                     They have no business

  23     then renting out their servers to be used in conjunction with

  24     the other participants in the conspiracy.

  25               THE COURT:    So wait.           Bitmain Technologies, Limited,

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   1     right, is the company that Mr. Wu founded that's in the

   2     business of manufacturing these servers, right, that were used

   3     to mine Bitcoin?

   4                MR. MILLER:    Correct, Your Honor.

   5                And they sell those servers to people all over the

   6     world, including to our clients, to -- our client, rather, to

   7     mine Bitcoin.

   8                THE COURT:    So Mr. Wu or -- we have a couple Bitmain

   9     entities here.    We have this San Jose, California entity, which

  10     I'm not clear what their job is, other than they're in the US.

  11                MR. MILLER:    I think that's their only role.

  12                THE COURT:    We have the holding company that -- I've

  13     seen the declaration -- is simply a holding company, not

  14     engaged in business.      I'll assume that's true for the purpose

  15     of our discussion.

  16                So Bitmain Technologies manufactures these computers,

  17     these servers, and sells them?                It doesn't mine?        Bitmain

  18     Technologies doesn't also choose to use some of its computers

  19     to mine?

  20                MR. MILLER:    They do also choose to use some of their

  21     servers to mine.     That is I'm pretty sure what we have alleged

  22     in the claimant.     But their primary business is selling the

  23     service to other people to mine.

  24                THE COURT:    So are you saying that the servers that

  25     were kind of the showroom, so to speak, that weren't being used

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   1     for mining at the time, are these 90 -- I think -- was it

   2     90,000 servers that were rented and came in?                          They weren't --

   3     they were waiting to be sold to customers.                           They weren't being

   4     used for mining?

   5               MR. MILLER:    They were not being used for mining

   6     Bitcoin Cash.    That's correct.

   7               THE COURT:    Could they be used to mine some other --

   8               MR. MILLER:    I am not sure, Your Honor, as I stand

   9     here right now.    But they absolutely were not, as we have

  10     alleged in the complaint, being used to mine the Bitcoin Cash

  11     we're talking about here.

  12               So getting back to the agreement and the plausible

  13     facts that we have alleged.            We've alleged based on the prior

  14     course of conduct, and the fact that you have an immediate

  15     increase in this rented hashing power working with Ver on

  16     November 15th, 2018, that's not consistent -- at the

  17     plausibility stage, that's not consistent with the idea that

  18     they just happened to be randomly acting in parallel fashion.

  19               It's also inconsistent with the notion of parallel

  20     conduct to suggest that the software developers just happened

  21     to put together the checkpoint that would be immediately

  22     imposed on that same day in order to lock down this new version

  23     of the Bitcoin Cash.

  24               This is complicated software and complicated

  25     technology we're talking about, Your Honor.                          It's not plausible

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   1     that these developers suddenly got the idea, in the morning of

   2     November 15th, to come with a checkpoint that does nothing for

   3     them, but helps the Bitcoin Cash ABC people -- that they

   4     suddenly came up with this idea and developed the software

   5     instantaneously.     No.     They were working on that and had to

   6     have been working on it in advance.                      That's also a plausible

   7     fact we have alleged to support the conspiracy.

   8               And then the final plausible fact -- well, there's two

   9     more.   First, there is the fact that that same day, or the very

  10     next day, Kraken comes out and lends its weight behind the ABC

  11     version, which was run by its high school -- its founder's high

  12     school friend, Mr. Ver, and then badmouths the SV version.                        And

  13     I think, as Your Honor pointed out during questioning of

  14     Defense counsel, that would be inconsistent with their idea

  15     that they're just some independent exchange who is agnostic and

  16     wants more and more trading activity.                        So that is a fact that

  17     supports a plausible theory of an agreement among these parties

  18     to restrain trade.

  19               And the final fact that we're alleged, Your Honor, is

  20     the video, and we provided a link.                      I'm sure the Court has

  21     watched the YouTube video from the programmer who said, quote:

  22     This has been planned for a long time.                         That is not parallel

  23     conduct, Your Honor.       That is, quote, a context that raises a

  24     suggestion of a preceding agreement, because the developer

  25     admitted that they had been working on it.

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   1               THE COURT:    But this person on the video, though,

   2     exactly who is he?     He wasn't speaking for Kraken, right?                   He

   3     didn't work for Kraken at that point?

   4               MR. MILLER:    We allege that he did work for Kraken at

   5     that point, Your Honor.        That's our allegation in the

   6     complaint.

   7               THE COURT:    Oh.

   8               MR. MILLER:    I understand the Defense, in their

   9     motion, claimed otherwise.           But we're dealing with the four

  10     corners of our complaint here.

  11               THE COURT:    Right.         Okay.

  12               MR. MILLER:    So yes.           We allege that he worked with

  13     Kraken.

  14               And then we also laid out as Page 5 of our -- well, I

  15     think it was in difference places.                    Right now, I'm looking at

  16     our response in opposition to Mr. Ver's motion to dismiss.

  17     Docket Entry 103, at Page 5, we quoted what this engineer said.

  18     And his quote is very telling, so I just want to read these

  19     five or six lines for the Court to remind the Court what he

  20     said.

  21               Quote:   This has been planned for so long.                    We knew we

  22     were going to win and we knew we were going to checkpoint.                        And

  23     we knew we are not going to do a deep re-orgs.                       So we have just

  24     been drinking beers all day because we knew we won.                      And he

  25     also said:    "Another step you do is you talk to all the

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   1     exchanges.    Then you have them apply a patch which adds a

   2     checkpoint that anchored to block mine by Bitcoin ABC, which

   3     prevents all future re-orgs."              And then he gave an audible

   4     whistle.    Proud of himself.          These are facts we've alleged.

   5                THE COURT:    All future re-orgs being a change in the

   6     rules.

   7                MR. MILLER:    Correct, Your Honor.                       That's what the

   8     checkpoint did.    The checkpoint stopped the ability for people

   9     to suggest or change the Bitcoin Cash, now ABC, going forward.

  10                THE COURT:    Which in your Paragraph 41 was the status

  11     quo before, that these various miners were using various

  12     software implementations.          And by doing that, they're able to

  13     propose -- that process proposes a potential rule change?

  14                MR. MILLER:    Yes, Your Honor.                   That's right.

  15                THE COURT:    Is -- and this is maybe a little left

  16     field, but oh well.      Does Plaintiff still mine Bitcoin ABC and

  17     Bitcoin SV post-fork?

  18                MR. MILLER:    I don't know.                I understand that the SV

  19     was at some point delisted and I haven't asked our client that

  20     question.    So I don't know the answer to that question.

  21                THE COURT:    Delisted from Kraken --

  22                MR. MILLER:    From Kraken.                Correct.

  23                THE COURT:    -- not necessarily delisted from all

  24     exchanges.    Am I right?

  25                MR. MILLER:    I don't know if it was on any other

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   1     exchanges.    But I would agree it didn't necessarily disappear.

   2               THE COURT:    Okay.        But after the fork, was your client

   3     foreclosed from mining ABC?

   4               MR. MILLER:    Our client was foreclosed from mining ABC

   5     in the fashion it was done before because of the checkpoint,

   6     which was only possible because of the rented hashing and all

   7     of the other conduct put together.                    That's what our client was

   8     foreclosed from doing going forward, which was the reduction in

   9     competition as a result of these actions.

  10               THE COURT:    But it could still mine ABC, right?

  11               MR. MILLER:    It could still mine ABC, but it couldn't

  12     mine it in the way that it was intended to be mined or the way

  13     that it was before, and it couldn't propose software changes to

  14     try to make improvements to it anymore.                        So the competition

  15     within that system for how this currency is going to operate

  16     going forward was reduced.

  17               Now, Your Honor, I've been talking for a while.                      I do

  18     want to just briefly address the market issue here.                       We --

  19     well, first let me back up.            We have argued in our papers, and

  20     I think our complaint does allege a per se violation in terms

  21     of bid rigging.    There's nothing in the law that requires our

  22     complaint to use magic terminology from the case law.                       What we

  23     are required to do is allege the facts that fit within the case

  24     law.   So we have alleged facts that support bid rigging.

  25               One additional per se violation that was --

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   1               THE COURT:    Bid rigging.               Bid rigging.      How is this

   2     bid rigging?

   3               MR. MILLER:    It was bid rigging by bringing in the

   4     rented hashing power to prevent the vote from taking place in

   5     an unaffected fashion.

   6               If you think about what bid rigging is, you have bids.

   7     People are submitting what they propose to do.                       And then, in a

   8     rigged system, it doesn't go to the best choice or the highest

   9     choice.   It goes to the people who have colluded together to

  10     make sure that their bid gets through.                       That's exactly what

  11     happened here with respect to the Bitcoin ABC.

  12               The Defendants, in one of the replies, also raised a

  13     group boycott issue.     We didn't allege that in the complaint,

  14     but I think we could allege as well that this action was a

  15     group boycott by the Defendants conspiring together to make the

  16     ABC dominant and boycott the SV people.

  17               We didn't allege that in our complaint, but we could

  18     allege that and that also would be a per se violation.                      I raise

  19     that because the Defendants mentioned it in one of their reply

  20     briefs, Your Honor.

  21               With respect to the market, if Your Honor gets to

  22     that, this is a currency.          The currency is Bitcoin Cash.              It's

  23     just like US dollars, British pounds, South African rand,

  24     Japanese yen, any currency.            Each currency is its own market.

  25     If you look at the yen, for example, traders trade in the yen.

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   1     That's the market for it.          Traders trade in the dollar.                People

   2     use dollars back and forth.            So the definition of a market

   3     within a currency is that particular currency.

   4               THE COURT:    So are you saying it's the Bitcoin market

   5     with its various iterations?

   6               MR. MILLER:    Bitcoin Cash market, Your Honor.

   7               THE COURT:    There are a number of Bitcoin Cash, which

   8     is now Bitcoin ABC?

   9               MR. MILLER:    No, Your Honor.                   There's only one.

  10     There's only one Bitcoin Cash, which is now the ABC version of

  11     it.

  12               There are other cryptocurrencies out there.                    That is

  13     true.   But each one stands on its own as its own market.                      They

  14     are not interchangeable.         You can't use a -- I don't know

  15     really know the names of some of these other ones.                     But let's

  16     call it a XYZ cryptocurrency.              You can't exchange that with

  17     somebody for Bitcoin Cash because they are not the same

  18     currency.

  19               THE COURT:    Why can't I?               Why can't I give somebody

  20     some of my Bitcoin and I get their Ethereum -- is that what

  21     it's called?

  22               MR. MILLER:    Ethereum is one of them.

  23               THE COURT:    Why isn't that interchangeable?                  I

  24     understand they're different -- why aren't these submarkets?

  25     Why isn't Bitcoin a submarket of cryptocurrency and why isn't

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   1     there some interchangeability in different cryptocurrencies?

   2     Don't people trade in different cryptocurrencies?

   3               MR. MILLER:    They trade within each because they all

   4     have their own separate software and blockchain technology, the

   5     whole technology that's been described here to verify that when

   6     you get a Bitcoin it is what it's supposed to be.                     They all

   7     trade within those, just like the dollars all trade within

   8     dollars, yen all trades within yen.                    You could exchange yen or

   9     dollars, but that doesn't mean that the market for yen is the

  10     same as the market or dollars.

  11               THE COURT:    Okay.

  12               MR. MILLER:    So unless Your Honor has any additional

  13     questions, I'll stop now.

  14               THE COURT:    Okay.        I might, but I'm not sure right

  15     now.

  16               MR. MILLER:    I'm not going anywhere.

  17               THE COURT:    Yeah.        Well, good.

  18               So the choice I have to make right now is whether we

  19     take a lunch break and maybe I coalesce my questions.                     I think

  20     I'm talking myself into this.              There can be some reply from the

  21     Defendants on the Plaintiff's argument, but I might -- why

  22     don't we do that.     Why don't we take a lunch break.                  And then

  23     we might start the lunch break with my having a few more

  24     questions for you, Mr. Miller.               And we would finish off any

  25     replies on the Sherman Antitrust Act.                      And the state law claims

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   1     I think can really be a brief discussion.                            And then there's

   2     personal jurisdiction.

   3               Is there any problem with that approach?

   4               MR. MILLER:    No, Your Honor.

   5               THE COURT:    I think we're in for the day here.

   6               Let me say something else to you, in terms of just

   7     planning ahead.    I have a bit of a vision about -- that I think

   8     I'm going to propose to all of you about how to go forward with

   9     both the 12(b)(6) and the 12(b)(2) issues.                           And so -- but it's

  10     probably best discussed at the end of the personal jurisdiction

  11     argument, which makes me want to retract my suggestion that

  12     some of you might want to run out the door, those of you who

  13     have argued 12(b)(6).      Because I think we need a collective

  14     discussion that I want you to think about both of these.

  15               I think you're going to have to replead your

  16     complaint.    I think there's a dismissal without prejudice, and

  17     reasons why I'm going to share.                And so kind of some choices

  18     about how that might go forward.                 And so -- so anyway -- so you

  19     can let that marinate a little bit and it might be good to have

  20     everybody here for the afternoon.                  Okay?

  21               MR. MILLER:    What time should we return, Your Honor?

  22               THE COURT:    Why don't we say -- because I think it's a

  23     little tough -- if you have an hour, I think it's a real race.

  24     So make it an hour and 15 minutes.                    I think that makes it

  25     doable.

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   1               How does that sound?             That's 1:45.              Okay?

   2               MR. MILLER:    Thank you, Your Honor.

   3               MR. SIMMONS:     Thank you, Your Honor.

   4         (Recess from 12:33 p.m. to 1:47 p.m.)

   5               THE COURT:    Just a couple questions.

   6               I'm restraining myself, no pun intended, from all the

   7     questions I can conjure up, because it would be -- it would

   8     take a super long time.

   9               Mr. Miller, the dome that Plaintiff created, is that

  10     simply the structure or the dome includes servers or CPUs that

  11     are inside of it?

  12               MR. MILLER:    The dome has the CPUs inside of it.

  13               THE COURT:    That's what I thought.

  14               MR. MILLER:    And it's connected with a greenhouse, as

  15     Your Honor mentioned, that they use the cool air from the

  16     ground in Canada.     The servers are hot as they're running

  17     trying to solve problems and they pump that to the greenhouse.

  18               THE COURT:    Okay.        I have that.                Thank you.

  19               And here, when we're talking about servers and CPUs,

  20     is that term being used interchangeably?

  21               MR. MILLER:    Yes, Your Honor.

  22               THE COURT:    The complaint says that the developer

  23     Defendants applied the patch, which is the checkpoint.                         And

  24     Mr. Brecken, in the video, said that the exchange applied a

  25     patch that prevented a deep reorganization.                          Is that the same

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   1     patch?

   2               MR. MILLER:    It's the same patch, Your Honor.                        I think

   3     that evidences the plausibility of your agreement arguments.

   4               THE COURT:    Okay.        Those are my questions.

   5               MR. MILLER:    Your Honor, could I make one correction

   6     which Ms. Perez, always trying to keep me honest, pointed out?

   7               THE COURT:    Yeah.

   8               MR. MILLER:    Your Honor had asked me at one point

   9     whether Bitmain, the Chinese company, were also in the Bitcoin

  10     Cash.    And I believe I misspoke.               We allege in Paragraph 53

  11     that they did have -- well, in Paragraph 53, as well as the pie

  12     charts in Paragraphs 67, before November 15th, and 68, after

  13     November 16th, it does refer to BTC.com and AntPool, which are

  14     owned by Bitmain, the China company.

  15               So I think I misspoke earlier.                       I don't want to leave

  16     the Court with any impression that I was trying to get anything

  17     wrong before Your Honor, and Ms. Perez corrected me at lunch.

  18               THE COURT:    So Bitmain Technologies, Limited -- and

  19     P.S., Yvette, our fabulous court reporter, told me that she

  20     considers you-all speaking a little fast.                            So you know --

  21               MR. MILLER:    I apologize.

  22               THE COURT:    -- you want to look good on your

  23     transcript.    So consider that.

  24               MR. MILLER:    We'll try to slow it down, Your Honor.                            I

  25     try to do that, but sometimes I fail.

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   1               THE COURT:    Yeah.        Well -- right -- well, and there

   2     are some terms here that have become pretty familiar to all of

   3     us, but are brand new to her.

   4               Bitmain Technologies, Limited, you're telling me, has

   5     also mined Bitcoin Cash.         That was the point you were just

   6     making?

   7               MR. MILLER:    Yes, Your Honor.                    I believe I said to the

   8     contrary earlier, and I wanted to correct that because I

   9     obviously don't want to say anything wrong before the Court.

  10               THE COURT:    Okay.        I guess I'm going to go for one

  11     more question.    The theory of the loss to you, you the

  12     Plaintiff, could you, in a sentence or two, briefly tell me

  13     what that is?

  14               MR. MILLER:    It is the diminution in value of the

  15     Bitcoin Cash, particularly the SV software implementation that

  16     our client was focused on, as a result of the Defendant's

  17     conduct to rig the market toward the ABC version of Bitcoin

  18     Cash.

  19               THE COURT:    Okay.        And because of the diminution in

  20     value, your block num. and your block dome aren't profitable

  21     now?    Is that the point?

  22               MR. MILLER:    They lost profitability.                     That's correct,

  23     Your Honor.

  24               THE COURT:    Okay.        Okay.         Okay.         That really is all my

  25     questions now.

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  1               MR. MILLER:    Thank you.

  2               THE COURT:    Why don't I just very briefly hear

  3     response argument to that.           But I'm thinking just a few minutes

  4     each.    So ...

  5               MR. MILLER:    Thank you, Your Honor.

  6               MR. SIMMONS:     Thank you, Your Honor.                    I don't know

  7     whether any of the Defendants -- but I will go very quickly

  8     and --

  9               THE COURT:    Well, you're not going to speak real fast.

 10     You're just going to be concise in the content.                       Okay?   And

 11     this is Mr. Simmons.

 12               MR. SIMMONS:     Mr. Simmons.

 13               Thank you.    So ordered, Your Honor.

 14               First of all, it's incredible when we hear what

 15     Mr. Miller said.    What he's asking the Court to write -- to say

 16     what the correct outcome in this marketplace should have been,

 17     this free vote, was basically a labor market division.

 18               Back to his metaphor with the pioneers, where, you

 19     know, you take a bridge too far.                 He's saying the Chinese

 20     laborers that were brought in to plow through the mountain

 21     shouldn't have been brought in at all.                       You know, from my

 22     world, Your Honor, that's competition.                       That's precisely why --

 23     a perfect illustration on why he's operating on a premise

 24     that's 180 degrees opposite from what the law requires.                       That's

 25     the first point.

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  1               The second point, Your Honor, there's a lot of

  2     confusion here, you know, on -- well, confusion -- I think

  3     there's an effort to confuse.              It's indisputable you now have

  4     two chains that were operating, not one.                         It's indisputable

  5     both those chains compete for mining and they compete as

  6     holders of value.    That's undisputable.                      It's also undisputable

  7     that this checkpoint on ABC, which was designed to prevent the

  8     undoing of the prior blocks, has nothing to do with SV.                        This

  9     Plaintiff has been locked out of nothing.

 10               What this Plaintiff is complaining about, you just

 11     asked him:    "In a sentence or two, can you summarize your

 12     injury?   What are you complaining about?"

 13               "The diminution in value of Bitcoin SV."

 14               The Brunswick case, the United States Supreme Court,

 15     they are complaining about that we now have two options rather

 16     than one.    That's the reason this complaint must be dismissed,

 17     Your Honor.

 18               Very quickly as well, the Delta-AirTran case and Duty

 19     Free.   Duty Free is a case that gets -- it grants a motion to

 20     dismiss for lack of Twombly allegations on a conspiracy.

 21     AirTran denies a motion to dismiss.                    AirTran, which is from

 22     Georgia, is one of the best examples of why the Court should be

 23     granting the motion, as the Court indicated it was inclined to

 24     do.   There are competitor communications, competitor meetings.

 25     There was competitor signaling out loud.                         So I say to Melissa:

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  1     "Hey, I'll raise O'Melveny rates.                  Maybe you'll think about

  2     raising Bilzin rates."       They were communicating.                   And Your

  3     Honor, you do have parallel conduct.                     You have none of that

  4     here.   AirTran, you have what Twombly says is who, what, where,

  5     when.   You have parallel conduct --

  6               THE COURT:    Slow down.

  7               MR. SIMMONS:     -- and the who, what, where, when

  8     allegations, Your Honor --

  9               THE COURT:    Slow down --

 10               MR. MILLER:    Sorry, Your Honor.                      Trying to be

 11     succinct.

 12               THE COURT:    -- for Yvette.

 13               MR. MILLER:    The who, what, where, allegations are

 14     what Justice Souter says, the additional indicia that pushes

 15     the claim over the line of plausibility.

 16               Let me briefly just again draw your attention to the

 17     allegations in Paragraph 41 and 43, where -- particularly 41,

 18     where the complaint itself acknowledges there's going to be

 19     this choice, SV or ABC.        And then a vote happens.                  You pressed

 20     Mr. Miller on the Nakamoto Paper.                  The Nakamoto Paper has

 21     nothing to do with what the law allows or doesn't allow.                          But

 22     the Nakamoto Paper, on its face, says hashing power can come

 23     and go as it pleases, as we would expect in a market.                           Those

 24     Chinese laborers, if they want to come to the United States to

 25     help plow through that mountain, that's called a free market,

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  1     Your Honor.

  2                Finally, I will end with this, Your Honor:                      It has

  3     been said that the rule of law is a law of rules.                        We have

  4     clear paradigms and parameters around what is and is not per se

  5     conduct.    This complaint comes nowhere near pleading any

  6     plausible per se theory, including bid rigging.                        What was

  7     the -- what was the purchase that was rigged?                         The bid?

  8     Nothing.    This was voting -- unabashed voting by computers.

  9     That's a free market.

 10                The rule of reason.            None of the elements are pled,

 11     much less with facts, Your Honor.                   It's for those reasons we

 12     respectfully request that the Court grant the motion to

 13     dismiss.    And if you're inclined to grant leave to amend, Your

 14     Honor, we think they there ought to be some specificity --

 15     before we're put to this exercise again, re-briefing, which has

 16     cost the Defendants money, they ought to be -- there should

 17     be -- pardon my vernacular -- a bill of particulars on whether

 18     they need to cure, so that we know --

 19                THE COURT:   Oh, I have some thoughts.

 20                MR. SIMMONS:     Yeah.

 21                Thank you, Your Honor.

 22                THE COURT:   Yeah.

 23                And when you-all are done, the cases that you have

 24     cited, please give the spelling of them to Yvette, or -- she's

 25     probably figured out the Nakamoto Paper, but things like that.

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  1                Okay.   Anything else that I need to hear on the

  2     Sherman Antitrust Act?        Because I'm really inclined to move on

  3     to the state law claims.          I think we're -- about gone as deep

  4     as we need to go today.

  5                MR. QUINN:    Nothing else from Defendants for Cox and

  6     Chancelor, Your Honor.

  7                THE COURT:    Okay.

  8                MR. LOURIE:    Nothing from Kraken or Powell, Your

  9     Honor.

 10                MR. MILLER:    Nothing from the Defense side, Your

 11     Honor.

 12                THE COURT:    Okay.        So the state law claims.          I think

 13     there are pleading problems with the state law claims, and I

 14     think you're going to have to -- and I'm going to give you

 15     leave to amend.    Well, the question will be whether I do it or

 16     Judge Williams, which is part of what I want to talk about with

 17     you-all.

 18                But -- so just really briefly, let's talk about -- one

 19     of you is going to argue that, right?

 20                MR. QUINN:    I'm going to be arguing that, Your Honor.

 21                THE COURT:    All right.             So Mr. Quinn.

 22                So we'll start with negligent misrepresentation.

 23     Maybe I can jump ahead here.              You argue that Rule 9 applies.

 24     It's fraud.    I think that's right.                   And you argue that the

 25     pleading is inadequate with the particularities of who, what

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  1     when, and where kind of pleading.

  2               MR. QUINN:    That's right, Your Honor.

  3               THE COURT:    Is there something more that --

  4               MR. QUINN:    I don't think there's anything more we

  5     need to say.    I think that Judge Williams said in Celebrity

  6     Cruises that they need to plead the exact time, place, and

  7     manner in which a statement was made.                      And just on the face of

  8     this complaint, there's nothing that goes to that element.                      And

  9     so I think that's pretty dispositive of the negligent

 10     misrepresentation claim.

 11               THE COURT:    Okay.

 12               All right.    Should we move on to negligence?

 13               MR. QUINN:    I think that's right.

 14               Your Honor, on that front, there's four elements to

 15     negligence.    Of course, there's duty, there's breach,

 16     causation, and damages.

 17               THE COURT:    And duty is the issue.

 18               MR. QUINN:    Duty is the key issue, Your Honor.                    And

 19     the simple fact there is that no entity has a legal duty under

 20     tort laws of the State of Florida to protect the solely

 21     economic interests of other people.

 22               I think they clarified for us that their injury in

 23     this case is intrinsically economic.                     They said it's the

 24     diminution in value, the loss from the cryptocurrency that

 25     resulted from the fork.        And so what they're asking the Court

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  1     to do is essentially stretch negligence law to accommodate an

  2     injury that it was never intended to accommodate.

  3               Negligence is about bodily injury and property loss.

  4     And this is an antitrust theory.                 And so what we would argue,

  5     on behalf of all the Defendants, is that none of those

  6     Defendants, especially those Defendants who compete with the

  7     mining rigs operated by Plaintiff, have an obligation to

  8     safeguard their economic interests.

  9               THE COURT:    Okay.

 10               Equitable estoppel.            I think, Plaintiff, you concede

 11     that that's not an independent cause of action.                      Am I right?

 12               MR. MILLER:    Correct, Your Honor.

 13               THE COURT:    Okay.        So that's easy.

 14               MR. QUINN:    I think the same is true of injunctive

 15     relief as well, Your Honor.

 16               THE COURT:    Yes.       Yes.

 17               MR. MILLER:    That is correct, Your Honor.

 18               THE COURT:    Right.         Right.          I'm clear on that.

 19               So we move to unjust enrichment?

 20               MR. QUINN:    That's correct, Your Honor.

 21               So an element of unjust enrichment is that the

 22     Plaintiff confer a benefit on the Defendant, that the Defendant

 23     knows that the Plaintiff conferred a benefit upon the

 24     Defendant, and that the Defendant voluntarily accepted the

 25     benefit and retained it when it would be inequitable for it to

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  1     do so.

  2               THE COURT:    Right.

  3               MR. QUINN:    And the arguments that you have seen in

  4     our papers are that Plaintiffs in this case have not confirmed

  5     any tangible benefit on any of the Defendants in this case.

  6               In their briefing, I believe that Plaintiffs raise the

  7     inchoate benefit of participating in a cryptocurrency network

  8     and that perhaps was the relevant benefit that they conferred

  9     on Defendants.    But courts have looked to that and decided

 10     that, when you're talking about an unjust enrichment claim, it

 11     can't be a vague concept of:             "I participated in a network and

 12     you derived a benefit from that participation."                          It has to be a

 13     direct benefit.    A plaintiff has to confer -- directly confer a

 14     benefit on a defendant.        And they haven't.                     They haven't

 15     pleaded a direct -- that they directly conferred a benefit on

 16     any of the Defendants.

 17               In fact, that allegation, that count, is entirely

 18     derivative of their antitrust claims.                      Essentially, they do

 19     what the Eleventh Circuit Justice Week said is was improper,

 20     and they plead that:     "Oh, yeah, for our state law claims, all

 21     of the substantive allegations that we make to our conspiracy

 22     claims apply to these state law claims, too," the so-called

 23     shotgun pleading.

 24               THE COURT:    Okay.

 25               And then conversion.

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  1                MR. QUINN:    Conversion is the final one.                 The elements

  2     there are ownership of a subject property, the wrongful

  3     assertion of dominion over that property, and the intent to

  4     deprive.

  5                There's no allegation in the complaint that any of the

  6     Defendants wrongfully asserted dominion over any of United's

  7     property.    There's no allegation the Defendants stole Bitcoins

  8     from United American Corporation.                   There's no allegation that

  9     they stole their technology, their Bitcoin dome technology.

 10                What the Plaintiff said, as I understand it, is that

 11     they owned a possessory right in the right of access to the

 12     Bitcoin Cash network.       That's what I understand the relevant

 13     benefit to be in this scenario.                 But again, that's an inchoate

 14     benefit that they haven't pleaded that the Defendants in any

 15     way abridged.      And so, again, a wholesale pleading failure on

 16     that front, Your Honor.         No specific allegations that go to

 17     that element.

 18                THE COURT:    Okay.        I understand.

 19                MR. QUINN:    That's all I have for Your Honor,

 20     unless --

 21                THE COURT:    That makes sense.

 22                Okay.    So Mr. Miller or Ms. Perez, starting with

 23     negligent misrepresentation, I mean, I think you need to plead

 24     it better.    Any argument on that?

 25                MR. MILLER:    We'll stand on what we have in our brief,

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  1     Your Honor.   And we look forward to whatever guidance you have.

  2     We can try to plead that better, if the Court feels it should

  3     be.

  4               THE COURT:    Right.

  5               MR. MILLER:    With respect to the negligence argument,

  6     there, I really want to focus on the duty issue because I do

  7     think that is the issue.

  8               THE COURT:    Right.

  9               MR. MILLER:    And we allege in Paragraph 94 that the

 10     Defendants owed a duty of care in this market, in this

 11     industry, to act in accordance with the Whitepaper and its

 12     accepted standards and protocols.                  And I direct Your Honor's

 13     attention to two specific points in the Whitepaper that I'd

 14     like to draw the Court's attention to.

 15               One is in the abstract and the other can be found in

 16     the conclusion.    And I need to get my reading glasses.                      Someone

 17     made the font very small on this.

 18               In the abstract, the Whitepaper said, quote:                       As long

 19     as a majority of CPU power is controlled by nodes that are not

 20     cooperating to attack the network, they will generate the

 21     longest chain and outpace attackers.

 22               But that's what happened here, is that the nodes

 23     controlled by the Defendants were cooperating to attack the

 24     network, in violation of the Whitepaper.                         And the point I'd

 25     like to make in the conclusion of the Whitepaper is that it

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  1     refers to the voting and leaving and coming back, when it's

  2     discussing that issue.        The Whitepaper refers to if honest

  3     nodes control a majority of CPU power.                        And we've alleged in

  4     our complaint that these nodes and the attack -- I'm sorry --

  5     not the attack -- the concerted effort to increase the hashing

  6     power, as reflected in Paragraph 68 of our complaint showing

  7     after November 15th what happened, was in violation of that

  8     duty to act as an honest node.

  9                THE COURT:    Does the Whitepaper define what an honest

 10     node is?

 11                MR. MILLER:    It does not define it per se, but I think

 12     it's pretty self-explanatory.               It's somebody who is not trying

 13     to conspire with other people to squeeze out members of the

 14     market.

 15                The concept of the Whitepaper was that everyone is

 16     cooperating and working together as a peer-to-peer network,

 17     where they're all working collaboratively, not working against

 18     each other.

 19                THE COURT:    But I guess I have this thought that

 20     honest -- honesty here could mean miners who are legitimately,

 21     bona fidely trying to confirm the accuracy of the data in the

 22     block, that the ledger is accurate, that there hasn't been

 23     double spending of the currency.                  And if that's so -- right,

 24     that's a premise, right, of this -- a premise, at least of this

 25     cryptocurrency, is that there's a reliability that a unit --

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  1     that a coin has only been spent once; it's not been duplicated

  2     in a fraudulent way.

  3               So there's no claim that these rented servers were

  4     doing anything but trying to solve the mathematical problems

  5     that foster the integrity of that system.                            Did I say that --

  6               MR. MILLER:    I agree with the Court that that is an

  7     aspect of the Whitepaper, the honesty in terms of creating the

  8     history of the block chain.            But I think it goes beyond that

  9     when it's referring to a majority of the computing power being

 10     applied honestly.    That's when you get into the voting aspect.

 11     So I think the Whitepaper is talking about both.

 12               THE COURT:    Okay.        So my reading of Florida law was

 13     that a duty arises from a foreseeable zone of risk and you have

 14     to plead what that foreseeable zone of risk is and plead facts

 15     that plausibly support that from that zone of risk there rises

 16     a duty, and that, in particular, when the loss is an economic

 17     loss, you have to plead how the relationship between the

 18     Plaintiff and Defendants gives rise to a particular duty by the

 19     Defendant to protect the Plaintiff from economic loss.                           I

 20     didn't feel like I saw any of that in your complaint.

 21               MR. MILLER:    We can certainly do a better job of that

 22     on amendment, Your Honor.

 23               THE COURT:    Yeah.        Right.           I think that's what the law

 24     is, roughly.

 25               Okay.   So going to unjust enrichment, what benefit did

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  1     you confer on the Defendant, and P.S., who is the Defendant?

  2     Because you refer to Bitmain, Bitcoin.com, and Ver.                  Then you

  3     refer to "Defendants" capitalized, which had been defined at

  4     the beginning of the complaint as "every defendant."                 So I had

  5     a problem there also knowing what Defendants you're -- whether

  6     this is all Defendants -- are you suing for unjust enrichment

  7     or just three?

  8               MR. MILLER:    I'm looking at Count 5 as you're

  9     speaking.   The allegations are against the three.

 10               THE COURT:    Okay.        When you say --

 11               MR. MILLER:    Bitmain, Bitcoin.com, and Ver.

 12               Now, Bitmain, of course, we had defined as all four of

 13     the Bitmain Defendants.        So this is really against six.

 14               THE COURT:    Okay.        And I don't think you alleged what

 15     benefit you, the Plaintiff, conferred on the Defendants.

 16               In your response to the motion to dismiss, you wrote:

 17     "For years, individuals and entities, such as UAC, mined the

 18     Bitcoin network, which continued as Bitcoin Cash as of 2017.

 19     The collective efforts of these parties, and their significant

 20     investment in this cryptocurrency network, created significant

 21     value."   I went back.     I didn't see that in the complaint.

 22               And then, beyond that, it wasn't self-evident to me

 23     that that was a sufficient pleading of the Plaintiff conferring

 24     a benefit on the Defendant.            I don't know if there's anything

 25     in particular you want to say.

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  1               I mean, you know you're heading towards amending.                        So

  2     part of this is I'm giving you my thoughts for you to consider

  3     them in your amending, really.               So you don't have to answer.

  4               MR. MILLER:    Fair enough, Your Honor.                    We understand

  5     and we appreciate the guidance the Court is providing on your

  6     thoughts.

  7               THE COURT:    Yeah.

  8               Okay.   Conversion.          It's there is an active dominion

  9     by the Defendants over your property, you, the Plaintiff.

 10     Where do you allege facts that show a possessory right?

 11               MR. MILLER:    We alleged in our complaint that United

 12     American, the Plaintiff, was mining the Bitcoin Cash, and owns

 13     Bitcoin Cash, and also owns the Bitcoin SV branch of it.                      So I

 14     think that was alleged in the complaint.

 15               THE COURT:    Okay.        Any other comments on the state law

 16     claims?

 17               MR. MILLER:    Nothing else, Your Honor.                    Let's -- I

 18     know we've been here a long time.                  And I don't want to belabor

 19     our points.

 20               THE COURT:    Yeah, yeah, yeah.                    Okay.   Good.

 21               Well, let me tell you now my preview because I think

 22     this will apply to the motion to dismiss for personal

 23     jurisdiction.

 24               So I think that the complaint -- the Plaintiffs -- I

 25     don't think that the arguments that the Defendants have

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  1     raised -- and we'll get into personal jurisdiction in a moment.

  2     But I don't think the Defendants have raised arguments that

  3     support a dismissal with prejudice.                    We're not there.

  4               So -- and I do think there are pleading problems in

  5     the complaint.    Whether the complaint, if beautifully pled,

  6     could give rise to causes of action, I'm not going to try to

  7     decide that at the moment.           And let me say this:               I still -- I

  8     don't feel like I have the command that I think I'll have next

  9     round about the subject matter.                But I think I understand

 10     enough to identify some what I'd call low-hanging fruit of

 11     obvious problems with the complaint.                     And this is not an

 12     inclusive list.

 13               One, your lumping together of the Defendants is very

 14     problematic.    I don't think -- you said in argument that there

 15     is some allegation that they're all the same.                        I don't see that

 16     allegation.    I mean, you define Bitmain as these various

 17     entities.    But what makes them the same?                       There have to be

 18     facts.   And I don't think you've alleged that.                       So that's

 19     just -- and I don't -- at the moment, I'm going to try to

 20     nuance these points, but I'm kind of giving them to you in a

 21     broad way.

 22               Secondly, I don't know how you can rely upon the per

 23     se provision of the Sherman Act.                 This is going to be a rule of

 24     reason case, if anything.          I really don't see this Court being

 25     the first to jump out there and to say:                        This conduct -- this

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  1     industry and this conduct is so well understood that it is a

  2     priori, if that's the right term, a per se violation of the

  3     act.   And so you pled it in the alternative in your complaint,

  4     and you can do that again.           But I don't see how you

  5     successfully plead that here.

  6               Your conspiracy alleges parallel conduct without

  7     pleading facts that plausibly support that this parallel

  8     conduct -- that the Defendants are acting against their own

  9     self-interest or that there is sufficient other plus factors,

 10     which I think you have to do at least one of those.                      I

 11     understand the YouTube video could be a plus factor, but in

 12     my -- my assessment at this point is it's not enough to carry

 13     the day in terms of pleading.

 14               Also, it should be plain to you that I have yet to

 15     comprehend why renting servers is an anticompetitive act or

 16     an -- because you said standing alone the bringing in of these

 17     rented servers right before the hard fork is per se

 18     unreasonable conduct under the act.                    You said:     "I don't even

 19     need the checkpoint.     Just standing alone, a conspiracy to do

 20     that would be a violation of the act."

 21               Now, maybe in your pleading, in your explaining this

 22     market, you could explain it in a way that would make that more

 23     obvious to me.    I think generally the way -- while I thought

 24     Mr. Simmons was fair in saying that a lot of what you explained

 25     was very good -- but I don't think you went far enough.                      And

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  1     you know you're dealing with generalists on a court, and

  2     there's going to be more than me, and I have a funny feeling

  3     this won't end with this Court.                It will be courts beyond us.

  4     So it's on you to explain this in a way that it really can be

  5     understood.   And I don't see that yet, but my mind is not

  6     closed on the subject.       I'm just making the point to you.

  7               For rule of reason, that being your theory of a

  8     violation of the act, you haven't alleged a product market or

  9     geographic market.    And in your response to the motion to

 10     dismiss, I think you tried to reform the complaint to state it.

 11     And you said:    "It's clearly in there."                      And I went back, and I

 12     don't think it's there at all.               So -- and I don't think you've

 13     sufficiently alleged harm to competition.                            I don't think you

 14     have facts that plausibly establish harm to competition.                           There

 15     may be -- that's my reaction to this at this point.

 16               On the state law claims, I think probably it's already

 17     clear what my thoughts are there.                  I think that under the

 18     negligent misrepresentation pleading, you're subject to Rule 9

 19     and you need more particularity.

 20               We already discussed what I think is a failure in

 21     pleading on the duty element of negligence.

 22               Unjust enrichment.           I think you could certainly clean

 23     up, be very clear which Defendants you're suing on that count

 24     and to more clearly plead what benefit the Plaintiff conferred

 25     on the Defendant.

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  1                On conversion, I don't think the complaint alleges

  2     facts that show -- support Plaintiff's claim of a possessory

  3     right, and I have a lot of trouble with the Whitepaper.                           It

  4     says nothing about a possessory right.                       It seems to suggest the

  5     opposite, that this is this open market where

  6     people/servers/nodes/miners can enter and leave.                         And of

  7     course, this goes to the heart of your complaint.                         I'm having

  8     trouble with the notion that to the extent that Whitepaper sets

  9     forth an expectation that this is enforceable by a court, we

 10     look to contracts and agreements between parties.                         We look to

 11     statutes or the constitution.              I'm trying to come up with a

 12     good analogy.    There's probably one out there of kind of norms

 13     that then a court enforces.

 14                I have a lot of trouble with wrapping my mind around

 15     it, but I'm not trying to answer that question today.                         Because

 16     I think you can serve this up to the Court much more clearly,

 17     and what your theory is, in a revised complaint.                         And I think

 18     you need the chance to do that.

 19                So that's the best I can do today.                        So here's the

 20     thing:    I am going to -- I'm going to ask you-all to consider

 21     agreeing that I deny without prejudice the Defendant's motion

 22     to dismiss, with leave for Plaintiff to amend.                         We get a

 23     complaint in two weeks, an amended complaint, and the

 24     Defendants can respond.        I think certainly I've benefited from

 25     this.    This is money in the bank for me, so to speak.                       That's

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  1     the way to move this along.

  2               The other route is I will spend a lot of time writing

  3     a report and recommendation for Judge Williams, where I will

  4     have to drill down with more specificity than I've done here

  5     today.   You'll write fabulous, long, detailed, deep objections.

  6     Then this will get in line, and I'm going to just say human

  7     nature -- I can't speak for Judge Williams, but I have an idea

  8     of what her workload is.         When things are short and easy, we

  9     can do them fast.    This is not in that category.

 10               So the Defendants say that this is really a dark cloud

 11     over their shoulder, and it's really in the Defendants'

 12     interest to move this along.             Hmm.         I kind of wonder.

 13               The Plaintiff, I'm sure, even though your troubles

 14     with service and a lot of delay, which I had a few questions

 15     about, I believe you want to move it along.

 16               To me, I would suggest for you that this is kind of a

 17     opportunity to work through the issues, to refine them a lot

 18     better, to get an amended complaint, in which I fully expect

 19     there will be motions to dismiss.                  Because I'm guessing the

 20     Plaintiff is going to reduce, maybe, some of your pleading.                   It

 21     looks like you're going to drop some of the state court claims

 22     certainly.   Perhaps you're going to otherwise reform some of

 23     what you allege, having had the benefit of very good lawyers

 24     testing it and picking away at your theories, right, in a

 25     complex area.    And I think that's the complaint in which we

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  1     send this up to Judge Williams, with more clarity, and we make

  2     it happen faster.

  3               So nobody needs to answer that right now, because I'm

  4     going to move on to the motion to dismiss for lack of personal

  5     jurisdiction, unless everybody wants to jump up and say:

  6     "Great idea."    You can do that --

  7               MR. PACE:    Your Honor, actually, can I ask:                    Can the

  8     Defense literally have two minutes?                    Because I think that is a

  9     pretty good idea.

 10               THE COURT:    Uh-huh.

 11               MR. PACE:    In fact, I'm going to jump.                    I'm jumping up

 12     and down.

 13               THE COURT:    Okay.

 14               MR. PACE:    Can we just have just one minute?

 15               THE COURT:    Okay.        Sure.         And I'll stand for a minute

 16     because it feels good.

 17         (Pause in proceedings.)

 18               THE COURT:    Oh, wait.            I have to go get from my desk

 19     the personal jurisdiction.           It's there.               So we'll take a

 20     couple-minute break.     Really, just a few minutes.                    Unless our

 21     court reporter needs to go out into the hallway.

 22         (Recess from 2:20 p.m to 2:23 p.m.)

 23               MR. PACE:    Your Honor, Chris Pace.

 24               Having spoken with Plaintiff's counsel, and with all

 25     Defense counsel, we are willing to agree to the following:                       A

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  1     dismissal with prejudice -- or without prejudice.                         Dismissal

  2     without prejudice, four weeks leave to amend.

  3                So that -- and the reason for that is only, Judge, so

  4     that this counts as a first strike.                     In other words, this

  5     complaint -- as Your Honor knows, you can't really -- very hard

  6     to dismiss something with prejudice after one try.                         We want

  7     this to count as this is try number one.                          Doesn't mean you

  8     can --

  9                THE COURT:    Well, this is try number one.

 10                MR. PACE:    Right.        Well, to be clear, you actually

 11     should have a dismissal with prejudice -- or without prejudice

 12     and leave to amend.      They asked for four weeks.                     We're fine

 13     with four weeks.    And then we can go back into the briefing

 14     process.

 15                I -- and both sides would waive the right to seek

 16     review of that before Judge Williams.

 17                THE COURT:    So I think what you need to do, then --

 18     this is the way to make it -- to do it right.                         You need to

 19     consent to me presiding over the motions to dismiss.                         It's

 20     limited to that.    We can take this piecemeal.

 21                And we'll get to the personal jurisdiction.                       Before

 22     anybody has to think about consenting to me, let me tell you my

 23     thoughts on that.      But it would be the same outcome.                     I think

 24     that there is an amendment before there's a discussion of any

 25     possible jurisdictional discovery.                     And I'll give you my

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  1     reasons why.    So -- because really, I don't have the authority

  2     to dismiss a dispositive motion.

  3               Look, if I write it up that all parties agreed, I

  4     could do it and you don't file the consent.                          I don't think

  5     anybody's going to complain.             But the right thing to do is you

  6     just file a notice of consent, we consent to me presiding over

  7     motions, docket entry, and you be specific.

  8               MR. PACE:    Right.        The ones you identified at the

  9     beginning of this, Your Honor.

 10               THE COURT:    Yeah.        Then she'll do a notice of referral

 11     to me on that.    And then I, by order, dismiss it.

 12               And listen, you can consent to me for the whole thing.

 13     But there's no -- there's not a need to solve this problem

 14     right now.   Then there's new motions to dismiss.                        And then we

 15     could cross that bridge then, should you choose to consent or

 16     not, if it goes up.     But that's how we get to this next step

 17     right now.   Does that make sense?

 18               MR. PACE:    Yes, Your Honor.                  It does.

 19               And I agree that technically in order for you to -- I

 20     mean, I guess also Judge Williams could literally just enter

 21     the -- Judge Williams can enter the agreed order of dismissal

 22     without prejudice and four weeks to amend, right?                         I mean --

 23               THE COURT:    Based on --

 24               MR. PACE:    Well, if it was -- if the parties -- I

 25     mean, I know this is kind of funny.                    So let me just slow myself

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  1     down.

  2               But if the parties agree to this, the parties can

  3     agree -- the parties can agree to maybe even call it a

  4     stipulated -- right -- a stipulated dismissal without prejudice

  5     with four weeks to amend.          Your Honor, I'm trying to -- I

  6     understand what you're saying.               I'm trying to make this more

  7     efficient for everybody.         So I realize we're doing this on the

  8     fly, but I just kind of struck a deal with everyone here and I

  9     think we can make it work.           Because I agree with the efficiency

 10     point.

 11               If we did a stipulation, a stipulated dismissal

 12     without prejudice, with leave to amend in four weeks, at least

 13     we could say that counts as -- again, under this doctrine that

 14     somebody's got to be given multiple options or multiple tries,

 15     this counts as at least the first try, right?

 16               THE COURT:    Well, it's definitely going to count as

 17     the first try.    And I suppose you could do that.                       Then we just

 18     have somebody else who has to do something.                          And it's not that

 19     it's hard.   I'm just saying I don't account for Judge Williams'

 20     time.

 21               My thought was that I would have an order that would

 22     say:    "I've held oral argument today.                    I've had a -- you know,

 23     an in-depth exchange with the parties about the issues raised

 24     in the current motion to dismiss.                  The parties" -- perhaps

 25     something like:    "After discussion with counsel, it was agreed

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  1     that -- that that discussion -- I've offered my feedback on a

  2     number of issues, informs an amendment of the complaint.                      And

  3     by agreement of the parties, I'm denying the motions to dismiss

  4     without leave to renew -- with leave to renew, upon amendment,

  5     and the Plaintiff" -- but, you know, not on the merits and that

  6     the Plaintiff has leave to amend.                  And -- so that, you could

  7     do.

  8               The other thing you could do is withdraw your motions.

  9               MR. PACE:    Your Honor, I think, again, maybe we're

 10     not -- this may be my problem with communicating.                      We need a

 11     dismissal.   There should be a dismissal because that's what

 12     makes it count as one.       I know what Your Honor is saying as the

 13     way you view it.    But from an appellate record standpoint, I

 14     think what we're entitled to is a dismissal with leave to amend

 15     so that the record is clear that this counts as strike one.

 16               THE COURT:    I would order that.

 17               MR. PACE:    Okay.       Well, you were talking about

 18     withdrawing motions.

 19               THE COURT:    Well, that's another way.                    If you don't

 20     want to consent, you can always withdraw your motion.                      But if

 21     you don't want to do that, I can order a dismissal without

 22     prejudice to replead and make some reference to the fact that

 23     we've had an in-depth discussion and argument on the merits of

 24     the claims, which I believe will inform the Plaintiff's ability

 25     to replead the complaint.

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  1                So I mean, that's just kind of in a -- something that

  2     you can find on the docket expressing the notion that this

  3     was -- this is the first crack for the Plaintiff.                      And I

  4     think -- I'd like to think the Plaintiff will benefit

  5     tremendously from all of this and be informed in the amendment,

  6     which is round two.

  7                MR. PACE:    Right.

  8                THE COURT:    You know what?                 Let's finish the personal

  9     jurisdiction and then let's come back to this.

 10                MR. PACE:    Okay.

 11                THE COURT:    Okay.        Because I want to make sure that

 12     nobody feels differently about the personal jurisdiction.

 13                Okay.    So I'm going to -- what I'm going to do is I

 14     want to kind of walk us through this.                       Because -- I'll explain

 15     myself in a minute.

 16                First of all, I find service timely on Bitmain Hong

 17     Kong and Jihan Wu.      That's a threshold argument for those two

 18     Defendants.    It was -- or I excuse the delay of a few days.                    So

 19     one argument those two Defendants made is that service is

 20     untimely and therefore the complaint should be dismissed

 21     against them.      And the service deadline I had given was

 22     October 8th of last year.           Service was made on October 14th.

 23     And the Eleventh Circuit, in the Horenkamp decision, that I

 24     think somebody cited -- I think.                  I think you-all are familiar

 25     with it.    It's a 2005 decision.               H-O-R-E-N-K-A-M-P.       The

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  1     Eleventh Circuit said that Rule 4(m) gives this Court

  2     discretion to extend the time for service, even when there is

  3     an absence of good cause.          I don't think there's an absence of

  4     good cause here for the delay.               And the Eleventh Circuit said

  5     the Court should consider a number of factors.

  6               In this case, I think that there had to have been

  7     actual notice.    Same counsel has been representing the Bitmain

  8     entities.   The fact that they were -- Bitmain Hong Kong and

  9     Mr. Wu were named in this lawsuit, I doubt came as a surprise

 10     on October 14th of last year when they were served.                          The

 11     service was just a few days late and I don't see any prejudice

 12     that's been caused by those few days.                      So that was an initial

 13     argument that those Defendants met that I've resolved and I

 14     think takes me to the merits.

 15               So the next place I wanted to go is just kind of

 16     noting the framework that everybody agrees on for a motion to

 17     dismiss for lack of personal jurisdiction.                           The Plaintiff has

 18     to plead enough allegations for each Defendant that plausibly

 19     establish a prima facie case of personal jurisdiction over

 20     them.

 21               If the Plaintiff does that, then the burden shifts to

 22     the Defendants to challenge this with affidavits.                          And the

 23     Defendants who have moved to dismiss based on lack of personal

 24     jurisdiction -- which I should add includes Bitmain holding --

 25     have filed affidavits where they controvert what's in the

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  1     complaint.    And if those affidavits contradict Plaintiff's

  2     allegations, then the burden shifts back to the Plaintiff to

  3     produce evidence that supports jurisdiction.

  4               I think the Plaintiff has not pled a prima facie case

  5     of personal jurisdiction.          And I could end there, but I'm not.

  6     Because I worked through all these other issues, and they're

  7     going to come up again, and I think it's worth a conversation

  8     about them.   And so with this approach that I'm having, I'm

  9     telling you my reaction to arguments, but none of these

 10     opinions will be binding on any of you until the complaint is

 11     repled, you want to move to dismiss again, you do so, and

 12     either you consent to me and I write an order or you don't and

 13     I write a report and recommendation.                     And if I write a report

 14     and recommendation, it will take me a lot longer, because I

 15     will have to articulate with a lot of specificity my analysis

 16     on all these issues.

 17               But I would rather you have the benefit of my, in some

 18     regards, pretty strong reactions to some of the issues, what I

 19     think the answers are, in your repleading, in your rearguing.

 20     Maybe I'll persuade some of you that some of the arguments

 21     aren't worth repeating and that you focus your arguments or

 22     not.   So that was my thought in going through here.

 23               So we could come back to this, but I don't see it --

 24     and Mr. Miller, I guess, let me stop for a moment.                     I want to

 25     work through some of these arguments.                      A significant one is:

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  1     What is the forum?     Is it nationwide or the State of Florida?

  2     I did a lot of work on that and I have some thoughts on it.

  3     You can debate with me whether you've pled a prima facie case,

  4     but I think you have to amend and be given a chance to plead it

  5     much better.    And I don't think you get jurisdictional yet.

  6     Because if you haven't pled a prima facie case, we haven't

  7     gotten to the step of whether the Defendants' affidavits frame

  8     a dispute about personal jurisdiction.                       And I think you need

  9     that dispute to be framed for you then to potentially be

 10     successful to get jurisdictional discovery.

 11               I think you if you can plead your prima facie case,

 12     and maybe even some of these affidavits get a little bit more

 13     specific, I think you're probably -- I think I can foresee

 14     personal jurisdiction discovery.                 I can foresee that.          I really

 15     need to see the complaint and the affidavits.                         But I just don't

 16     think I can go there now with the way your complaint is pled.

 17               So let me stop there for a moment.                         Are you okay?   Are

 18     you comfortable with not trying to talk me down from the prima

 19     facie argument decision I made at this point?

 20               MR. MILLER:    Your Honor -- it's Mr. Miller again.                        We

 21     can stand on our briefing arguments on those points, in the

 22     interest of time.

 23               THE COURT:    Okay.

 24               MR. MILLER:    Obviously, we think we did plead it.                        But

 25     we can stand on what we already argued.

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  1                THE COURT:    Okay.

  2                MR. MILLER:    I think the most important question going

  3     forward is probably what Your Honor is going to get to first,

  4     which is nationwide versus Florida.

  5                THE COURT:    Right.         So why don't we talk about that

  6     some.    And the thing I keep thinking about is this is a little

  7     dicey for me because I can't give an advisory ruling.                        On the

  8     other hand, we could have a discussion about the law that I'm

  9     reading.    You can address some of my questions, maybe tell

 10     me -- steer me another way.             Maybe I persuade -- I think

 11     nationwide.    The forum is nationwide.                     For a number of reasons,

 12     you get there.    And I think the Plaintiff's argument that the

 13     forum is Florida is not the prevailing argument.                        And that

 14     takes a conversation.

 15                Let me just stop for a minute.                       Let me check with the

 16     Defendants.

 17                MR. PACE:    Well, certainly, Your Honor, we would

 18     disagree.    I mean, General Cigar I think is clear in its

 19     conclusion, and the structure of the Clayton Act supports that.

 20     Right?   Because remember, it's one provision that says you can

 21     get venue.    And then if you have venue under that provision,

 22     you get service nationwide.

 23                So that very provision, you have to use that

 24     provision.    Not only did they not invoke it here, they couldn't

 25     have invoked it here.       In other words, there's no -- what you

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  1     have to show is that somebody, for example, is already here or

  2     already actively involved here in Florida.                           They've never pled

  3     that.   Right?

  4               I mean -- so you have to be in the district, right?

  5     So the statute says -- the Clayton Act says for those who

  6     inhabit or regularly doing business in the district, you can

  7     then serve them anywhere you can find them.

  8               THE COURT:    You're talking about the venue provision

  9     in the first clause.

 10               MR. PACE:    The first clause, yes.                        It's the venue and

 11     personal jurisdiction combined.                Right?          It's one --

 12               THE COURT:    You would have the integrated approach in

 13     how you would read that provision.

 14               MR. PACE:    I would because it's one provision.                       I

 15     mean, I think normally when you have one sentence --

 16               THE COURT:    And there are circuit courts that disagree

 17     with you and say it's an independent reading.                          So there's

 18     ambiguity there.    There's two ways to read it.

 19               MR. PACE:    I agree.          I would note that there's at

 20     least one circuit that -- well, yes.                     Yes.        The Courts that

 21     have actually looked at the statutory language and addressed

 22     the statutory structure argument have actually -- I believe

 23     have all come out the same way.                But you're right that there's

 24     courts that have said -- without analyzing the statutory

 25     structure, have just kind of said, I will admit, that you get

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  1     nationwide service under that section without tying it to

  2     venue.    I'm not sure any of the Courts of Appeals have rejected

  3     when they've actually looked at the two arguments together, if

  4     makes sense.

  5                THE COURT:    Yeah.        I think that --

  6                MR. PACE:    And it might be the Third Circuit, if they

  7     did.

  8               THE COURT:     Hold on.           Hold on.            I just have to root

  9     around in my notes here.          I have it here.

 10               KM Enterprises, the Seventh Circuit, supports your

 11     integrated reading of the Section 12 venue and service

 12     provisions of the Clayton Act.                And Go-Video -- Go-Video, the

 13     Ninth Circuit, and Auto Refinishing, the Third Circuit, support

 14     an independent reading of the two provisions.                            So I think

 15     there's a split.

 16               MR. PACE:     Your Honor, I agree there's a split.                          My --

 17     I think I was probably drawing semantics.                             So I'm not going to

 18     go further.    Because at least I think the Third Circuit does

 19     look at the statute.      I think Seventh Circuit is the one that

 20     most closely analyzes the actual language and says:                            "Wait a

 21     second.   How can it not be read in a certain manner?"                           But let

 22     me just put that to the side for a second.

 23               Our argument -- I just want to be clear from our

 24     standpoint that our argument is both.                       They would have had to

 25     have invoked the provision, which they didn't invoke and they

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  1     would have had to have served under the provision.                      That's one.

  2               THE COURT:    Okay.        Let me stop you for a minute.

  3               MR. PACE:    Okay.

  4               THE COURT:    The Clayton Act allows for nationwide and

  5     worldwide service.     This gets to the Cigar holding, which I

  6     don't agree with.     Okay?      In the -- excuse me.                I have to flip

  7     around -- General Cigar case, which was a case decided by

  8     another division of this court, the Court concluded that the

  9     foreign defendant sued there, which I think was Cuban entities,

 10     was not served pursuant to the worldwide service provision of

 11     the Clayton Act because service was effected pursuant to the

 12     Hague Convention.

 13               How does service of a foreign Defendant pursuant to

 14     the Hague Convention therefore -- which is the word used in

 15     General Cigar.    "Therefore," to me, was like an enormous leap.

 16     Therefore, how does service by the -- pursuant to the Hague

 17     Convention therefore mean that the Plaintiff did not rely upon

 18     the worldwide service provisions of the Clayton Act?

 19               MR. PACE:    It's not entirely clear to me from Cigar

 20     holding whether we don't have a situation like we have here,

 21     where you would say:     "Because the service is however it's said

 22     to be."   In other words, under the Hague Convention, what

 23     you're doing is what you say you're doing.

 24               So if you say you're serving under a particular

 25     statute, and then the Hague Convention allows you to serve

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  1     pursuant to that mechanism, you're limited to what you served.

  2     You can't come up -- it's this idea that through the Hague

  3     Convention -- because, as Your Honor knows, a lot of

  4     jurisdictions outside the US are much more formal than we are.

  5     In fact, most of them outside of England, New Zealand, and

  6     potentially Australia.       Right?          They're more structured.      They

  7     say:   "Oh, you have to follow certain rules in order to get

  8     things done."

  9               So the general sentiment is if you come to me and you

 10     say:   "I'm suing you for reason X, or based on reason Y,"

 11     that's what you're limited to.

 12               THE COURT:    Right.         That's in the complaint, the

 13     Clayton Act and the Sherman Act.

 14               MR. PACE:    Well, but there's a -- but they don't use

 15     that as the basis for jurisdiction.                    They don't plead that as

 16     the basis for jurisdiction in their complaint.

 17               THE COURT:    They say it's federal question and

 18     diversity jurisdiction.

 19               MR. PACE:    Well, now you're talking about subject

 20     matter, Your Honor.

 21               THE COURT:    Right.

 22               MR. PACE:    We're talking about personal jurisdiction.

 23     I mean, it would have to be personal jurisdiction.                   Right?

 24     They don't claim:     "We're asserting nationwide service of

 25     process under the Clayton Act."                They reference -- for venue,

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  1     they reference, I think, 1391.

  2               THE COURT:    Right.

  3               MR. PACE:    And for personal jurisdiction, they talk

  4     about the context with the State of Florida.                          So they pick

  5     their poison, so to speak.

  6               And I'm trying to explain to Your Honor how I

  7     understand Cigar holding -- or General Cigar.

  8               THE COURT:    So you're saying that because the

  9     complaint asserts Florida long-arm jurisdiction, because of

 10     that allegation, that service under the Hague Convention -- I'm

 11     trying to -- because you're endorsing General Cigar --

 12               MR. PACE:    Yes.

 13               THE COURT:    -- that service under the Hague Convention

 14     therefore --

 15               MR. PACE:    Is limited to what you are proposing, what

 16     you're asking for as the Plaintiff.

 17               I will bring Your Honor back to a hearing we had

 18     telephonically a few months ago where Your Honor said at the

 19     time:   "I want to wait for the service to occur.                         Because if

 20     you end up serving somebody, but then I dismiss the complaint,

 21     do you have to start the Hague process all over again?"                          That

 22     was one of the things Your Honor was talking about.

 23               Why?   Because of this very issue.                         That there is a

 24     formality to the Hague process.                You are committing to what you

 25     have done.   You are saying:           "I'm asserting jurisdiction on

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  1     this ground.     I'm asserting these claims."                        You can't go

  2     changing that in the Hague process.                    You can't suddenly get a

  3     complaint served on me and then when I show up in the court,

  4     say:   "Ah-ha.    Now I got you.           I'm going to do something

  5     different."

  6                The whole idea of the Hague Convention would be,

  7     well -- why you have to go particularly through the centralized

  8     authority, why most states -- most countries have rejected mail

  9     service.    Right?   Most recently Japan -- is to say:                       "You

 10     can't -- we're not going to make this too easy.                          We're going to

 11     make this formalized so that you are clear on what you are

 12     saying, on what you're asserting, on the basis that you're

 13     coming to try to get somebody.               And you can't then change

 14     afterwards.

 15                So if somebody comes in and says:                         "I'm asserting

 16     jurisdiction on ground A," and they make that decision, they

 17     could have -- let's also all be honest.                        They could have pled,

 18     if they wanted to.     They chose not to.                    Now, either consciously

 19     or just a mistake, I don't know.                 But somebody did not plead

 20     the service of process provision under the Clayton Act.

 21     Somebody did not plead venue under the Clayton Act.                          Somebody

 22     consciously said:     "Here's the basis that I'm going to serve

 23     for personal jurisdiction and here's the basis I'm going to

 24     serve for venue."

 25                That complaint goes over to somebody -- goes through

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  1     this whole process.      Right?         They translate it into Chinese.

  2     Your Honor remembers that.            It's gets translated into

  3     Chinese -- had to get translated into Chinese in order to be

  4     served in China.     Goes to the central authority.                    Central

  5     authority then ends up serving it.                     Now, all of a sudden, they

  6     can't just kind of willy-nilly say:                     "Oh, now, I'm going to

  7     change it."

  8                So I think what the -- I think what the -- remember,

  9     we're talking about the ability to get somebody before you in

 10     the first instance.      I think what General Cigar is saying is if

 11     you make a claim -- if you base your assertion for jurisdiction

 12     on one theory, and you submit that to the Hague process, and

 13     the government of another country goes all the way through

 14     serving that for you, you've committed to that process and you

 15     can't change your mind later on:                  "Oh, whoops.        I made a

 16     mistake."    No.   It's a little more formal than that.

 17                THE COURT:    So what would you have had the Plaintiff

 18     plead for, in your view, Plaintiff to have relied upon the

 19     Clayton Act's worldwide service provision?

 20                MR. PACE:    They would have had to have pled venue

 21     under the Clayton Act.        Plus, they would have had to have pled

 22     that they were basing personal jurisdiction on nationwide

 23     contacts.    So they would have had to have done both.                     They did

 24     neither.

 25                So you would say -- and by the way, Your Honor, they

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  1     also can't do it.    I don't want to not get to that point

  2     because it's an important one.               Because even nationwide

  3     contacts doesn't work.       But the fact of the matter is there's a

  4     system.   So you would say:          "Here's venue.                  Here's the basis

  5     for venue."   They don't plead Clayton Act venue because they

  6     can't satisfy Clayton Act venue.                 And then -- because Clayton

  7     Act venue would have required the Defendants to have some

  8     involvement in this district, and they can't do that.

  9               Instead, they want to plead venue under 1391 to say a

 10     substantial part of the events occurred here because they're

 11     really talking the alleged impact on them.                           They're not talking

 12     about any -- they don't allege any Defendant had any conduct in

 13     this district.    And I'm not just talking about my clients.                          I

 14     literally can walk down the list and no one.                          So they made that

 15     decision.   That was their conscious decision:                         "This is the

 16     only way we can get venue."            And then -- and they couldn't have

 17     gotten Clayton Act venue.

 18               And so if you conclude -- put aside -- putting aside

 19     even General Cigar.     So General Cigar is the Hague Act issue,

 20     which, as I explained, I think it's saying essentially:

 21     "Whatever you have submitted to the Hague process you're

 22     committed to and you can't change it later on.                          I can't

 23     suddenly invent a new basis for jurisdiction.                          You should have

 24     gotten it right the first instance."

 25               Even if you go past that, the next issue is --

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  1               THE COURT:    Can you speak a little more slowly.

  2               MR. PACE:    I'm sorry.            I'm killing you, aren't I?

  3               THE COURT:    You're kind of running your words

  4     together.

  5               MR. PACE:    I am.       And it's also almost 3:00.           I

  6     apologize.   Let me slow down.

  7               THE COURT:    So your argument, though, is premised,

  8     then, on reading the venue in personal jurisdiction provisions

  9     of the Clayton Act in a unified way.

 10               MR. PACE:    One of them.              One argument is a bit

 11     premised on that.     That's correct.                 So then we can get,

 12     obviously, to the additional arguments, if I can.                    And even --

 13     you know, again, I certainly agree with Your Honor that, given

 14     what they've pled, their current complaint's not going to --

 15     doesn't even come close to establishing personal jurisdiction.

 16               But -- so let me say this anyways --

 17               THE COURT:    Not establishing, but pleading a prima

 18     facie case --

 19               MR. PACE:    Yes, Your Honor.

 20               THE COURT:    -- sufficient to survive a motion for

 21     directed verdict.     That's the standard.

 22               MR. PACE:    Right.

 23               THE COURT:    Okay.        I think we're -- I feel like we're

 24     kind of going around a bush here a little bit.

 25               MR. PACE:    Can I take this to one next level, just

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  1     so that I'm -- I would like to be clear on two things, if I

  2     can.

  3               THE COURT:    Okay.

  4               MR. PACE:    And I'm going to get away from General

  5     Cigar now.

  6               The two things are, one -- and this is something

  7     you've already said not only when you combined Defendants:                        Is

  8     that an issue for the merits?              It's certainly an issue for

  9     personal jurisdiction so that, as to each Defendant, you have

 10     to identify them separately.

 11               THE COURT:    Yes.

 12               MR. PACE:    Second thing I will say is something that's

 13     incredibly clear.     One -- well, actually, I should go back on

 14     one Clayton Act.    Clayton Act, Your Honor certainly

 15     understands, doesn't apply to an individual.                         So it wouldn't

 16     apply to Mr. Wu.    The provision that we're referring to in the

 17     Clayton Act refers to a company.                 Right?          So it clearly

 18     wouldn't refer to Mr. Wu.

 19               THE COURT:    Speak a little more slowly.

 20               MR. PACE:    I will.

 21               But another issue is we know what the test would be.

 22     Even if we were talking nationwide contacts, what do we then

 23     know?   If we talk general jurisdiction, we know that there's

 24     going to be no jurisdiction because none of the -- they don't

 25     even plead -- as to Bitmain Technology, Limited, they

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  1     acknowledge that it's neither its principal place of business,

  2     nor its state of incorporation -- or country of incorporation

  3     is the United States.       So no general jurisdiction.

  4                As to Bitmain Holding, as Your Honor had phrased it,

  5     Bitmain Technology Holding -- I'll call it Bitmain Holding.

  6     It, too, is not incorporated in the United States and does not

  7     have a principal place of business in the United States.                          We

  8     can disregard general jurisdiction on that alone.

  9                Then you get to specific jurisdiction.                      Point to make

 10     with specific jurisdiction, particularly in light of Walden v.

 11     Fiore, is they can't simply say:                  "It hurt us and we're in

 12     Florida."    Right?    Walden v. Fiore is the individual in Nevada

 13     who they take his -- the couple -- they take money from the

 14     couple in Georgia, but the couple says:                         "But we live in

 15     Nevada.    It hurt us in Nevada.              We had less money to spend in

 16     Nevada."    And the Supreme Court says that doesn't create

 17     subject matter jurisdiction in Nevada because the Georgia

 18     police officers didn't do anything in Nevada.                         They took --

 19                THE COURT:    You mean personal jurisdiction?

 20                MR. PACE:    I'm sorry.            Personal jurisdiction.          I

 21     apologize.

 22                It doesn't establish personal jurisdiction because the

 23     police officers acted solely in Georgia.

 24                I use that comparison here to say what -- they can't

 25     establish personal jurisdiction, specific jurisdiction, simply

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  1     by saying:    "We're here in Florida and it hurt us in Florida."

  2     Right?   That doesn't connect the Defendant.

  3               THE COURT:    Right.

  4               MR. PACE:    Okay.       So that's all I want -- because what

  5     I'd rather have happen is, now is the time also for the

  6     Plaintiffs to make a decision about whether there's -- for the

  7     Plaintiffs to make a decision about whether there's Defendants

  8     that they want to drop or not.               So I wanted to be clear on this

  9     record that our argument is not just about General Cigar, but

 10     it has layers beyond that.

 11               THE COURT:    Okay.        Let me say this:                You, in my

 12     view -- and maybe it's all in writing and shame on me for

 13     missing it.    But the argument you just made sounds new to me.

 14     It wasn't laid out in that level of detail in your briefing, as

 15     I understood it.    It was kind of -- and let me oversimplify

 16     this -- but:    "General Cigar says.                  I rely on General Cigar.

 17     I'm right."    And it wasn't that simple.

 18               You're laying out the alternative way in which you

 19     have to plead venue.     The venue provision and the service

 20     provision in the complaint I don't recall seeing in your

 21     argument.    So I am focused on that.

 22               So to be clear, when we're back here again -- we're

 23     back here again and you could, in my view, I think, do a better

 24     job of explaining your argument, something you didn't address

 25     is that in General Cigar there was a footnote that the national

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  1     long-arm statute did not apply, that being Rule 4(k)(2).

  2     Because in that case, the district judge who wrote General

  3     Cigar found that there would be -- that the Defendant would be

  4     subject to Florida's long-arm jurisdiction.                          And so therefore,

  5     the national long-arm statute did not apply in General Cigar.

  6               Now, I need Plaintiff to get clear about:                        Is

  7     Plaintiff claiming Florida contacts?                     I don't see it.        I don't

  8     see anything pled to show that there are sufficient contacts in

  9     Florida to give rise to personal jurisdiction.

 10               If the Plaintiff's real theory is that it's nationwide

 11     contacts, okay.    Then I would certainly -- I think we would all

 12     be there that the Defendants are not subject to the Florida

 13     Long-Arm Statute, in which case I think would send us, I think,

 14     to the nationwide long-arm statute set out in Rule 4(k)(2),

 15     which requires a federal claim.                We have that.           The Defendant

 16     is not subject to the state's long-arm jurisdiction.                         We'll see

 17     what the Plaintiff says in the amended complaint.                         And three,

 18     the Defendant's collective nationwide contacts satisfy the

 19     minimum contacts required by the due process clause, which is

 20     where I think the argument will be.

 21               And the Eleventh Circuit, in the Consolidated

 22     Development Case, set out the types of contacts that are needed

 23     under Rule 4(k)(2) where the forum is nationwide.                         And the

 24     Eleventh Circuit said it depends on whether the jurisdiction is

 25     specific or general.     If it's general, then there's a more

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  1     stringent standard for finding minimum contacts.                     There must be

  2     continuous and systematic general business contacts between the

  3     defendant that we're talking about and the forum, which, in

  4     that case, would be the whole country, and they must be

  5     substantial.

  6               I do think it's very wise for the Plaintiff to figure

  7     out what your theory is.         I think off -- you know, I understand

  8     that often we want to plead in the alternative because we don't

  9     want to give anything up.          But, to me, it creates a far more

 10     confusing platform upon which to sort through these issues.

 11     And if the Plaintiff, it seems to me, claims that the state

 12     long-arm jurisdiction applies, it really undermines and

 13     complicates your argument for nationwide contacts, at least

 14     under 4(k)(2).

 15               So -- hold on a second because there's something else.

 16     So something else that I think I understand that I want to put

 17     out there and you can set me straight, or we'll talk about it

 18     in the next round, is that the Eleventh Circuit, in the

 19     Carrillo decision, which I know you-all have cited, said:                    "We

 20     hold that the applicable forum for minimum contacts purposes is

 21     the United States in cases where, as here, the Court's personal

 22     jurisdiction is invoked based on a federal statute authorizing

 23     nationwide or worldwide service of process."

 24               And the Court read the federal statute there, which I

 25     think was a Securities Act --

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  1                MR. PACE:    Securities.            Yeah.         It's SEC v. Carrillo.

  2     Right.    And it's a Securities Act.

  3                THE COURT:   Right.         It read it saying that by

  4     authorizing nationwide or worldwide contacts, the statute has

  5     broadened the personal jurisdiction of the Court to anywhere in

  6     the nation.

  7                And then it went through this constitutional rationale

  8     for that, that in federal question we're relying on the Fifth

  9     Amendment, not the Fourteenth Amendment.                         And the Court said:

 10     "Rule 4(k)(2) provides an additional support for nationwide

 11     contacts," but it seemed to be a separate stand-alone analysis.

 12     It seemed to be another way to get there.

 13                So something I was curious about is how to reconcile

 14     that Carrillo analysis versus a 4(k)(2) statute that gives --

 15     is national long-arm jurisdiction.                    That gets us into the weeds

 16     a little bit.    And I understand that you, Defendant, are

 17     maintaining an argument that because the Court must read the

 18     section -- the Clayton Act venue and personal jurisdiction

 19     provisions in an integrated manner, and because of the way the

 20     Plaintiff pled the reliance upon their source of venue and

 21     service, therefore, the forum has to be the State of Florida.

 22                I think we see what the Plaintiff pleads the next

 23     time.    And depending on their choice, we then work through

 24     these issues again.     I'm just kind of sharing.

 25                MR. PACE:    Yeah.      No.       No.       No.       I'm just -- so I'm

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  1     going to say something without knowing whether this is

  2     accurate.   So I'll just -- because they didn't argue 4(k)(2).

  3     So I don't know.

  4               One reason you may not see 4(k)(2) used very much is,

  5     as for example here, I'm not so sure that what occurs through

  6     the Hague isn't something separate and independent from serving

  7     a summons or filing a waiver of service.                         Your Honor raises a

  8     good question.    It wasn't briefed.                  It wasn't an argument they

  9     raised.   It wasn't an argument that we responded to.                       So I feel

 10     like, for some reason, there's a limit on 4(k)(2) that I can't

 11     come up with, but there's a reason -- I need to slow down.

 12     There is a reason it's not always used, and instead, for

 13     example, RICO has a service of process provision.                        The

 14     Securities Act has a service of process provision.                        The

 15     antitrust laws have a service of process provision --

 16               THE COURT:    Well, let's stop.

 17               MR. PACE:    -- that people extend to invoke more often.

 18     That's all I'm saying.

 19               THE COURT:    Let's stop.

 20               Speaking for the antitrust act, it authorizes

 21     worldwide service.     It doesn't give the mechanism for how it's

 22     done and Rule 4(f) does.

 23               MR. PACE:    Right.

 24               THE COURT:    Right.         4(f) says if you're going to serve

 25     an individual in a foreign country -- which I take to include a

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  1     corporation, being an individual, right -- they can be served

  2     in a foreign country, one, by any internationally agreed means

  3     of service, such as a Hague Convention.                        Check.   That's what

  4     happened here.    Or if there's no internationally agreed means,

  5     by a method that is reasonably calculated to give notice.                          And

  6     then it gives certain other methods.                     Or three, by other means

  7     not prohibited by international agreement, as the Court orders.

  8               So my understanding is that the Clayton Act, by

  9     authorizing nationwide and worldwide service of process, is

 10     expanding the Court's personal jurisdiction.                         And then it

 11     leaves it to a Plaintiff to effect service consistent with what

 12     is in Rule 4(f).    And the fact that the Plaintiff chose the

 13     Hague Convention, which has been recognized I think even by

 14     this circuit, as a case I read, as the leading method for

 15     service abroad -- I just really had a hard time understanding

 16     the Defendant's argument that because the Hague Convention was

 17     used, therefore, personal jurisdiction can only be measured by

 18     Florida contacts.

 19               So anyway, we're going to have this discussion again.

 20               MR. PACE:    Right.

 21               THE COURT:    And this is my current state of

 22     understanding, which at least hopefully it benefits you,

 23     however correct or incorrect I am.                    But you know you have to

 24     address it.

 25               MR. PACE:    Right.        No.       I agree, Your Honor.          And I

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  1     think that we'll find -- first of all, I assume in their next

  2     version of the complaint they'll address personal jurisdiction

  3     differently.    And I'm sure in our motions we'll address them

  4     with a more refined point to them.

  5               If I can go back just to where we started this

  6     afternoon, because I am just trying to understand the mechanism

  7     so that we can -- I do think -- I understand Your Honor has a

  8     certain amount of skepticism towards it, but I do think the

  9     Defendants want to see this case moving forward because we want

 10     to move it forward towards dismissal.                      That's why we seized on

 11     your opportunity.

 12               THE COURT:    Right.

 13               MR. PACE:    Right?        So I mean, I think we're

 14     demonstrating it, but actions speak louder than words.

 15               THE COURT:    Right.

 16               MR. PACE:    But I want to understand the mechanism.                    It

 17     sounds to me like what would be -- what Your Honor believes may

 18     be the fastest mechanism -- and that's what we would want -- is

 19     if we the Defendants and the Plaintiff -- I guess everyone

 20     would have to -- consent to the currently existing set of

 21     motions to dismiss to be decided by you, you could then -- and

 22     Judge Williams enters that order, which perhaps would occur

 23     promptly.

 24               THE COURT:    I think so.

 25               MR. PACE:    Because it would be joint.                    Right?   And so

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  1     we get a -- maybe even a paperless order.

  2               THE COURT:    That's a very easy one to rule on.

  3               MR. PACE:    Yes.      We get that.

  4               Then Your Honor would dismiss the current complaint

  5     without prejudice and with four weeks' leave to amend.                      And

  6     they would -- and then could enter that order.                       And then they

  7     would obviously amend their complaint within to four weeks and

  8     then we would go back -- we would essentially have our next

  9     round of motion to dismiss briefing that --

 10               THE COURT:    And to be clear, I guess, I would be

 11     granting the Defendant's motions to dismiss, right, with leave

 12     to amend?

 13               MR. PACE:    Yes.

 14               THE COURT:    Because I agree this needs to be dismissed

 15     at this point, but with leave to amend.

 16               And -- right -- why do you need four weeks?

 17               MR. MILLER:    Your Honor, I have some travel coming up.

 18     And when we were discussing this, the Plaintiffs offered more

 19     time, and I said that would be good because of our schedule,

 20     and offered -- I'm sorry -- the Defendants offered more time.

 21     And I in turn said:     "If the Defendants need more time on

 22     briefing their motion to dismiss, of course, we would

 23     reciprocate and give it to them."

 24               MR. PACE:    In all honesty, Your Honor, with the time

 25     that's passed, I think two weeks versus four weeks -- we would

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  1     not want Plaintiffs to have to be in a position -- or Plaintiff

  2     to have to be in a position where they felt rushed.

  3                THE COURT:    Okay.

  4                MR. PACE:    They get a chance to refine it.                 So there's

  5     no need -- I don't think there's a need to press it faster.

  6                Also, it may take us a few days to try to get an order

  7     out of Judge Williams.

  8                THE COURT:    That one, I think will -- I'm guessing

  9     would --

 10                MR. PACE:    I meant more for us to draft something.

 11                THE COURT:    It usually rises to the very top of the

 12     in-box for a law clerk.

 13                So at any rate --

 14                MR. PACE:    Why is somebody next to you smirking?

 15                THE COURT:    He's just smiling.

 16                Okay.   So in my order I'm going to say:                   "With the

 17     agreement of the parties, I am granting the motions to dismiss

 18     with leave to amend."       Right?          Is everybody comfortable with

 19     that?

 20                MR. MILLER:    Your Honor, Mr. Miller, again, on behalf

 21     of the Plaintiff.

 22                The Plaintiff is comfortable consenting to referral of

 23     these existing motions to dismiss to Your Honor, as you have

 24     proposed.    They will be identified by the docket entries we

 25     have been discussing today and that were briefed.                     We consent

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  1     to referral of those motions to Your Honor.

  2               The Plaintiff also would consent to Your Honor

  3     entering an order dismissing --

  4               THE COURT:    Granting the motions?

  5               MR. MILLER:    Granting the motion to dismiss with leave

  6     to amend in four weeks.

  7               I do want to be clear.               The Plaintiff is not conceding

  8     that -- upon the next round of briefing, if there's another

  9     motion to dismiss, the Plaintiff is not conceding that another

 10     dismissal would necessarily be with prejudice.                           I just want to

 11     be clear we're not conceding that point.

 12               THE COURT:    You don't need to concede that.                         And part

 13     of why I think it's useful for me to be able to say:                            "Upon the

 14     agreement of the parties, I'm granting the motions to dismiss,"

 15     is because, to me, it's a better record that leaves you-all

 16     free to argue the issues you want to argue upon an amended

 17     complaint.

 18               So I've given you some opinions.                           Right?   I mean, I am

 19     pretty far along in my certainty on some opinions and less far

 20     along with others.     And I don't want -- I can't think of

 21     anything -- and I'm going to turn to my lawyer here to let me

 22     know if you have a different idea, George.                           But the point here

 23     is I don't think there's a law of the case yet by which any

 24     party is bound.

 25               Now, I'm pretty far downstream on figuring out some

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  1     issues, and you know where I'm going for many of them.                           And it

  2     may be that nobody can convince me otherwise if we have another

  3     round of briefing and oral argument, or maybe that on some of

  4     them you do turn me around.             I don't know.                 So that's all I'm

  5     trying to accomplish by saying upon agreement to the parties

  6     that's the reason why, in the end, I'm granting motions to

  7     dismiss.    And it leaves everybody free to consider what we've

  8     talked about today, reframe the complaint, reframe any

  9     arguments to dismiss and responses thereto.

 10                And I suspect that somebody's ordering this transcript

 11     and somebody may give it back to me, right, as an attachment to

 12     a briefing down the road, saying:                   "Hey, you agreed with me

 13     before.    Look at what you said before," which I will have

 14     forgotten, unless you give me the transcript.                           And that's fair

 15     enough.    That's fair enough, if I talked about it.                         But I'm

 16     just being very clear that I'm not foreclosing -- I'm not

 17     foreclosing any of your claims, your theory on how you're going

 18     to plead them, or the arguments of the Defendants to seek

 19     dismissal.

 20                Is that -- does that feel consistent for everybody on

 21     the record that we have today?                It's been a long day.             I'm just

 22     checking in with you.

 23                MR. MILLER:    That's fine with Plaintiff, Your Honor.

 24                THE COURT:    You okay with that, Defendants?

 25                MR. PACE:    We are, Your Honor.

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  1                THE COURT:   Oh, Mr. Simmons didn't like that.

  2                MR. SIMMONS:     Well, I'll just put some cards on the

  3     table, Your Honor.      And I'll be brief.                    I know it's been a

  4     long --

  5                THE COURT:   Can you get to the microphone?

  6                MR. SIMMONS:     Yeah.

  7                Mr. Simmons speaking.              First of all, thank you for

  8     your time and your indulgence, and the court reporter for us

  9     all speaking too quickly.           I'm fine with all of this and maybe

 10     we submit something to the Court.                   My one trepidation, Your

 11     Honor, is -- and I understand the Court doesn't want to have to

 12     go off and write a report and recommendation, based on your --

 13     I mean, forcing you to crystalize your thinking and memorialize

 14     that, it's taken up, and then they get another shot no matter

 15     what.    So I'm sensitive to all that.

 16                I would -- I mean, we'll talk.                       We just don't want you

 17     losing the thread, so to speak, that if you were forced to

 18     memorialize these in an R & R, and then went up and got

 19     affirmed, then we are getting law of the case and this is kind

 20     of being written in stone.            And then they get a chance to fix

 21     that.    We're kind of foreclosing that because it's kind of

 22     fluid.    We're doing it -- so what I would ask is that -- we've

 23     agreed, but you enter:        "For the reasons set forth today with

 24     the deficiencies I've identified."                     That's my only point, is

 25     that we're losing some of that concreteness that were you to go

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  1     back and we do round one in formal report and rec, we're kind

  2     of losing that.    That's my only --

  3               THE COURT:    Well, here's what I think you do -- I'm

  4     sure somebody is ordering this transcript, right?

  5               MR. PACE:    We would not make her work so hard

  6     otherwise.

  7               THE COURT:    Right.         Right.

  8               And my vision is, with all this effort and energy that

  9     everybody here has put into this, that the Plaintiff is very,

 10     very well-informed about the issues to take your best stab at

 11     your complaint.    And that if there's a dismissal after that for

 12     failure to state a claim, I think you're very fairly open to

 13     dismissal with prejudice.          There could be some argument that

 14     comes up that I haven't foreseen otherwise.                          But typically, we

 15     allow dismissal without prejudice because we give the Plaintiff

 16     a crack at considering the issues that have been raised and

 17     refining it.    But we don't do this endlessly, and obviously

 18     this isn't a simple complaint.               There's a lot invested in it.

 19               So to the extent that we -- say the Plaintiff comes

 20     back and says:    "You know what?              I've thought about this and

 21     this is a per se violation.            Forget the rule of reason.               This

 22     is clearly a per se violation."                You-all can say to me:           "Hey,

 23     look in this transcript today.               You already considered this.

 24     Here are the reasons you gave before.                      They are the same

 25     reasons again.    Plaintiff had a chance to consider the

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  1     Defendant's concerns and the Court's concerns" -- and maybe I'm

  2     not picking the best example -- "They've had a round at this."

  3               And I could say:         "Okay.          I'm back to the same

  4     conclusion" or "I'm not."          And it's a record upon which, all

  5     things being equal, should be the complaint that either

  6     survives or it doesn't.

  7               So I think that's what you-all are getting at is

  8     you're just -- the Defendants are making sure that this effort

  9     is recognized as the Plaintiff's first crack and the next one

 10     is the second crack.

 11               MR. PACE:   That's right.                And that Your Honor has

 12     provided sufficient -- Your Honor has provided the reasons on

 13     the record that justify the dismissal.                       So in other words, it's

 14     not that the Plaintiff -- the Plaintiffs have come in and said,

 15     you know:   "You started off the day by saying:                      'Guys, don't

 16     make me get into this.       I'm going to dismiss it anyways.                 Take

 17     your second shot.'"

 18               Instead, not only by agreement of the parties but for

 19     the reasons the Court has stated on the record that the

 20     complaint is being dismissed.              That way, it's clear that the

 21     Plaintiffs not just are taking their second chance, but have

 22     been informed by the Court, not necessarily -- I'm not saying

 23     it's the law of the case, but simply have been informed by the

 24     Court of deficiencies.       So for example, if they come back with

 25     a complaint that doesn't address some things you said today,

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  1     we're going to say:     "Your Honor, you told them on January

  2     28th" -- I'm sorry.     Is it the 28th or 29th?

  3               THE COURT:    The 28th.

  4               MR. PACE:    Maybe I won't be saying this.

  5               But:    "On January 28th, you clearly told them ABC.

  6     They didn't address it."         So that that's -- I'm --

  7               THE COURT:    Certainly to the point of the Plaintiff

  8     claiming surprise, "It never occurred to me before," no, there

  9     couldn't be any surprise.          And I'm sure they wouldn't say that.

 10               I guess the only thing I want to be clear about is if

 11     I took a fine-tooth comb over this and wrote the magnum opus R

 12     & R that I would have to write on all the issues you've raised,

 13     I might articulate some different additional reasons for

 14     dismissal without prejudice.             I took what I called my

 15     low-hanging fruit of what seemed like obvious problems to me

 16     that I think could be corrected with an amended complaint, and

 17     that's, I guess, what I'm focusing on at the moment.                      So -- but

 18     I -- obviously, I did state some reasons why I think the

 19     complaint should be amended, that it should be dismissed but

 20     with leave to amend.

 21               Okay.    So I think we've nuanced that.                    So you-all are

 22     going to file a consent to my presiding over the motions --

 23               MR. PACE:    Yes.

 24               THE COURT:    -- that I listed at the beginning of the

 25     hearing that are all the motions to dismiss and for

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  1     jurisdictional discovery.          Not that I would need consent on

  2     that because -- but do it.           It makes it simpler because that

  3     would be by order.     I'm going to deny that without prejudice to

  4     renew upon the repleting of the complaint and any possible

  5     motions to dismiss.

  6               MR. PACE:    Yes.      And we'll --

  7               THE COURT:    Right.         So that's denied without

  8     prejudice.

  9               MR. PACE:    I was going to say we can have that on file

 10     with Judge Williams before the end of the week.

 11               THE COURT:    You can probably do it from your phones

 12     right now.   It's a form.        So yeah, file it because I'm going to

 13     hold off on issuing my order on this.

 14               MR. PACE:    Oh, it is a form.                   I didn't know that.

 15               THE COURT:    It's a form.

 16               MR. PACE:    As soon as you said that, I suddenly

 17     realized that's right.       It's right there on the website.

 18               THE COURT:    You can do it this afternoon.                     It's not

 19     hard.

 20               And so just file it.             She'll refer it to me.            And once

 21     she refers it -- and actually, I'll have my lawyer here just

 22     bring it to the attention of her law clerks.                         It's just a --

 23     really, I don't want to -- maybe Judge Williams really wants to

 24     be presiding on this particular motion, but I have a feeling

 25     she's happy with our agreement here and happy to let us tee it

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  1     up for the next round.

  2               MR. PACE:    She's a huge cryptocurrency fan.                Huge.

  3               MS. PALLETT-VASQUEZ:             Your Honor, would it be helpful

  4     if we submitted a proposed order to you?

  5               THE COURT:    No.      Just file -- oh, a proposed order?

  6               MR. MILLER:    I don't think that's necessary, Your

  7     Honor.

  8               THE COURT:    I don't think so, either.

  9               Thank you.    This is easy.                 So -- but you can offer to

 10     help other times.

 11               Okay.   I think that's it.

 12               MR. PACE:    Thank you, Your Honor.

 13               THE COURT:    All right.             Thank you.

 14         (Proceedings concluded at 3:17 p.m.)

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  1     UNITED STATES OF AMERICA                 )

  2     ss:

  3     SOUTHERN DISTRICT OF FLORIDA             )

  4                             C E R T I F I C A T E

  5                I, Yvette Hernandez, Certified Shorthand Reporter in

  6     and for the United States District Court for the Southern

  7     District of Florida, do hereby certify that I was present at

  8     and reported in machine shorthand the proceedings had the 28th

  9     day of January, 2020, in the above-mentioned court; and that

 10     the foregoing transcript is a true, correct, and complete

 11     transcript of my stenographic notes.

 12                I further certify that this transcript contains pages

 13     1 - 157.

 14                IN WITNESS WHEREOF, I have hereunto set my hand at

 15     Miami, Florida this 4th day of February, 2020.

 16

 17                           /s/Yvette Hernandez
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 18                           Certified Shorthand Reporter
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